                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

DAVID CLARK, KEITH A. FEATHER,
JORGE LOPEZ, THOMAS C. MEHEN, AND
KATHI LUCAS, individually and as
representatives of a class of participants and       No. 1:16-cv-01044-CCE-LPA
beneficiaries on behalf of the Duke Faculty
and Staff Retirement Plan,
                                                     AMENDED COMPLAINT—
                            Plaintiffs,              CLASS ACTION
v.

DUKE UNIVERSITY, THE DUKE                            JURY TRIAL DEMANDED
INVESTMENT ADVISORY COMMITTEE,
KYLE CAVANAUGH, TIM WALSH,
JAMES S. ROBERTS, RHONDA
BRANDON, STEVE SMITH, WARREN
GRILL, ANDERS HALL, RICHARD
SCHMALBECK, MICHAEL LAZAR, DR.
NAN JOKERST, ERIC KOEHRSEN, AND
JEAN SHIELDS,

                            Defendants.


                         SECOND AMENDED COMPLAINT

       1.     Plaintiffs David Clark, Keith A. Feather, Jorge Lopez, Thomas C. Mehen,

and Kathi Lucas individually and as representatives of a class of participants and

beneficiaries in the Duke Faculty and Staff Retirement Plan (the “Plan”), bring this action

under 29 U.S.C. §1132(a)(2) on behalf of the Plan against Defendants Duke University,

the Duke Investment Advisory Committee, Kyle Cavanaugh, Tim Walsh, James S.

Roberts, Rhonda Brandon, Steve Smith, Warren Grill, Anders Hall, Richard Schmalbeck,




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Michael Lazar, Dr. Nan Jokerst, Eric Koehrsen, and Jean Shields for breach of fiduciary

duties under ERISA.1

        2.    ERISA imposes “high standards” of conduct on plan fiduciaries—“the

highest known to the law.” Tatum v. RJR Pension Inv. Comm, 761 F.3d 346, 355–56 (4th

Cir. 2014) (quoting Donovan v. Bierwirth, 680 F.2d 263, 272 n.8 (2d Cir. 1982)). In

exercising those duties, ERISA fiduciaries are held to the standard of financial experts in

the field of investment management. See Katsaros v. Cody, 744 F.2d 270, 275, 279 (2d

Cir. 1984); Liss v. Smith, 991 F. Supp. 278, 296 (S.D.N.Y. 1998). Fiduciaries must

“initially determine, and continue to monitor, the prudence of each investment option

available to plan participants,” DiFelice v. U.S. Airways, Inc., 497 F.3d 410, 423 (4th Cir.

2007) (emphasis original), and must “remove imprudent ones” within a reasonable time,

Tibble v. Edison Int’l, 135 S. Ct. 1823, 1828–29 (2015).

        3.    The marketplace for retirement plan services is established and competitive.

Billion-dollar-defined contribution plans, like the Plan—which are among the largest

0.018% of defined contribution plans in the United States—have tremendous bargaining

power to demand low-cost administrative and investment management services. As

fiduciaries to the Plan, Defendants are obligated to limit the Plan’s expenses to a

reasonable amount, to ensure that each fund in the Plan is a prudent option for

participants to invest their retirement savings and priced at a reasonable level for the size

of the Plan; and to analyze the costs and benefits of alternatives for the Plan’s


 1
     The Employee Retirement Income Security Act, 29 U.S.C. §§1001–1461.

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administrative and investment structure. Defendants must make those decisions for the

exclusive benefit of participants, and not for the benefit of conflicted third parties, such as

the Plan’s service providers.

       4.     Instead of using the Plan’s bargaining power to reduce expenses and

exercising independent judgment to determine what investments to include in the Plan,

Defendants squandered that leverage by allowing the Plan’s conflicted third party service

providers—TIAA-CREF, Fidelity, VALIC and Vanguard—to dictate the Plan’s

investment lineup, to link their recordkeeping services to the placement of their

investment products in the Plan, and to collect unlimited asset-based compensation from

their own proprietary products.

       5.     To remedy these fiduciary breaches, Plaintiffs, individually and as

representatives of a class of participants and beneficiaries of the Plan, bring this action on

behalf of the Plan under 29 U.S.C. §1132(a)(2) to enforce Defendants’ personal liability

under 29 U.S.C. §1109(a) to make good to the Plan all losses resulting from each breach

of fiduciary duty and to restore to the Plan any profits made through Defendants’ use of

the Plan’s assets. In addition, Plaintiffs seek such other equitable or remedial relief for the

Plan as the Court may deem appropriate.


                             JURISDICTION AND VENUE

       6.     Subject-matter jurisdiction. This Court has exclusive jurisdiction over the

subject matter of this action under 29 U.S.C. §1132(e)(1) and 28 U.S.C. §1331 because it

is an action under 29 U.S.C. §1132(a)(2).


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       7.     Venue. This District is the proper venue for this action under 29 U.S.C.

§1132(e)(2) and 28 U.S.C. §1391(b) because it is the district in which the subject Plan are

administered, where at least one of the alleged breaches took place, and where the

Defendants reside or may be found.

       8.     Standing. An action under §1132(a)(2) allows recovery only for a plan,

and does not provide a remedy for individual injuries distinct from plan injuries. LaRue v.

DeWolff, Boberg & Assocs., 552 U.S. 248, 256 (2008). The plan is the victim of any

fiduciary breach and the recipient of any recovery. Id. at 254. Section 1132(a)(2)

authorizes any participant, fiduciary, or the Secretary of Labor to sue derivatively as a

representative of the plan to seek relief on behalf of the plan. 29 U.S.C. §1132(a)(2). As

explained in detail below, the Plan suffered millions of dollars in losses caused by

Defendants’ fiduciary breaches and remains exposed to harm and continued future losses,

and those injuries may be redressed by a judgment of this Court in favor of Plaintiffs. To

the extent the Plaintiffs must also show an individual injury even though §1132(a)(2)

does not provide redress for individual injuries, each Plaintiff has suffered such an injury,

in at least the following ways:

              a.     The named Plaintiffs and all participants in the Plan suffered

       financial harm as a result of the imprudent or excessive fee options in the Plan

       because Defendants’ inclusion of those options deprived participants of the

       opportunity to grow their retirement savings by investing in prudent options with

       reasonable fees, which would have been available in the Plan if Defendants had


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 satisfied their fiduciary obligations. All participants continue to be harmed by the

 ongoing inclusion of these imprudent and excessive cost options and payment of

 excessive recordkeeping fees.

        b.     The named Plaintiffs and all participants in the Plan were financially

 harmed by Defendants’ improper bundling of some of the Plan’s investment

 products, improperly allowing the companies who did recordkeeping for the Plan

 to require inclusion of their investment products in the Plan, instead of each

 investment option being independently selected.

        c.     The named Plaintiffs’ individual accounts in the Plan were further

 harmed by Defendants’ breaches of fiduciary duties because one or more of the

 named Plaintiffs during the proposed class period (1) invested in the CREF Stock

 and TIAA Real Estate accounts—which were improperly bundled with TIAA’s

 recordkeeping services and which Defendants also failed to remove from the Plan

 when it was clear from past poor performance and their excessive fees that they

 were imprudent investments—at a time when those options underperformed

 prudent alternatives in which those assets would have been invested had

 Defendants not breached their fiduciary duties (Plaintiff Lucas), (2) invested in

 excessive-cost investment options, including funds that paid revenue sharing to the

 Plan’s recordkeepers and higher-cost share classes of mutual funds in the Plan

 which were priced for small investors when far lower-cost but otherwise identical

 share classes of the same mutual funds were available for inclusion in the Plan


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 because of the enormous size of the Plan, resulting in a loss of retirement savings

 (all Plaintiffs), and (3) through their investments in those mutual funds and other

 investments and the fees charged on their investments in those funds, paid a

 portion of the Plan’s excessive administrative and recordkeeping fees, which

 would not have been incurred had defendants discharged their fiduciary duties to

 the Plan, and resulting in a loss of retirement savings (all Plaintiffs).

        d.     Specifically, during the class period, Plaintiff Mehen invested in the

 higher-cost share class of Vanguard 500 Index, as well as the Columbia Balanced

 Z; Plaintiff Clark invested in the Fidelity Freedom 2030; Plaintiff Feather invested

 in the CREF Social Choice and TIAA Traditional; Plaintiff Lopez invested in the

 T. Rowe Price Retirement 2035; and Plaintiff Lucas invested in Fidelity

 Disciplined Equity, Fidelity Emerging Markets, Fidelity Europe, Fidelity Growth

 Strategies, Fidelity Small Cap Stock, and CREF Stock. Through their investments

 in these funds, each Plaintiff paid excessive investment management fees and each

 was assessed a portion of the Plan’s excessive administrative and recordkeeping

 fees. Plaintiffs would have paid less had Defendants monitored revenue sharing,

 solicited competitive bids, consolidated recordkeepers, or reduced fees to

 reasonable levels in accordance with their fiduciary duties under ERISA.




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                                        PARTIES

                     The Duke Faculty and Staff Retirement Plan

       9.     The Duke Faculty and Staff Retirement Plan is a defined contribution,

individual account, employee pension benefit plan under 29 U.S.C. §1002(2)(A) and

§1002(34).

       10.    The Plan is established and maintained under a written document in

accordance with 29 U.S.C. §1102(a)(1).

       11.    Faculty and staff members of Duke University are eligible to participate in

the Plan, which provides the only source of retirement income for many employees of

Duke University. Plan participants’ retirement income depends upon deferrals of

employee compensation, employer matching contributions, and performance of

investment options net of fees and expenses.

       12.    As of December 31, 2014, the Plan held $4.7 billion in assets and had

37,939 participants with account balances. As such, it is one of the largest defined

contribution plans in the United States, ranking in the top 0.018% in asset size of all

defined contribution plans that filed a Form 5500 with the Department of Labor. Plans of

such great size are commonly referred to as “jumbo plans”.

                                         Plaintiffs

       13.    David Clark resides in Durham, North Carolina and works for the

Transportation Department at Duke University. He is a participant in the Plan under 29




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U.S.C. §1002(7) because he and his beneficiaries are eligible to receive benefits under the

Plan.

        14.   Keith A. Feather resides in Hillsborough, North Carolina, and is a Case

Manager at Duke University. He is a participant in the Plan under 29 U.S.C. §1002(7)

because he and his beneficiaries are eligible to receive benefits under the Plan.

        15.   Jorge Lopez resides in Apex, North Carolina, and is a Service Access

Manager for Duke Family Medicine. He is a participant in the Plan under 29 U.S.C.

§1002(7) because he and his beneficiaries are eligible to receive benefits under the Plan.

        16.   Thomas C. Mehen resides in Irvine, California, and is a Physics Professor

at Duke University. He is participant in the Plan under 29 U.S.C. §1002(7) because he

and his beneficiaries are eligible to receive benefits under the Plan.

        17.   Kathi Lucas resides in Durham, North Carolina, and is currently retired.

She previously served as Project Leader in Duke’s Clinical Research Institute at Duke

University. She is a participant in the Plan under 29 U.S.C. §1002(7) because she and her

beneficiaries are eligible to receive benefits under the Plan.

                                        Defendants

        18.   Duke University (“Duke”) is a non-profit corporation organized under

North Carolina law with its principal place of business in Durham, North Carolina. Under

Sections 13.02, 13.03, and 13.08 of the Plan, Duke is the Named Fiduciary and Plan

Administrator with fiduciary responsibility for the control, management and

administration of the Plan, in accordance with 29 U.S.C. §1102(a). Under the terms of the



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Plan, Duke has exclusive responsibility and complete discretionary authority to control

the operation, management, and administration of the Plan, with all powers necessary to

enable Duke to properly carry out such responsibilities, including the selection and

compensation of the providers of administrative services to the Plan, and the selection,

monitoring, and removal of the investment options made available to participants for the

investment of their contributions and provision of their retirement income.

       19.    Duke is a fiduciary to the Plan because it exercised discretionary authority

or discretionary control respecting the management of the Plan or exercised authority or

control respecting the management or disposition of its assets, and has discretionary

authority or discretionary responsibility in the administration of the Plan, as described

more fully below. 29 U.S.C. §1002(21)(A)(i) and (iii).

       20.    Under Section 13.09 of the Plan, Duke University as the Plan Administrator

is responsible for all matters relating to the Plan, including, but not limited to: resolving

questions about eligibility to participate in the Plan, making decisions about claims for

benefits, and resolving questions regarding the Plan’s administration and operation. The

Plan Administrator may delegate responsibility for any aspect of the Plan’s

administration to other individuals or entities. Duke formed an Investment Advisory

Committee to assist with the administration of the Plan. However, Duke University

remains the Named Fiduciary and Plan Administrator under 29 U.S.C. §1002(16)(A)(i).

       21.    Rather than screening individuals for their qualification and suitability to be

an ERISA fiduciary or appointing specific individuals to be members of the Investment


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Advisory Committee, the Plan’s Investment Policy Statement designates particular Duke

offices to be members of the Committee. The Chairman of the Committee is the Vice

President of Human Resources, Duke University. The permanent members of the

Committee include: the Vice President for Finance and Treasurer, Duke University;

Executive Vice Provost for Finance and Administration, Duke University; the Chief

Financial Officer and Treasurer of Duke University Health System; Chief Human

Resources Officer, Duke University Health System; and the President of DUMAC, Inc.

The permanent members may designate individuals to serve in their place if approved by

the Duke University Vice President.

      22.    The current members of the Investment Advisory Committee include the

following individuals, named as Defendants herein: Kyle Cavanaugh (Vice President of

Human Resources), Tim Walsh (Vice President of Finance), James S. Roberts (Executive

Vice Provost for Finance and Administration), Rhonda Brandon (Chief Human

Resources Officer, Duke University Health System), and Steve Smith, former Chief

Human Resources Officer of the Duke University Health System, previously served as a

committee member.

      23.    Additional members of the Investment Advisory Committee during the

proposed class period, include the following individuals named as Defendants herein:

Warren Grill, Anders Hall, Richard Schmalbeck, Michael Lazar, Dr. Nan Jokerst, Eric

Koehrsen, and Jean Shields.




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       24.    The Vice President of Human Resources is responsible for the day-to-day

operation of the Plan. These responsibilities include, but are not limited to: developing

criteria for the selection and retention of Plan investment options and service providers;

approving the form and contents of agreements with service providers; assuring

compliance with the Internal Revenue Code, ERISA and applicable regulations; and

reviewing 29 U.S.C. §1104(a) participant disclosures and 29 U.S.C. §1108(b)(2) service

provider disclosures.

       25.    The Investment Advisory Committee and its individual members are

fiduciaries to the Plan because they exercised discretionary authority or discretionary

control respecting the management of the Plan or exercised authority or control

respecting the management or disposition of its assets, and have discretionary authority

or discretionary responsibility in the administration of the Plan, as described more fully

below. 29 U.S.C. §1002(21)(A)(i) and (iii).

       26.    Because the Investment Advisory Committee, its individual members, and

their delegates have acted as alleged herein as the agents of Duke University, all of them

are collectively referred to as “Defendants.”

                          ERISA FIDUCIARY STANDARDS

       27.    ERISA imposes strict fiduciary duties of loyalty and prudence upon the

Defendants as fiduciaries of the Plan. 29 U.S.C. §1104(a), states, in relevant part, that:

         [A] fiduciary shall discharge his duties with respect to a plan solely in the
         interest of the participants and beneficiaries and –

              (A)    for the exclusive purpose of

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                     (i)    providing benefits to participants and their beneficiaries; and
                     (ii)   defraying reasonable expenses of administering the plan;
         [and]

              (B)    with the care, skill, prudence, and diligence under the circumstances
                     then prevailing that a prudent man acting in a like capacity and
                     familiar with such matters would use in the conduct of an enterprise
                     of like character and with like aims.

       28.    Under ERISA, fiduciaries that exercise any authority or control over plan

assets, including the selection of plan investments and service providers, must act

prudently and for the exclusive benefit of participants in the plan, and not for the benefit

of third parties including service providers to the plan such as recordkeepers and those

who provide investment products. Fiduciaries must ensure that the amount of fees paid to

those service providers is no more than reasonable. DOL Adv. Op. 97-15A; DOL Adv.

Op. 97-16A; see also 29 U.S.C. §1103(c)(1) (plan assets “shall be held for the exclusive

purposes of providing benefits to participants in the plan and their beneficiaries and

defraying reasonable expenses of administering the plan”).

       29.    “[T]he duty to conduct an independent investigation into the merits of a

particular investment” is “the most basic of ERISA’s investment fiduciary duties.” In re

Unisys Savings Plan Litig., 74 F.3d 420, 435 (3d Cir. 1996); Katsaros, 744 F.2d at 279

(fiduciaries must use “the appropriate methods to investigate the merits” of plan

investments). A defined contribution plan fiduciary cannot “insulate itself from liability

by the simple expedient of including a very large number of investment alternatives in its

portfolio and then shifting to the participants the responsibility for choosing among

them.” Hecker v. Deere & Co., 569 F.3d 708, 711 (7th Cir. 2009). Instead, fiduciaries

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must “initially determine, and continue to monitor, the prudence of each investment

option available to plan participants.” DiFelice, 497 F.3d at 423 (emphasis original); see

also 29 C.F.R. § 2550.404a-1; DOL Adv. Opinion 98-04A; DOL Adv. Opinion 88-16A.

Fiduciaries have “a continuing duty to monitor investments and remove imprudent ones”

within a reasonable time. Tibble, 135 S. Ct. at 1828–29.

       30.    In addition to the duties of loyalty and prudence, fiduciaries are required to

act “in accordance with the documents and instruments governing the plan insofar as

such documents and instruments are consistent” with ERISA. 29 U.S.C. §1104(a)(1)(D).

An investment policy statement or IPS is a governing plan document within the meaning

of 29 U.S.C. §1104(a)(1)(D). See 29 C.F.R. §2509.94-2 (1994), replaced by 29 C.F.R.

§2509.08-2(2)(2008) (“Statements of investment policy issued by a named fiduciary

authorized to appoint investment managers would be part of the ‘documents and

instruments governing the plan’ within the meaning of ERISA Sec. 404(a)(1)(D).”).

“Fiduciaries who are responsible for plan investments governed by ERISA must comply

with the plan’s written statements of investment policy, insofar as those written

statements are consistent with the provisions of ERISA.” Cal. Ironworkers Field Pension

Trust v. Loomis Sayles & Co., 259 F.3d 1036, 1042 (9th Cir. 2001). A “failure to follow

written statements of investment policy constitutes a breach of fiduciary duty.” Id. (citing

Dardaganis v. Grace Capital, Inc., 889 F.2d 1237, 1241–42 (2d Cir. 1989)). A violation

of investment guidelines is an independent breach of fiduciary duty, regardless of

whether the action was otherwise prudent. See 29 U.S.C. §1104(a)(1)(D).


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       31.     The general fiduciary duties imposed by 29 U.S.C. §1104 are supplemented

by a detailed list of transactions that are expressly prohibited by 29 U.S.C. §1106, and are

considered per se violations because they entail a high potential for abuse. Section

1106(a)(1) states, in pertinent part, that:

          [A] fiduciary with respect to a plan shall not cause the plan to engage in a
          transaction, if he knows or should know that such transaction constitutes a
          direct or indirect –
              (A) sale or exchange, or leasing, of any property between the plan and a
              party in interest;
              ***
              C)      furnishing of goods, services, or facilities between the plan and
              party in interest;
              (D) transfer to, or use by or for the benefit of a party in interest, of any
              assets of the plan…

       32.     ERISA also imposes explicit co-fiduciary liabilities on plan fiduciaries. 29

U.S.C. §1105(a) provides a cause of action against a fiduciary for knowingly

participating in a breach by another fiduciary and knowingly failing to cure any breach of

duty. The statute states, in relevant part, that:

       In addition to any liability which he may have under any other provisions of this
       part, a fiduciary with respect to a plan shall be liable for a breach of fiduciary
       responsibility of another fiduciary with respect to the same plan in the following
       circumstances:

                      (1)     if he participates knowingly in, or knowingly undertakes to
                              conceal, an act or omission of such other fiduciary, knowing
                              such act or omission is a breach; [or]

                      (2)     if, by his failure to comply with section 1104(a)(1) of this title
                              in the administration of his specific responsibilities which
                              give rise to his status as a fiduciary, he has enabled such other
                              fiduciary to commit a breach; or



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                     (3)    if he has knowledge of a breach by such other fiduciary,
                            unless he makes reasonable efforts under the circumstances to
                            remedy the breach.

       33.    29 U.S.C. §1132(a)(2) authorizes a plan participant to bring a civil action to

enforce a breaching fiduciary’s liability to the plan under 29 U.S.C. §1109. Section

1109(a) provides in relevant part:

         Any person who is a fiduciary with respect to a plan who breaches any of the
         responsibilities, obligations, or duties imposed upon fiduciaries by this
         subchapter shall be personally liable to make good to such plan any losses to the
         plan resulting from each such breach, and to restore to such plan any profits of
         such fiduciary which have been made through use of assets of the plan by the
         fiduciary, and shall be subject to such other equitable or remedial relief as the
         court may deem appropriate, including removal of such fiduciary.

                                BACKGROUND FACTS

I.     Defined contribution plans, services, and fees.

       34.    When ERISA was enacted in 1974, defined benefit pension plans were

America’s retirement system. Such plans are now rarely available to employees in the

private sector. “Defined contribution plans dominate the retirement plan scene today.”

LaRue, 552 U.S.at 255.

       35.    Defined contribution plans allow employees to contribute a percentage of

their pre-tax earnings to the plan, with the employer often matching those contributions

up to a specified percentage. Each participant in the plan has an individual account.

Participants direct plan contributions into one or more investment options in a lineup

chosen and assembled by the plan’s fiduciaries. “[P]articipants’ retirement benefits are

limited to the value of their own individual investment accounts, which is determined by


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the market performance of employee and employer contributions, less expenses.” Tibble,

135 S. Ct. at 1826.

        36.    The majority of fees assessed to participants in a defined contribution plan

are attributable to two general categories of services: plan administration (including

recordkeeping), and investment management. These expenses “can sometimes

significantly reduce the value of an account in a defined-contribution plan.” Id.

        37.    The plan’s fiduciaries have control over defined contribution plan expenses.

The fiduciaries are responsible for hiring administrative service providers for the plan,

such as a recordkeeper, and for negotiating and approving the amount of fees paid to

those administrative service providers. The fiduciaries also have exclusive control over

the menu of investment options to which participants may direct the assets in their

accounts. Those selections each have their own fees which are deducted from the returns

that participants receive on their investments.

        38.    These fiduciary decisions have the potential to dramatically affect the

amount of money that participants are able to save for retirement. According to the U.S.

Department of Labor, a 1% difference in fees over the course of a 35-year career makes a

difference of 28% in savings at retirement. U.S. Dep’t of Labor, A Look at 401(k) Plan

Fees, at 1–2 (Aug. 2013).2 Accordingly, fiduciaries of defined contribution plans must

engage in a rigorous process to control these costs and ensure that participants pay no

more than a reasonable level of fees. This is particularly true for multi-billion dollar plans


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     Available at http://www.dol.gov/ebsa/pdf/401kfeesemployee.pdf.

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like the Plan, which have the bargaining power to obtain the highest level of service and

the lowest fees. The fees available to multi-billion dollar retirement plans are orders of

magnitude lower than the much higher retail fees available to small investors.

       39.     The entities that provide services to defined contribution plans have an

incentive to maximize their fees by putting their own higher-cost funds in plans and

collecting the highest amount possible for recordkeeping. For each additional dollar in

fees paid to a service provider, participants’ retirement savings are directly reduced by

the same amount, and participants lose the potential for those lost assets to grow over the

remainder of their careers. Accordingly, participants’ retirement security is directly

affected by the diligence used by plan fiduciaries to control, negotiate, and reduce the

plan’s fees.

       40.     Fiduciaries must be cognizant of providers’ self-interest in maximizing

fees, and not simply accede to the providers’ preferred investment lineup—i.e.,

proprietary funds that will generate substantial fee revenue for the provider—or agree to

the provider’s administrative fee quotes without negotiating or considering alternatives.

In order to act in the exclusive interest of participants and not in the service providers’

interest, fiduciaries must negotiate as if their own money was at stake. Instead of simply

accepting the investment funds or fees demanded by these conflicted providers,

fiduciaries must consider whether participants would be better served by using alternative

investment products or services.




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II.     Defined contribution recordkeeping.

        41.   Recordkeeping is a service necessary for every defined contribution plan.

The recordkeeper keeps track of the amount of each participant’s investments in the

various options in the plan, and typically provides each participant with a quarterly

account statement. The recordkeeper often maintains a plan website or call center that

participants can access to obtain information about the plan and to review their accounts.

The recordkeeper may also provide access to investment education materials or

investment advice. These services are largely commodities, and the market for

recordkeeping services is highly competitive.

        42.   There are numerous recordkeepers in the marketplace who are capable of

providing a high level of service and who will vigorously compete to win a

recordkeeping contract for a jumbo defined contribution plan. These recordkeepers will

readily respond to a request for proposal and will tailor their bids based on the desired

services (e.g., recordkeeping, website, call center, etc.). In light of the commoditized

nature of their services, recordkeepers primarily differentiate themselves based on price,

and will aggressively bid to offer the best price in an effort to win the business,

particularly for jumbo plans like the Plan.

        43.   Some recordkeepers in the market provide only recordkeeping and

administrative services, while others provide both recordkeeping services and investment

products. The latter group has an incentive to place their own proprietary products in the

plan in order to maximize revenues from servicing the plan. As explained below, when



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faced with such conflicted fund recommendations, fiduciaries must independently assess

whether the provider’s investment product is the best choice for the plan, or whether the

purpose of providing benefits to participants would be better accomplished by

considering other investment managers who may offer superior funds at a better price.

III.     Defined contribution investment options.

         44.   Defined contribution fiduciaries have exclusive control over the particular

investment alternatives available in the plan to which participants direct and allocate their

plan accounts, and the returns on which are credited to participants’ accounts.

         45.   Each investment option is typically a pooled investment product, such as a

mutual fund, and invests in a diversified portfolio of securities in a broad asset class such

as fixed income, bonds, or equities. Fixed income funds may include conservative

principal protection options, such as stable value funds, or other diversified portfolios of

government or corporate debt securities. Equity funds invest in diversified portfolios of

stocks of large, mid, or small domestic or international companies in a particular style

such as growth or value (or a blend of the two). Balanced funds invest in a mix of stocks

and bonds in varying percentages.

         46.   Investment options can be passively or actively managed. In a passively

managed or “index” fund, the investment manager attempts to match the performance of

a given benchmark index by holding a representative sample of securities in that index,

such as the S&P 500. In an actively managed fund, the investment manager uses her

judgment in buying and selling individual securities (e.g., stocks, bonds, etc.) in an



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attempt to generate investment returns that surpass a benchmark index, net of fees.

Because no stock selection or research is necessary for the manager to track the index and

trading is limited, passively managed investments charge significantly lower fees than

actively managed funds.

         47.    Mutual fund fees are usually expressed as a percentage of assets under

management, or “expense ratio.” For example, if the mutual fund deducts 1% of fund

assets each year in fees, the fund’s expense ratio would be 1%, or 100 basis points (bps).3

The fees deducted from a mutual fund’s assets reduce the value of the shares owned by

fund investors.

         48.    Many mutual funds offer their investors different share classes. Retail

share classes are marketed to individuals with small amounts to invest. Institutional share

classes are offered to investors with large amounts to invest, such as large retirement

plans. The different share classes of a given mutual fund have the identical manager, are

managed identically, and invest in the same portfolio of securities. The only difference is

that the retail shares charge significantly higher fees, resulting in retail class investors

receiving lower returns. The share classes are otherwise identical in all respects.

         49.    Some mutual funds engage in a practice known as “revenue sharing.” In a

revenue-sharing arrangement, a mutual fund pays a portion of its expense ratio to the

entity providing administrative and recordkeeping services to a plan. The difference in

fees between a mutual fund’s retail and institutional share classes is often attributable to


 3
     One basis point is equal to 1/100th of one percent (or 0.01%).

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revenue sharing. To illustrate, a fund’s retail share class may have an expense ratio of

100 bps, including 25 bps of revenue sharing, while the institutional share charges 75

bps, with no or lesser revenue sharing. The presence of revenue sharing thus provides an

incentive for administrative service providers to recommend that the fiduciary select

higher cost funds, including in-house funds of the administrative service provider that

pay the provider revenue sharing. “[V]ery little about the mutual fund industry,”

including revenue sharing practices, “can plausibly be described as transparent[.]”

Leimkuehler v. Am. United Life Ins. Co., 713 F.3d 905, 907 (7th Cir. 2013).

       50.    The importance of fees in prudent investment selection cannot be

overstated. The prudent investor rule developed in the common law of trusts, which

informs ERISA’s fiduciary duties, emphasizes “the duty to avoid unwarranted costs[.]”

Restatement (Third) of Trusts ch. 17, intro. note (2007); see Tibble, 135 S. Ct. at 1828

(analyzing common law of trusts and Restatement (Third) of Trusts §90 in finding a

continuing duty to monitor under ERISA). As the Restatement explains, “cost-conscious

management is fundamental to prudence in the investment function.” Restatement (Third)

of Trusts § 90 cmt. b. While a fiduciary may consider higher-cost, actively-managed

mutual funds as an alternative to index funds, “active management strategies involve

investigation expenses and other transaction costs . . . that must be considered,

realistically, in relation to the likelihood of increased return from such strategies.”

Restatement (Third) of Trusts ch. 17, intro. note; id. § 90 cmt. h(2).

       51.    Academic and financial industry literature demonstrates that high expenses


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are not correlated with superior investment management. Indeed, funds with high fees on

average perform worse than less expensive funds even on a pre-fee basis. Javier Gil-Bazo

& Pablo Ruiz-Verdu, When Cheaper is Better: Fee Determination in the Market for

Equity Mutual Funds, 67 J. ECON. BEHAV. & ORG. 871, 873 (2008); see also Jill E. Fisch,

Rethinking the Regulation of Securities Intermediaries, 158 U. PA. L. REV. 1961, 1993

(2010)(summarizing numerous studies showing that “the most consistent predictor of a

fund’s return to investors is the fund’s expense ratio”).

       [T]he empirical evidence implies that superior management is not priced
       through higher expense ratios. On the contrary, it appears that the effect of
       expenses on after-expense performance (even after controlling for funds’
       observable characteristics) is more than one-to-one, which would imply that
       low-quality funds charge higher fees. Price and quality thus seem to be
       inversely related in the market for actively managed mutual funds.

Gil-Bazo & Ruiz-Verdu, When Cheaper is Better, at 883.

       52.    In light of this effect of fees on expected returns, fiduciaries must carefully

consider whether the added cost of actively managed funds is realistically justified by an

expectation of higher returns. Restatement (Third) of Trusts ch. 17, intro. note; id. § 90

cmt. h(2). A prudent investor will not select higher-cost actively managed funds without

analyzing whether a particular investment manager is likely to beat the overwhelming

odds against outperforming its benchmark index over time, net of the fund’s higher

investment expenses.




                                             22


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IV.     Revenue sharing: a practice that can lead to excessive fees if not properly
        monitored and capped.

        53.   There are two primary methods for defined contribution plans to pay for

recordkeeping and administrative services: “direct” payments from plan assets, and

“indirect” revenue sharing payments from plan investments such as mutual funds. Plans

may use one method or the other exclusively, or may use a combination of both direct

and indirect payments.

        54.   In a typical direct payment arrangement, the fiduciary contracts with the

recordkeeper to obtain administrative services in exchange for a flat annual fee based on

the number of participants for which the recordkeeper will be providing services, for

example $30 per participant. Jumbo defined contribution plans possess tremendous

economies of scale for purposes of recordkeeping and administrative fees. A plan with

20,000 participants can obtain a much lower fee on a per-participant basis than a plan

with 2,000 participants.

        55.   A recordkeeper’s cost for providing services depends on the number of

participants in the plan, not the amount of assets in the plan or in an individual account.

The cost of recordkeeping a $75,000 account balance is the same as a $7,500 account.

Accordingly, a flat price based on the number of participants in the plan ensures that the

amount of compensation is tied to the actual services provided and does not grow based

on matters that have nothing to do with the services provided, such as an increase in plan

assets due to market growth or greater plan contributions by the employee.

        56.   As an example, a fiduciary of a 20,000 participant, $2 billion plan may

                                             23


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issue a request for proposal to several recordkeepers and request that the respondents

provide pricing based on a flat rate for a 20,000-participant plan. If the winning

recordkeeper offers to provide the specified services at a flat rate of $30 per participant

per year, the fiduciary would then contract with the recordkeeper for the plan to pay a

$600,000 direct annual fee (20,000 participants at $30/participant). If the plan’s assets

increase to $3 billion during the course of the contract but the participant level stays

constant, the recordkeeper’s compensation does not change, because the services

provided have not changed.

       57.    Such a flat per-participant agreement does not necessarily mean, however,

that every participant in the plan must pay the same $30 fee from his or her account. The

fiduciary could reasonably determine that it is equitable to charge each participant the

same $30 (for example, through a quarterly charge of $7.50 to each account in the plan).

Alternatively, the fiduciary could conclude that assessing the same fee to all investors

would discourage participants with relatively small accounts from participating in the

plan, and that, once the aggregate flat fee for the plan has been determined, a proportional

asset-based charge would be best. In that case, the flat per-participant rate of $30 per

participant multiplied by the number of participants would simply be converted to an

asset-based charge, such that every participant pays the same percentage of his or her

account balance. For the $2 billion plan in this example, each participant would pay a

direct administrative fee of 0.03% of her account balance annually for recordkeeping

($600,000/$2,000,000,000 = 0.0003). If plan assets increase thereafter, the percentage


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would be adjusted downward so that the plan is still paying the same $600,000 price that

was negotiated at the plan level for services to be provided to the plan.

       58.    The Defendants use a different method of paying for recordkeeping for the

Plan, through “indirect” revenue sharing payments from the plan’s mutual funds.

Revenue sharing, while not a per se violation of ERISA, can lead to excessive fees if not

properly monitored and capped.

       59.    In a revenue sharing arrangement, the mutual fund pays the plan’s

recordkeeper putatively for providing recordkeeping and administrative services for the

fund. However, because revenue sharing payments are asset based, the fees can grow to

unreasonable levels if plan assets grow while the number of participants, and thus the

services provided, has not increased at a similar rate. The opposite is generally not true. If

plan assets decline, participants will not receive a sustained benefit of paying lower fees,

because the recordkeeper will demand that the plan make up the shortfall through

additional direct payments.

       60.    If a fiduciary decides to use revenue sharing to pay for recordkeeping, it is

required that the fiduciary (1) determine and monitor the amount of the revenue sharing

and any other sources of compensation that the provider has received, (2) compare that

amount to the price that would be available on a flat per-participant basis, and (3) control

the amount of fees paid through recordkeeping by obtaining rebates of any revenue

sharing amounts that exceed the reasonable level of fees.

       61.    As to the second critical element—determining the price that would be


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available on a flat per-participant basis—making that assessment for a jumbo plan

requires soliciting bids from competing providers. In multi-billion dollar plans with over

10,000 participants, such as the Plan, benchmarking based on fee surveys alone is

inadequate. Recordkeeping fees for jumbo plans have also declined significantly in recent

years due to increased technological efficiency, competition, and increased attention to

fees by sponsors of other plans such that fees that may have been reasonable at one time

may have become excessive based on current market conditions. Accordingly, the only

way to determine the true market price at a given time is to obtain competitive bids. See

George v. Kraft Foods Global, Inc., 641 F.3d 786, 800 (7th Cir. 2011) (a 401(k)

excessive fee case which denied summary judgment based in part on the opinion of an

independent consultant that “‘without an actual fee quote comparison’—i.e., a bid from

another service provider—[consultant] ‘could not comment on the competitiveness of

[recordkeeper’s] fee amount for the services provided.’”). Industry experts recognize that

this principle applies fully in the 403(b) context, just as in the 401(k) context. Compared

to benchmarking, “the RFP is a far better way to negotiate fee and service improvements

for higher education organizations.” Fiduciary Plan Governance, LLC, Buying Power for

Higher Education Institutions: When you Have It and When You Don’t – Part 2.4 Indeed,

“[c]onducting periodic due diligence RFPs is a critical part of fulfilling the fiduciary

duty.” Western PA Healthcare News, 403(b) Retirement Plans: Why a Due Diligence



 4
  Available at http://www.fiduciaryplangovernance.com/blog/buying-power-for-higher-
education-institutions-when-you-have-it-and-when-you-dont-part-2.

                                             26


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Request for Proposal.5 Engaging in in this RFP process “allows plan sponsors . . .to meet

their fiduciary obligations, provides leverage to renegotiate services and fees; enhances

service and investment opportunities and improves overall plan operation.” Id. Prudent

fiduciaries of defined contribution plans—including 403(b) plans—thus obtain

competitive bids for recordkeeping at regular intervals of approximately three years.

       V.     Bundled services and open architecture.

       62.    As the prevalence and asset size of defined contribution plans grew, in the

shift away from traditional defined benefit pension plans, numerous financial services

companies entered this burgeoning retirement plan market. These providers often

marketed “bundled” plans, offering to assist in setting up a plan and providing a package

of the provider’s proprietary investment funds as well as administrative and

recordkeeping services. The plans were often marketed as “free” plans, meaning there

were supposedly no additional fees beyond the revenues the provider received from

having their investment funds in the plan. These purportedly free plans had a significant

condition—in order to obtain the free pricing, the fiduciary had to agree to put the

provider’s preferred investment lineup in the plan—a group of handpicked funds that

would guarantee the provider would receive its desired fee revenue on an ongoing basis.

Any deviations from that lineup or removal of funds after the plan was established would

require the provider’s approval or result in the plan being assessed additional direct fees.

Thus, under these closed arrangements, funds were included in some defined contribution

 5
   Available at http://www.wphealthcarenews.com/403b-retirement-plans-why-a-due-
diligence-request-for-proposal/.

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plans not based on an independent analysis of their merits or what was in the best

interests of participants, but because of the benefits they provided to the plan’s service

providers.

       63.    In an open architecture model, a plan is not limited to the recordkeeper’s

own proprietary investment products, which the provider has an interest in including in

the plan because the funds provide it with revenue sharing and investment fees. Instead,

the fiduciary is free to reject the recordkeeper’s conflicted fund recommendations, can

independently assess whether another investment manager offers a superior product at a

more attractive price, and can include such funds in the plan’s investment lineup. Open

architecture also facilitates negotiation of reasonable recordkeeping fees, since the price

of the recordkeeping service is more transparent and not obscured by opaque revenue

sharing arrangements—through which the investment product provider does not publicize

the amount of revenue sharing it kicks back to itself in its separate role as a

recordkeeper—and can be negotiated separately without investment revenue skewing the

recordkeeping price. There are recordkeepers in the market that exclusively operate on an

open architecture basis in that they do recordkeeping only and do not sell investment

products. These providers can offer pricing on a pure per-participant basis, without any

revenue sharing component taken from funds in the plan. In light of these benefits,

prudent fiduciaries of large defined contribution plans have largely rejected bundling and

embraced open architecture platforms.

       64.    Open, transparent architecture allows for greater control over revenue


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sharing arrangements if they are used at all, and indeed, allows a fiduciary to eliminate

revenue sharing altogether. If revenue sharing payments are used, they can effectively be

“kickbacks” to induce recordkeepers to advocate for a fund to be included in the plan’s

investment lineup or even attempt to dictate its inclusion. An independent assessment of

each fund is thus essential and required by ERISA to determine whether the fund should

be included in the plan based strictly on its merits as an investment, regardless of whether

it provides revenue sharing.

VI.     403(b) plans share common fiduciary duties with 401(k) plans.

        65.   Defined contribution plans can qualify for favored tax treatment under

different sections of the Internal Revenue Code. Plans offered by corporate employers

typically qualify under 26 U.S.C. §401(k), and are commonly referred to as 401(k) plans.

Tax-exempt organizations, public schools (including state colleges and universities), and

churches are eligible to offer plans qualified under §403(b), commonly known as 403(b)

plans. 26 U.S.C. §403(b)(1)(A).

        66.   Plans sponsored by tax-exempt organizations such as private universities,

unlike churches and public schools, are subject to Title I of ERISA and its fiduciary

requirements, unless the plan satisfies a 1979 “safe-harbor” regulation based on the

employer having limited involvement in operating the plan. 29 C.F.R. §2510.3-2(f). To

the best of Plaintiffs’ knowledge, the Plan has never qualified for the safe harbor, and

thus has long been subject to ERISA’s fiduciary requirements. In the Plan’s annual

reports (Forms 5500) filed with the Department of Labor, Defendants have acknowledged



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the Plan is subject to ERISA.

       67.    Although 401(k) plans and 403(b) plans have different historical origins,

legislative and regulatory developments over a number of decades largely eroded those

differences, as reflected in final 403(b) regulations published by the IRS on July 26,

2007. Sponsors of 403(b) plans were given almost one-and-a-half years to prepare for the

effective date of the regulations, January 1, 2009. The regulations required certain

employers to become more involved with administering their plans than they had

previously, potentially disqualifying those plans from satisfying the ERISA safe harbor

and subjecting the plans to ERISA fiduciary requirements for the first time. However, for

plans like the Plan that were already subject to ERISA’s fiduciary requirements because

they were never safe-harbor plans, the IRS regulations had no effect on the Plan’s status

for ERISA fiduciary purposes; ERISA already required Defendants to be actively

involved in exercising care, prudence, skill, and diligence in administering the Plan for

the exclusive benefit of participants.

       68.    When §403(b) was first enacted in 1958, plan assets could only be invested

in insurance company annuity contracts. 26 U.S.C. §403(b)(1). In 1974, §403(b) was

amended to allow 403(b) plans to invest in custodial accounts holding mutual fund

shares. 26 U.S.C. §403(b)(7).

       69.    Regardless of any differences between 401(k) and 403(b) plans, both types

of plans have the same fundamental purpose: allowing employees to save for a secure

retirement. The duties of fiduciaries in both are the same: to operate as a financial expert


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familiar with investment practices, to operate the plan for the exclusive benefit of

employees and retirees, and to make sure that fees are reasonable and investments are

prudent. Participants in both types of plans depend on their plan fiduciaries to ensure that

retirement savings are not depleted by excessive fees or imprudent investments.

Accordingly, the historical differences and investment limitations of 403(b) plans do not

allow 403(b) fiduciaries to exercise a lesser degree of care or attention to fees and

investments than their 401(k) counterparts.

VII.   Historical practice of multiple recordkeepers and placement of many
       investment options in 403(b) plans, which some fiduciaries failed to evaluate
       as required.

       70.    As the Department of Labor has recognized, historically, many 403(b)

sponsors had treated their plans as a collection of individual contracts under which

employees could take various actions without the consent or involvement of the employer

or plan administrator, instead of fiduciaries evaluating investment options placed in the

plan. Field Assistance Bulletin 2009-02.

       71.    Some 403(b) plans historically before 2009 included multiple bundled

service providers, with each performing the recordkeeping function for its own

investment products in the plan, unlike 401(k) plans which had a single recordkeeper. In

fact, “403(b) plan investment options were often ‘sold’ by record keepers and their

representatives rather than offered by plan sponsors as evaluated investments.” Fiduciary

Plan Governance, LLC, Legacy Investments in Higher Education: What is a Plan




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Sponsor’s Responsibility to Participants?6 Indeed, sponsors of these plans often took a

“‘hands off’ approach to plan oversight.” Id. This practice resulted in plans having

excessive recordkeeping costs and structures involving multiple recordkeepers with each

recordkeeper having its own investment options in the plan. This left participants with the

task of navigating a haphazard collection of duplicative and overlapping investment

options from the various recordkeepers, and ultimately led to them paying excessive and

unnecessary fees, both for recordkeeping and for investment products in the plans. Id. In

some cases the recordkeeper insisted on its own funds being included in the plan without

any resistance or analysis of those funds by the fiduciaries.

VIII. TIAA-CREF’s bundled 403(b) plan services.

       72.    TIAA-CREF is an insurance company financial services provider that

historically has dominated the market for services to educational institution 403(b) plans,

and has heavily marketed to them. TIAA-CREF consists of two companion

organizations: Teachers Insurance and Annuity Association of America (TIAA), and

College Retirement Equities Fund (CREF). The services that TIAA-CREF provides to

403(b) plans include annuities, mutual funds, insurance coverage, trust services, and

administrative services.

       73.    Although TIAA-CREF’s marketing materials suggest that it is a

“nonprofit” organization, that is misleading. In 1998, Congress revoked both TIAA’s and

CREF’s statuses as tax-deductible 501(c)(3) charitable organizations because TIAA-

 6
   Available at http://www.fiduciaryplangovernance.com/blog/legacy-investments-in-
higher-education-what-is-a-plan-sponsors-responsibility-to-participants.

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CREF “competed directly with for-profit insurance companies and mutual fund groups.”

Reed Abelson, Budget Deal to Cost T.I.A.A.-C.R.E.F. Its Tax Exemption, N.Y. Times

(July 30, 2007).7 As a result, they are subject to federal income taxation and are not

501(c)(3) charitable organizations.

       74.    While CREF is organized as a New York not-for-profit corporation, TIAA

is organized as a for-profit stock life insurance company. TIAA’s “operating surplus”

is spent, loaned, and otherwise distributed to some of its subsidiaries as well. An example

is Nuveen Investments, a for-profit investment manager, which TIAA acquired in April

2014 for an enterprise value of $6.25 billion. TIAA receives dividends from these for-

profit subsidiaries.8

       75.    TIAA owns and controls numerous for-profit subsidiaries, which send

dividends to TIAA, including the following subsidiaries for which TIAA files

consolidated federal income tax returns:

                TIAA Subsidiary                   Not-For-Profit    For-Profit Entity
                                                      Entity
       730 Texas Forests Holdings, Inc.                                     X
     Covariance Capital Management, Inc.                                    X
         GreenWood Resources, Inc.                                          X
             JWL Properties, Inc.                                           X
              ND Properties, Inc.                                           X
        Nuveen Asia Investments, Inc.                                       X
            Nuveen Holdings, Inc.                                           X


 7
   Available at http://www.nytimes.com/1997/07/30/business/budget-deal-to-cost-tiaa-
cref-its-tax-exemption.html.
 8
   Available at https://www.tiaa.org/public/pdf/C16623_where-tiaa-profits-go.pdf.

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          TIAA Subsidiary                    Not-For-Profit   For-Profit Entity
                                                 Entity
       Nuveen Investments, Inc.                                      X
  Nuveen Investments Advisers, Inc.                                  X
 Nuveen Investments Holdings, Inc.                                   X
   Nuveen Investments Institutional                                  X
         Services Group, LLC
  Nuveen Investment Solutions, Inc.                                  X
        Nuveen Securities, LLC                                       X
    Oleum Holding Company, Inc.                                      X
 Rittenhouse Asset Management, Inc.                                  X
      T-C Europe Holdings, Inc.                                      X
             T-C SP, Inc.                                            X
         T-C Sports Co., Inc.                                        X
    T-Investment Properties Corp.                                    X
          TCT Holdings, Inc.                                         X
        Teachers Advisors, Inc.                                      X
 Teachers Personal Investors Service,                                X
                  Inc.
         Terra Land Company                                          X
  TIAA Asset Management Finance                                      X
           Company, LLC
      TIAA-CREF Life Insurance                                       X
              Company.
 TIAA-CREF Tuition Financing, Inc.                                   X
  TIAA-CREF Trust Company, FSB                                       X
       Westchester Group Asset                                       X
          Management, Inc.
       Westchester Group Farm                                        X
          Management, Inc.
    Westchester Group Investment                                     X
      Management Holding, Inc.
    Westchester Group Investment                                     X
          Management, Inc.
 Westchester Group Real Estate, Inc.                                 X


                                        34


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See 2015 Annual Statement of the Teachers Insurance and Annuity Association of

America 39, 112–19 (Jan. 26, 2016).9

       76.    Also, consistent with its conduct as a profit-seeking enterprise, the

compensation of TIAA’s CEO and other executives is greater than or close to the very

highest paid executives of some of Wall Street’s largest for-profit investment managers

and insurance companies, such as J.P. Morgan Chase, Prudential, Deutsche Bank, and

Metlife. In 2015, TIAA’s CEO received $18 million in compensation,10 more than the

CEOs of Metlife ($14 million) and Deutsche Bank ($5.2 million), and just below the

CEOs of J.P. Morgan Chase ($18.2 million) and Prudential ($19.9 million). When

expressed as a percentage of assets under management, TIAA’s CEO had the very

highest compensation rate among reporting investment companies. In fact, TIAA’s five

highest-ranking “named executive officers” earned a combined total of well over $40

million in compensation in 2015. Id.

                      TIAA-CREF's CEO's Compensation
             Highest Among Reporting Investment Fund Families
                as a Percentage of Assets under Mgmt (AUM)
0.00250%



0.00200%



0.00150%
 9
    Available at https://www.tiaa.org/public/pdf/tiaa_annual_statement_2015.pdf. This list
does not include the hundreds of TIAA’s for-profit, joint venture subsidiaries, all of
 0.00100%
which   are controlled by TIAA. See id. at 112–19; see also
https://www.sec.gov/Archives/edgar/data/1429401/000119312510093446/dex21.htm.
  10
     TIAA Compensation Disclosures, Executive Compensation Discussion and Analysis
 0.00050%
20 (May 2016), available at
https://www.tiaa.org/public/pdf/about/governance/exec_comp_policy.pdf.
 0.00000%
      TIAA-CREF ($834B AUM)                       Invesco ($784.5B AUM)
      JP Morgan ($1676B AUM)                      Bank of New York Mellon (Dreyfus) ($1700B AUM)
      Deutsche Bank AG ($842B AUM)
                                             35   Prudential ($1220B AUM)
      Black Rock ($4890B AUM)                     State Street ($2300B AUM)
      Natixis SA ($884.9B AUM)
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        77.   Adding to this, and undercutting any claim that it operates as a non-profit,

TIAA’s compensation disclosures further state that its employees’ compensation and

benefits programs are linked to “profitability.” TIAA Compensation Disclosures

(emphasis added).

        78.   Responding to criticism that TIAA-CREF’s CEO and other executives

“garnered salaries and bonuses significantly greater than similar pension fund

operations,” TIAA-CREF responded that such extremely high pay was justified because

“the company had to compete for top-level employees with major financial services

corporations.” Funding Universe, Teachers Insurance and Annuities Association –

College Retirement Equities Fund History.11 Critics found this justification dubious

because the “flagship CREF Stock Account, an equity portfolio of $59 billion, was

primarily indexed to the Russell 3000,” meaning that “CREF automatically invested




 11
   Available at http://www.fundinguniverse.com/company-histories/teachers-insurance-
and-annuity-association-college-retirement-equities-fund-history/.

                                            36


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nearly two of every three dollars in companies held by the benchmark fund,” leaving

“little for the highly paid officers to manage.” Id.

       79.    Upon information and belief, TIAA and the other Plan service providers,

including VALIC, Fidelity, and Vanguard, used their position as recordkeepers to obtain

access to participants, learning their ages, length of employment, contact information, the

size of their accounts, and choices of investments, and used that information for their

benefit in marketing lucrative investment products and wealth management products to

participants as they neared retirement and before retirement. This has been documented

by former TIAA employees in multiple recent reports in the New York Times.12

       80.    A recent New York Times article dated November 9, 2017, states that New

York’s attorney general has issued subpoenas to TIAA for documents related to its

“dubious” sales practices. Id. The article goes on: “TIAA has previously said it puts its

clients first and has maintained that because its 855 financial advisers and consultants do

not receive commissions on the products they sell they are unbiased. But former

employees and TIAA regulatory filings challenge this view, pointing out that the

company awards bonuses to sales personnel when they steer customers into more

expensive in-house products and services.” Id. The article also describes how TIAA’s

role as a recordkeeper provides TIAA with access to sell individuals additional retail

12
   Gretchen Morgenson , The Finger-Pointing at the Finance Firm TIAA, N.Y. Times,
Oct. 21, 2017, https://www.nytimes.com/2017/10/21/business/the-finger-pointing-at-the-
financefirm-tiaa.html. See also Gretchen Morgenson, TIAA Receives New York
Subpoena on Sales Practices, N.Y. Times, Nov. 9, 2017,
https://www.nytimes.com/2017/11/09/business/tiaasubpoena.html.


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products including IRAs. “Most of TIAA’s clients invest with the firm because their

employers have hired it to administer their workers’ retirement plans . . . The company

earns a record-keeping fee from the institutions whose accounts it overseas, but can

generate far more revenue when investors buy its annuities and funds. This presents the

potential for conflict.” Id.

       81.     The value of TIAA’s use of its position as a recordkeeper to the Plan to

market and sell lucrative products to soon-to-be-retired participants and retired

participants was substantial and far greater than would be true of recordkeepers who do

not sell investment products, thus conveying a stamp of approval by the Defendants of

TIAA and the other Plan service providers who marketed their products.

       82.     Despite this, upon information and belief, the Defendants allowed TIAA

and the other Plan service providers to market and sell their services and investment

products in this way, benefitting TIAA and the service providers enormously, yet

obtaining no benefit to the Plan from this, either by reduced recordkeeping fees or

requiring TIAA and the other service providers to make direct payments to the Plan for

the use of this information. This is even more lucrative to TIAA and the other Plan

service providers because Defendants are using them as recordkeepers and using their

products.

       83.     Upon information and belief, the Plan’s other service providers—VALIC,

Vanguard, and Fidelity—also took part in this practice and the Defendants did nothing to




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prevent it or ensure that the Plan obtained a benefit either through reduced recordkeeping

fees or direct payments to the Plan.

       84.    In benchmarking (and justifying) its executives’ compensation packages,

TIAA disclosed the following sixteen for-profit financial services and insurance

companies as the peer group it used for competitive analysis:




       85.    TIAA-CREF provided its 403(b) plan services exclusively on a bundled

basis. If a plan wished to offer the TIAA Traditional Annuity, a fixed annuity product,

TIAA-CREF required that the CREF Stock Account and Money Market Account also be

put in the plan, and required the plan to use TIAA as recordkeeper for its proprietary

products. Thus, by using TIAA-CREF, the Duke fiduciaries locked the Plan into an

arrangement in advance in which certain investments could not be removed from the

plan—even if the funds were not prudent investments or would become imprudent in the

future. By accepting this arrangement, Defendants failed to implement an open

architecture platform and use another recordkeeper who could provide the same

administrative services at lower cost. Compounding this bundling requirement by TIAA,

Defendants used multiple recordkeepers, each with their own investment products,

resulting in an inefficient and excessively expensive plan structure, as described in more

                                            39


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detail below.

       86.      There is no shortage of high-quality, low-cost alternatives to TIAA-CREF’s

products in the defined contribution plan market. For example, many 403(b) plan

fiduciaries have recognized that stable value funds are prudent alternatives to TIAA’s

Traditional Annuity as a conservative principal preservation option, providing superior

returns to a money market fund, and can be recordkept by virtually any defined

contribution recordkeeper. Other insurance companies, besides TIAA, also offer fixed

annuity products. And there are myriad large cap blend mutual fund investments in the

market that provide far superior returns to the CREF Stock Account at much lower cost.

Fiduciaries of 403(b) defined contribution plans must engage in a cost-benefit analysis to

evaluate each investment option and determine whether it is prudent and in the exclusive

best interest of participants, in light of TIAA-CREF’s restrictions and superior market

alternatives in the market, to lock their plans into an arrangement that precludes the

removal of imprudent plan investments and results in excessive plan fees. Defendants

failed to perform such an evaluation of the funds and services TIAA-CREF required.

Defendants also failed to evaluate whether participants would be better served by using

superior low-cost alternatives to TIAA-CREF’s products when they could have saved

millions of dollars in administrative and investment management costs by hiring a

different recordkeeper. As explained below, prudent 403(b) fiduciaries have engaged in

this analysis and overhauled their plans for the benefit of participants.




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IX.     Move to consolidation and open architecture in 403(b) plans.

        87.   Under the 2007 final regulations that became effective January 1, 2009,13

certain employers with 403(b) plans were compelled to exercise greater control over their

403(b) plans than they had previously. Among other things, the final regulations required

403(b) plans to be maintained under a “written defined contribution plan” containing all

the material terms and conditions for benefits under the plan. DOL separately published

revised Form 5500 annual reporting rules effective January 1, 2009, that required large

ERISA-covered 403(b) plans to file audited financial statements providing detailed

information about the assets in the plan. The regulations are expressly intended to make

403(b) plans more like 401(k) plans.

        88.   Once the final regulations were published, many 403(b) plan fiduciaries

recognizedthat fulfilling their fiduciary obligations—whether on an ongoing basis or for

the first time—required them to engage, if they had not already been doing so, in a

comprehensive review of their plans’ fees, investment options and structure, and service

provider arrangements, to determine whether changes had to be made for the benefit of

participants. While the Plan have long been subject to ERISA because their employer

match was sufficient for the Plan to be “established or maintained” as ERISA plans under

29 U.S.C. §1002(2)(A)—and, indeed Defendants have informed the Department of Labor

in the Plan’s Forms 5500 that the Plan are subject to ERISA—even if they had not

previously been subject to ERISA’s requirements, there can be no doubt that 403(b) plan

 13
    The regulations gave 403(b) plans almost a year and a half to make changes necessary
to comply before the regulation became effective January 1, 2009.

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fiduciaries could not just accept investment options provided by the same providers who

did recordkeeping for the plan in order to comply with ERISA’s requirements that all fees

be reasonable and investments be prudent.

        89.   Once these regulations were published, some non-profit plan sponsors

whose 403(b) programs previously qualified for the safe-harbor determined they would

have to comply with ERISA’s fiduciary requirements by the regulations’ effective date of

January 1, 2009. As a result, the fiduciaries of many 403(b) plans implemented dramatic

overhauls to their plans and acknowledged that these changes were necessary to comply

with the IRS regulations and to satisfy their fiduciary obligations under ERISA.

        90.   For example, the fiduciaries of the Loyola Marymount University (LMU)

Defined Contribution Plan, a 403(b) plan, recognized that under the new regulations,

“Recordkeeping must be consolidated and/or managed by a single party.” See LMU

403(b) Retirement Plan Project Overview, at 1.14 “Keeping two on-going record keepers

in 2009 would mean that faculty/staff would pay higher fees and receive reduced

services.”15 Beginning in 2008, to assist LMU in assessing the plan’s investment options

and recordkeeping services, LMU hired an independent third party consultant, Hewitt

Associates (n/k/a AonHewitt), to issue a request for proposal to seven different 403(b)

recordkeeping providers, including AIG Retirement, Diversified Investment Advisors,

Fidelity, ING, Lincoln Financial Group, Principal Financial Group, and TAA-CREF.16


 14
    Available at http://www.lmu.edu/AssetFactory.aspx?vid=33038
 15
    Id. at 2.
 16
    See http://www.lmu.edu/AssetFactory.aspx?vid=32045.

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LMU consolidated from two recordkeepers to one effective on the date the final

regulation became effective, January 1, 2009. Loyola Marymount’s fiduciaries

recognized that a dual recordkeeper structure would require its employees to pay higher

fees for overlapping services, and because consultants, legal counsel, and all of the

recordkeeping firms interviewed recommended that LMU use only one record keeper,

starting in January 2009. LMU 403(b) Retirement Plan Project Overview, at 2. Moreover,

LMU selected Diversified as the new recordkeeper because Diversified “is not an

investment manager and therefore, does not require that certain investment options be

offered by LMU.” Id. LMU was therefore able to offer “best in class” funds in each fund

category. Id. at 6.

         91.    Similarly, following the new IRS 403(b) regulations, the fiduciaries of the

Pepperdine University Retirement Plan recognized the implications of maintaining four

different recordkeepers. In order to comply with the regulations and its fiduciary

responsibilities, Pepperdine determined that it must make certain changes to the plan,

including “Consolidating recordkeeping (by having one fund provider manage

administration for multiple providers or by moving to a sole administrator scenario).” See

Pepperdine University Participant Q & A.17 Pepperdine retained an independent third

party consultant to assist the fiduciaries in issuing a request for proposal to different

403(b) recordkeeping providers. Following the competitive bidding process, effective

February 1, 2009, Pepperdine selected Diversified, a recordkeeper which does not offer


 17
      Available at http://community.pepperdine.edu/hr/content/benefits/fulltime/faq.pdf.

                                              43


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proprietary investments, as the “sole administrator” and consolidated from four

recordkeepers (Fidelity, TIAA-CREF, Vanguard and Prudential) to a single recordkeeper.

Pepperdine found that the benefits of consolidation included lower costs and more robust

services, as well as a streamlined compliance process and simplified data coordination.

Id. Pepperdine acknowledged that maintaining a multiple-vendor platform was not a

“cost-effective, viable option.” Paul B. Lasiter, Single Provider, Multiple Choices,

NACUBO.18 Recognizing the inefficiencies and overlapping work in a multiple

recordkeeper arrangement, Pepperdine determined that costs were “higher in a

multivendor arrangement, because each vendor receives only a portion of the ongoing

total plan contributions,” while a single provider allowed to “realize true economies of

scale.” Id.

        92.   Pepperdine also recognized that the bundled model demanded by certain

providers was not in participants’ interest. Using those providers “meant being obligated

to offer some or all of that provider’s proprietary funds on the plan's investment menu—

whether or not those investments offered participants the best range of choice, value, and

relative performance.” Id. (emphasis added). Acting in participants’ interest required that

the fiduciaries instead have the ability to select those “funds that the university—working

with an independent financial adviser—could identify as being the ‘best options in their

respective asset classes.’” Id. After weighing and analyzing a variety of factors,


 18
    Available at
http://www.nacubo.org/Business_Officer_Magazine/Magazine_Archives/March_2010/Si
ngle_Provider_Multiple_Choices.html.

                                             44


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Pepperdine determined that “consolidating with a single vendor has been the

straightforward solution to achieving” the objective of acting “for the exclusive benefit of

plan participants.” Id. The benefits of consolidation included “[a] better fiduciary process

with ongoing evaluation” of plan investments, “[e]conomies of scale,” and “[g]reater

transparency of fees and lowered costs for plan participants.” Id.

        93.   In the fall of 2008, in response to the new, not yet effective regulations and

required changes within the defined contribution industry, Purdue University began a

comprehensive review of its defined contribution retirement program. Purdue recognized

that “[t]he primary intent of the regulations was to reduce the difference between Section

403(b) plans, Section 401(k) plans and Section 457(b) plans; to enhance 403(b) plan

compliance; and to establish a more structured retirement program for employees in the

non-profit sector.” James S. Almond, 403(b) Plan Redesign–Making a Good Retirement

Plan Better, Purdue University (emphasis added).19 Purdue hired an independent third

party consultant, EnnisKnupp & Associates (n/k/a AonHewitt), to assist the fiduciaries in

evaluating the investment options, participants’ fees, and recordkeeping services, which

included developing and issuing an RFP to recordkeepers. The “benefits” of Purdue’s

program enhancements included the transition from five providers (TIAA-CREF,

Fidelity, American Century, Lincoln, and VALIC) to a single administrative service

provider (Fidelity) with a corresponding significant reduction in recordkeeping expenses.

 19
    Available at http://www.cacubo.org/wp-
content/uploads/2016/02/10_403b_Plan_Redesign_Making_a_Good_Retirement_Plan_B
etter.docx.

                                             45


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The reformed plan “[p]rovided a transparent investment and administrative fee structure”

and “[l]everaged plan assets to lower administrative and investment fees, including

access to institutional share class funds and a flat administrative fee, instead of

administrative fees as a percentage of retirement savings.” Id. Purdue reduced the number

of investment options from 381 to 19, “eliminating redundant investment options with

varying levels of expenses” and replacing the menu of duplicative investment options

with “a limited menu of pre-screened, broadly diversified investment options.” Id.

Purdue’s analysis showed that “reducing administrative and investment plan fees under

the new structure for a plan of Purdue’s size, would increase participant balances by an

estimated $3–4 million per year which is then compounded over time.” Id. (emphasis

added).

        94.   Likewise, California Institute of Technology (CalTech) TIAA-CREF DC

Retirement Plan consolidated from multiple recordkeepers (TIAA-CREF and Fidelity) to

a single recordkeeper (TIAA-CREF) effective January 1, 2010, with the assistance of an

independent third party consultant, Mercer Investment Consulting. Caltech Names TIAA-

CREF Recordkeeper, Institutional Investor (Dec. 10, 2009).20 In selecting a core set of

investment options for the plan, CalTech eliminated over 100 Fidelity mutual fund

options. Based on disclosures in the plan’s Forms 5500 filed with the Department of

Labor, between 2013 and 2015, CalTech negotiated over $15 million in revenue sharing

rebates from TIAA-CREF, which was returned to the plan to benefit participants.

 20
  Available at http://www.institutionalinvestor.com/Article/2355324/Search/Caltech-
Names-TIAA-CREF-Record-Keeper.html#/.WBn8Oy0rKpp.

                                              46


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        95.   Extensive industry literature shows that these sponsors are not outliers, and

that similarly situated fiduciaries who have also comprehensively reviewed their plans

have been able to reduce recordkeeping and investment management fees, consolidate

recordkeepers and investment options, leading to enhanced outcomes and retirement

security for their plans’ participants.

        96.   In connection with a plan redesign project at the University of Notre Dame,

independent investment consultant Hewitt EnnisKnupp (n/k/a AonHewitt) issued a

“403(b) Plan Redesign Working Paper” which set forth 403(b) fiduciary best practices

taken in response to the IRS 403(b) regulations. Hewitt EnnisKnupp, 403(b) Plan

Redesign Working Paper: University of Notre Dame (Feb. 2014).21 Hewitt noted that

“[w]ith the issuance of new Internal Revenue Service regulations in 2008, there has been

an accelerated evolution of the 403(b) marketplace into something that more closely

resembles the private sector 401(k) market.” Id. at 3.

        97.   Hewitt noted several areas of plan improvements. First, recordkeeper

consolidation provided “many benefits to participants,” including cost savings. Although

the multiple-recordkeeper model had been common in the higher-education marketplace,

“[e]xperience and research suggests that this type of administrative structure can be

costly and confusing to faculty and staff.” Id. at 4. “The multiple-recordkeeper model

tends to divide participant assets into individual accounts held at separate recordkeepers


 21
   Available at https://workplacecontent.fidelity.com/bin-
public/070_NB_PreLogin_Pages/documents/ND_403(b)%20Plan%20Redesign%20Whit
e%20Paper.pdf.

                                            47


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resulting in costs that are meaningfully higher than under a single recordkeeper model.”

Id. at 5. Such “[e]xcess fees and misallocated costs are a potential threat to the financial

security of many defined contribution plan participants.” Id.

        98.    Second, Hewitt recommended that plans “unbundl[e]” investment

management and administrative services, and to replace revenue sharing arrangements

with “explicit, hard dollar administrative fee[s].” Id. Hewitt’s “experience and research

suggests that the transparency gained through an ‘unbundled’ administrative fee solution

with little or no revenue sharing typically results in meaningful fee savings for

participants.” Id. at 6. An unbundled arrangement allows plan fiduciaries “to determine

whether or not the internal administrative fee allocations used by the existing bundled

recordkeepers is a true representation of the costs of these services.” Id. An unbundled

arrangement also provided opportunities to incorporate “‘institutional’ share classes of

funds” into the investment lineup. Id.

        99.    Further, according to a 2013 survey of 403(b) plans, more than 90% of

plans use a single recordkeeper to provide administrative and recordkeeping services to

participants. See LIMRA Retirement Research, 403(b) Plan Sponsor Research (2013).22

        100.   Annual surveys by Plan Sponsor Council of America found that in each

year from 2010 through 2014, unlike the Duke Plan, the overwhelming majority of

403(b) plans—over 80%—have only a single recordkeeper, and provide an average of 28


 22
    Available at
http://www.limra.com/uploadedFiles/limracom/LIMRA_Root/Secure_Retirement_Institu
te/News_Center/Reports/130329-01exec.pdf.

                                             48


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investment fund options.23 An earlier PSCA survey of 403(b) plans found that as of 2009,

57% of 403(b) plan fiduciaries had made changes to their plans as a result of the new

403(b) regulations that became effective January 1, 2009.24

        101.   The majority of plans use a single recordkeeper because a “multi-

recordkeeper platform is inefficient” and squanders the ability to leverage a plan’s

bargaining power. The Standard Retirement Services, Inc., Fixing Your 403(b) Plan:

Adopting a Best Practices Approach, at 2 (Nov. 2009)(emphasis in original).25 “By

selecting a single recordkeeper, plan sponsors can enhance their purchasing power and

negotiate lower, transparent investment fees for participants,” while allowing participants

to “benefit from a more manageable number of institutional-quality investment options to

choose from.” Id. Additional benefits of a single recordkeeper platform include

simplifying personnel and payroll data feeds, reducing electronic fund transfers, and

avoiding duplication of services when more than one recordkeeper is used.

        102.   AonHewitt, an independent investment consultant, similarly recognized

that “403(b) plan sponsors can dramatically reduce participant-borne costs while

improving employees’ retirement readiness by” “[c]onsolidating recordkeepers,”


 23
    Each PSCA survey covers the year prior to the year indicated in the title. PSCA’s
2015 Benchmarking Survey of 403(b) Plans, at 32, 65; PSCA’s 2014 Benchmarking
Survey of 403(b) Plans, at 32, 61; PSCA’s 2013 Benchmarking Survey of 403(b) Plans,
at 32, 61, 64; PSCA’s 2013 Benchmarking Survey of 403(b) Plans, at 32, 61, 64; PSCA’s
2012 Benchmarking Survey of 403(b) Plans, at 30, 61, 64; PSCA’s 2012 Benchmarking
Survey of 403(b) Plans, at 30, 61, 64; PSCA’s 2011 Benchmarking Survey of 403(b)
Plans, at 28, 55, 59.
 24
    PSCA’s 2010 Benchmarking Survey of 403(b) Plans at 45.
 25
    Available at https://www.standard.com/pensions/publications/14883_1109.pdf.

                                            49


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“[l]everaging aggregate plan size and scale to negotiate competitive pricing, and reducing

the number of investment options and “utilizing an ‘open architecture’ investment

menu[.]” AonHewitt, How 403(b) Plans Are Wasting Nearly $10 Billion Annually, and

What Can Be Done to Fix It (Jan. 2016).26

        103.   Another independent investment consultant, Towers Watson, also

recognized that using multiple recordkeepers makes it “difficult for employers to monitor

available choices and provide ongoing oversight” while harming participants through

“high investment and administrative costs” and a lack of guidance needed to achieve

retirement readiness. Peter Grant and Gary Kilpatrick, Higher Education’s Response to a

New Defined Contribution Environment, TOWERS WATSON VIEWPOINTS, at 2 (2012).27

        104.   The recommendations of these independent, widely used investment

consultants are buttressed by other industry literature supporting the fact that the use of a

single recordkeeper provides reasonable fees. See, e.g., Kristen Heinzinger, Paring Down

Providers: A 403(b) Sponsor’s Experience, PLANSPONSOR (Dec. 6, 2012)(“One

advantage of consolidating to a single provider was an overall drop in administrative fees

and expenses. Recordkeeping basis points returned to the plan sponsors rather than to the

vendor. All plan money aggregated into a single platform, and participants were able to


 26
    Available at https://retirementandinvestmentblog.aon.com/getattachment/36ff81a4-
db35-4bc0-aac1-
1685d2a64078/How_403(b)_Plans_are_Wasting_Nearly_$10_Billion_Annually_Whitep
aper_FINAL.pdf.aspx.
 27
    Available at
https://www.towerswatson.com/DownloadMedia.aspx?media=%7B08A2F366-14E3-
4C52-BB78-8930F598FD26%7D.

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save on fee structure. This also eliminated the complications and confusion of having

three different recordkeepers.”);28 Paul B. Lasiter, Single Provider, Multiple Choices,

BUSINESS OFFICER (Mar. 2010)(identifying, among other things, the key disadvantages of

maintaining a multi-provider platform including the fact that it is “cumbersome and

costly to continue overseeing multiple vendors.”).29

        105.   Use of a single recordkeeper is also less confusing to participants and

eliminates excessive, overlapping recordkeeping fees. Vendor Consolidation in Higher

Education: Getting More from Less, PLANSPONSOR (July 29, 2010)(recognizing the

following benefits, among others: “The plan participant experience is better” because

“employees are benefiting from less confusion as a result of fewer vendors in the mix”;

“Administrative burden is lessened” by “bringing new efficiencies to the payroll”; and

“Costs can be reduced” because “[w]ith a reduced number of vendors in the equation,

plan sponsors are better able to negotiate fees” and many are “reporting lower overall

cost resulting in an improved cost-per-participant ratio”).30

DEFENDANTS BREACHED THEIR FIDUCIARY DUTIES AND COMMITTED
                PROHIBITED TRANSACTIONS

        106.   The Defendants’ continued retention of four recordkeepers and 400 of their

proprietary funds—which the recordkeepers required to be included in the Plan—while

 28
    Available at http://www.plansponsor.com/paring-down-providers-a-403b-sponsors-
experience/?fullstory=true.
 29
    Available at
http://www.nacubo.org/Business_Officer_Magazine/Magazine_Archives/March_2010/Si
ngle_Provider_Multiple_Choices.html.
 30
    Available at http://www.plansponsor.com/vendor-consolidation-in-higher-
education/?fullstory=true.

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excluding superior low-cost alternatives from other managers, demonstrates that, in

contrast with the comprehensive plan reviews conducted by the similarly situated

fiduciaries described above, the Defendants failed to adequately engage in a similar

analysis. Had the Defendants conducted such a review of the Plan, they would not have

allowed the Plan to continue to pay excessive administrative fees; would not have

maintained an inefficient four-recordkeeper structure; would not have continued to

include over 400 investment options in the Plan, including duplicative funds in numerous

investment styles and higher-cost retail share classes for which identical lower-cost

versions of the same funds were available; and would not have retained investment

options in the Plan despite a sustained track record of underperformance. This follows

because a prudent process would have produced a different outcome.

 I.        The Plan’s 400 investments and four recordkeepers.

        107.   The Defendants exercise exclusive control over the investment options that

are included in the Plan, and determine which investment options to remove from the

Plan. The Defendants also exercise exclusive control over hiring a recordkeeper for the

Plan, and negotiating and approving the recordkeeper’s compensation.

        108.   The Defendants have hired and retained four recordkeepers for the Plan,

and allowed each of those providers to put their own proprietary investment funds in the

Plan—a total of over 400 options as of year-end 2014. These investment options include

mutual funds and insurance company variable annuity products offered by the: the

Teachers Insurance and Annuity Association of America and College Retirement Equities



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Fund (“TIAA-CREF”), the Vanguard Group, Inc. (“Vanguard”), Fidelity Investments

Institutional Operations Company (“Fidelity”), and the Variable Life Insurance Company

(“VALIC”).

       109.   Among the 400 available investments as of year-end 2014, 40 were TIAA-

CREF options, nearly 100 were Vanguard options, over 200 were Fidelity options, and

almost 100 were VALIC options. These investments included retail and institutional

share class mutual funds, insurance separate accounts, variable annuity options, and fixed

annuity options. The retail share class mutual funds are designed for small individual

investors, not jumbo retirement plans such as the Plan, and are identical in every respect

to institutional share classes of the same funds, except for much higher fees.

       110.   The Defendants allowed the Plan’s recordkeepers to essentially put the

entirety of their investment offerings in the Plan. The Defendants agreed to include in the

Plan virtually every Fidelity mutual fund available in the market, including allowing

Fidelity to put newly-created funds in the Plan without any prior screening by a fiduciary.

The Defendants made a substantially similar arrangement with Vanguard, placing

virtually every mutual fund in the Vanguard Family of Funds in the Plan, including new

Vanguard funds, without any prior screening or additional notice. The Defendants

therefore caused hundreds of mutual fund investments to be provided in the Plan without

making any independent determination that such investments were prudent, reasonably

priced, and provided for the exclusive purpose of providing benefits to Plan participants.

This shows that the Defendants failed to employ a prudent and loyal process in the


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selection and retention of Plan investment options.

       111.    The TIAA Traditional Annuity offered in the Plan is a fixed annuity

contract that returns a contractually specified minimum interest rate. Assets invested in

the TIAA Traditional Annuity are held in the general account of TIAA and are dependent

upon the claims-paying ability of TIAA. The TIAA Traditional Annuity has severe

restrictions and penalties for withdrawal if participants wish to change their investments

in the Plan.

       112.    The Plan’s CREF Stock Account, CREF Global Equities Account, CREF

Equity Index Account, CREF Growth Account, CREF Social Choice Account, CREF

Money Market Account, CREF Inflation-Linked Bond Account, and CREF Bond Market

Account are variable annuities that invest in underlying securities for a given investment

style. The value of the Plan’s investment in these variable annuities changes over time

based on investment performance and the expenses of the accounts.

       113.    The TIAA Real Estate Account is an insurance separate account maintained

by TIAA. An insurance separate account is a pooled investment vehicle that aggregates

assets from more than one retirement plan for a given investment strategy, but those

assets are segregated from the insurance company’s general account assets.

       114.    The remaining TIAA-CREF funds are mutual funds. The TIAA-CREF

mutual funds charge varying amounts for investment management, but also charge

distribution, marketing, and other expenses, depending on the type of investment and

share class.


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      115.   The Vanguard investment options offered to Plan participants are

exclusively mutual funds that charge varying amounts for investment management and

other expenses, depending on the type of investment and share class.

      116.   The Fidelity investment options offered to Plan participants are exclusively

mutual funds that charge varying amounts for investment management and other

expenses, depending on the type of investment and share class.

      117.   Mutual funds have shareholders who are not participants in the Plan, or any

retirement plan, and who purchase shares as a result of marketing the fund. However, all

shareholders in the mutual funds, including participants in the Plan pay the expenses.

      118.   The VALIC investment options offered to Plan participants include fixed

and variable annuity account options. These options charge varying amounts for

investment management in addition to distribution, marketing, and other expenses. The

value of each participant’s investment in these variable accounts will change over time

based on investment experience and the expenses of the account. The variable accounts

include insurance company pooled separate accounts that invest in underlying mutual

funds advised by VALIC or other mutual fund companies, such as Vanguard. For these

options, VALIC charges fees in addition to the expense ratio of the underlying mutual

funds, which can reach multiples of the total fees charged by the mutual funds. For

instance, VALIC charged 118 bps for the VALIC Vanguard Lifestrategy Conservative

Growth Fund when the underlying Vanguard Lifestrategy Conservative Growth Fund

(VSCGX) charged 13 bps, an increase of over 807%. See infra ¶149.


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        119.   The VALIC fixed accounts invest in the general account of VALIC and

depend upon the claims-paying ability of VALIC. These options offer a fixed rate of

return to participants.

        120.   As of December 31, 2014, of the Plan’s $4.7 billion in net assets, TIAA-

CREF funds accounted for $1.3 billion, Vanguard funds accounted for $887 million,

Fidelity funds accounted for $1.6 billion, and VALIC funds accounted for $903 million.

II.        The Defendants improperly allowed TIAA-CREF to require the inclusion
           of its investment products in the Plan and TIAA-CREF to require it to
           provide recordkeeping for its proprietary options.

        121.   ERISA requires fiduciaries to independently evaluate the prudence of each

investment option offered in a defined contribution plan, DiFelice, 497 F.3d at 423, and

to remove imprudent investments no matter how long they have been in a plan, Tibble,

135 S. Ct. at 1828–29.

        122.   As noted, TIAA-CREF offered its products and services strictly on a

bundled basis. If a plan offers the TIAA Traditional Annuity, TIAA-CREF required that

the plan also offer its flagship CREF Stock Account and Money Market Account, and to

also use TIAA as recordkeeper for its proprietary products. By linking use of TIAA as a

recordkeeper to including these funds in the Plan, TIAA drove uncapped revenue to its

recordkeeping arm.

        123.   TIAA’s financial interests were also served insofar as TIAA was able to use

its position as recordkeeper to obtain access to the Plans’ participants, acquiring

information about their ages, length of employment, contact information, the size of their



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accounts, and choices of investments, and then used this information for its benefit in

marketing lucrative investment products and wealth management products to participants

as they neared retirement and before retirement. This practice has been documented by

former TIAA employees in multiple recent reports in the New York Times described in

more detail above.

       124.   By allowing the Plan to enter such a bundled arrangement with TIAA-

CREF, Duke agreed to lock its employees into funds which Duke did not analyze. It can

never be prudent to lock in a fund in a plan for the future no matter what its expenses or

its performance. To do so creates a structure which at the outset, and on an ongoing basis,

violates the ERISA’s requirement that fiduciaries must independently monitor investment

options on an ongoing basis and remove those that are imprudent. Tibble, 135 S. Ct. at

1828–29. The Defendants thus failed to discharge their duty to independently evaluate

whether each investment option was prudent for the Plan, and whether the use of TIAA

as a plan recordkeeper was prudent, reasonably priced, and in the exclusive interest of

participants, and whether it was prudent to include and retain the CREF Stock and Money

Market accounts and the TIAA Traditional in the Plan. Instead of acting solely in the

interest of participants, the Defendants allowed TIAA’s financial interest to dictate the

Plan’s investment selections and recordkeeping arrangement. Because the Defendants

allowed CREF Stock to be locked into the Plan, the Defendants could not satisfy their

duty to evaluate for inclusion and retention in the Plan, whether it was prudent at the time

of inclusion and whether it should be removed if imprudent. As a result of the


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Defendants’ breach in allowing CREF Stock to be retained in the Plan because TIAA-

CREF demanded it and not based on an independent and ongoing assessment of the

merits of the option, the Plan suffered massive losses compared to prudent alternatives, as

discussed in more detail below.

         125.   As noted above, the Plan offers the TIAA Traditional Annuity. This option

is a fixed annuity contract that returns a contractually specified minimum interest rate. An

example of the restrictions and penalties for withdrawal imposed by this Annuity include

a 2.5% surrender charge if a participant withdraws his or her investment in a single lump

sum within 120 days of termination of employment.

         126.   The Plan includes TIAA-CREF’s proprietary funds, including the CREF

Stock Account, CREF Global Equities Account, CREF Equity Index Account, CREF

Growth Account, CREF Social Choice Account, CREF Money Market Account, CREF

Inflation-Linked Bond Account, and CREF Bond Market Account, which are variable

annuities with four layers of expenses that invest in underlying securities for a given

investment style.

         127.   The expense ratio of the CREF variable annuity accounts is made up of

multiple layers of expense charges consisting of the following:

                a. “administrative expense” charge (24 bps);31

                b. “distribution expense” charge (9.5 bps);

                c. “mortality and expense risk” charge (0.5 bps); and


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      Expenses are stated as of May 1, 2014.

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               d. “investment advisory expense” charge (ranging from 4 to 12.5 bps).

       128.   Two of these four layers of fees charged on the CREF variable annuity

accounts, including the CREF Stock Account, are unreasonable for the actual services

provided by TIAA-CREF to the Plan’s participants, and the other two provide no benefit

to the Plan’s participants.

          a. Administrative expenses (or recordkeeping fees): The administrative fee

          assessed on each variable annuity option is charged as a percentage of assets,

          rather than a flat fee per participant. As described above, recordkeeping costs

          depend on the number of participant accounts that the recordkeeper will service

          in the plan rather than the size of assets because a higher account balance costs

          no more to track than a lower account balance. As a result, as the growth in the

          Plan’s assets outpaced the growth in participants, the fees paid to TIAA-CREF

          likewise increased even though the services provided did not increase at the

          same rate, resulting in further unreasonable compensation.

          b. Distribution expenses (or 12b-1 fees): Distribution expenses are charged

          for services performed for marketing and advertising of the fund to potential

          investors. However, in a retirement plan, the funds are selected by the sponsor.

          Thus, marketing and distribution services provide no benefit to plan participants

          and are wholly unnecessary. Being charged for such wholly useless expenses

          causes a loss of retirement assets to participants with no benefit.




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    c.   Mortality and expense risk charges: Some annuity or insurance providers

    charge mortality and expense risk charges to compensate the insurance

    company for the risk it assumes when providing periodic income or payments to

    the investor over her lifetime, which will vary depending on the value of the

    underlying investments. However, in the CREF variable annuities in the Plan,

    the participant does not make the choice of whether to take the account’s value

    in a lump sum or an annuity until retirement. Thus, this charge only benefits a

    participant if she elects at the time of retirement to annuitize her holdings in the

    account to provide for periodic income. Prior to annuitizing her account, the

    participant derives no benefit for paying such a charge, year after year, and

    TIAA-CREF provides no actual services or incurs any risk to justify the fee

    until a decision is made at retirement to convert the value of the lump sum to an

    annuity. Moreover, most participants in retirement plans recordkept by TIAA-

    CREF do not elect to annuitize their holdings in their variable annuity accounts

    upon retirement. Yet, all participants pay these fees for many years regardless

    of whether they annuitize their variable annuity account.

    d. Investment advisory expense charge (or investment management fees):

    It is a fundamentally established principle of investment management that larger

    asset size enables the asset holder to obtain lower investment management fees

    as a percentage of assets. Fund managers institute breakpoints, whereby the

    investment management fee is reduced, as asset size goes up, at pre-specified


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         asset thresholds to pass along economies of scale to the investor. For example,

         if $5 million is a breakpoint, one fee, based on a percentage of assets, will be

         charged on the first $5 million, and a lesser percentage will be charged on the

         next portion of the assets, or on all assets. A large investor will therefore be

         charged a lower fee, on a percentage of assets, than a smaller investor to

         recognize the economies of scale generated from the higher asset levels. Jumbo

         plans, such as the Duke Plan, can command extremely low fees. Despite this

         recognized principle, TIAA-CREF has not instituted any breakpoints

         whatsoever on its investment management fees to pass along economies of scale

         experienced by jumbo plan investors. The Plan’s fiduciaries did not obtain the

         lower investment management fees that come with the Plan’s enormous asset

         size. As a result, the Plan, with billions of dollars invested in CREF variable

         annuities, pay the same asset-based fee as the smallest clients with a tiny

         fraction of their total assets, resulting in a windfall to TIAA-CREF and

         excessive fees paid by Duke’s employees and retirees.

      129.   The excessiveness of this investment management fee is even more

egregious because of the way critics have documented how CREF “manages” the CREF

Stock Account by investing nearly two out of every three dollars in companies held by its

benchmark index, the Russell 3000 Index. See supra ¶78.

      130.   The TIAA Real Estate Account is an insurance separate account maintained

by TIAA. Similar to the CREF variable annuity accounts, the expense ratio of the TIAA


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Real Estate Account is made up of the same four layers of excessive expenses detailed

above, and even adds a fifth layer for a so-called “liquidity guarantee.” As of May 1,

2013, these charges consisted of the following:

                a. “administrative expense” charge (26.5 bps);

                b. “distribution expense” charge (8 bps);

                c. “mortality and expense risk” charge (0.5 bps);

                d. “liquidity guarantee” (18 bps); and

                e. “investment management expense” charge (36.5 bps).

         131.   The 18 bps “liquidity guarantee” expense of the TIAA Real Estate Account

is yet another excessive fee that is not charged by better performing and lower cost

mutual funds such as the Vanguard REIT Index (Inst), which has a total expense ratio of

8 bps. See infra ¶¶210–212.

         132.   As noted, the TIAA-CREF mutual funds in the Plan charge varying

amounts for investment management, but also charge distribution, marketing, and other

expenses, depending on the type of investment and share class. Thus, Duke Plan

participants are paying for marketing costs of funds which their employer has placed in

their retirement plan when such marketing costs provide no benefit to them. Other mutual

funds that were available to the Plan do not include such marketing costs.

III.     The Defendants caused the Plan to pay excessive administrative and
         recordkeeping fees.

         133.   As set forth above, recordkeeping is a service necessary for every defined

contribution plan. The market for recordkeeping services is highly competitive. There are

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numerous recordkeepers in the marketplace who are equally capable of providing a high

level of service to large defined contribution plans like the Plan. These recordkeepers

primarily differentiate themselves based on price and vigorously compete for business by

offering the best price and will readily respond to a request for proposal.

       134.   Because market rates for recordkeeping services have declined in recent

years and because the only way to reliably determine the true market rate for a complex

jumbo plan is to obtain an actual fee quote comparison, prudent fiduciaries of jumbo

defined contribution plans put the plan’s recordkeeping and administrative services out

for competitive bidding at regular intervals of approximately three years.

       135.   As set forth above, extensive industry literature and the experience of

similarly situated fiduciaries has shown that multiple recordkeeper platforms are

inefficient and result in excessive fees. Instead of leveraging the size of the participant

base to take advantage of economies of scale, using multiple recordkeepers eliminates a

plan’s leverage. Instead of obtaining pricing based on a 37,000 participant plan from one

recordkeeper, the Defendants spread recordkeeping of participants among four

recordkeepers, who pushed their own products on the Plan. This took away the Plan’s

ability to obtain favorable pricing.

       136.   As set forth above, extensive industry literature and the experience of

similarly situated defined contribution plan fiduciaries has shown that multiple

recordkeeper platforms are inefficient and result in excessive fees, while the use of a

single recordkeeper offers many benefits such as leveraging the plan’s participant base to


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obtain economies of scale to ensure that participants pay only reasonable recordkeeping

fees, while also simplifying personnel and payroll data feeds, reducing electronic fund

transfers, and avoiding duplication of services when more than one recordkeeper is used.

       137.   Despite the long-recognized benefits of a single recordkeeper for a defined

contribution plan, Defendants continued to contract with four separate recordkeepers for

the Plan: TIAA-CREF, Vanguard, Fidelity, and VALIC. There was no loyal or prudent

reason for the Defendants to maintain this inefficient and costly structure of multiple

recordkeepers, which has caused the Plan’s participants to pay excessive and

unreasonable fees for recordkeeping and administrative services.

       138.   The Plan’s recordkeepers receive compensation through revenue sharing

payments from the Plan’s investments.

       139.   Instead of obtaining a flat per-participant rate or sufficient rebates of

excessive revenue sharing back to the Plan, the Defendants allowed the Plan’s four

recordkeepers to collect excessive asset-based revenue sharing as payment for

administrative services.

       140.   Based upon information from sources including industry experts, the Plan’s

TIAA-CREF investments kicked back the following amounts of asset-based revenue

sharing to the TIAA-CREF recordkeeping entity:

                   TIAA-CREF Investment                     Revenue Share
              CREF variable annuity contracts                   24 bps
              Premier share class of TIAA-CREF
                                                                 15 bps
              mutual funds



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                     TIAA-CREF Investment                  Revenue Share
               Retirement share class of TIAA-
                                                                25 bps
               CREF mutual funds
               TIAA Real Estate Account                      24–26.5 bps
               TIAA Traditional Annuity                        15 bps

        141.   Vanguard is also compensated for recordkeeping services based on revenue

sharing payments it receives from the higher-cost retail share classes of the Vanguard

mutual funds that Defendants included in the Plan instead of the available lower-cost

institutional class shares.

        142.   Fidelity’s recordkeeping division is compensated based on internal and

external revenue sharing it receives from the Fidelity and non-Fidelity mutual funds in

the Plan.

        143.   VALIC’s recordkeeping division is compensated based on internal and

external revenue sharing it receives from the VALIC annuities and mutual funds in the

Plan.

        144.   In addition, TIAA-CREF, Vanguard, Fidelity and VALIC also receive

additional indirect compensation, including float, revenue derived from securities

lending, distribution fees, mortality and expense charges, surrender charges, spread, and

redemption fees.

        145.   Instead of discharging their fiduciary duties to act prudently and in the

exclusive interest of participants, the Defendants served TIAA-CREF’s, Fidelity’s,

VALIC’s, and Vanguard’s financial interests. Instead of conducting a request for

proposals for recordkeeping and evaluating the prudence of retaining each fund in the


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Plan, the Defendants placed and retained proprietary funds of the recordkeepers in the

Plan that would provide them with steady streams of compensation from revenue sharing

payments and investment management fees.

       146.   The Defendants were also required under ERISA to determine and monitor

all sources of TIAA-CREF’s, Fidelity’s, VALIC’s, and Vanguard’s compensation, and to

ensure that the compensation was limited to a reasonable amount for the services

provided. George, 641 F.3d at 798–99. Had the Defendants discharged those duties, they

would not have selected and retained as Plan investments options proprietary funds of the

Plan’s recordkeepers while failing to consider non-proprietary alternatives, and would not

have allowed the Plan to pay the following excessive sums for recordkeeping.

       147.   Based on information currently available to Plaintiffs regarding the Plan’s

features, the nature of the administrative services provided by the Plan’s recordkeepers,

the Plan’s participant level (roughly 30,000), and the recordkeeping market, a reasonable

recordkeeping fee for the Plan would have been a fixed amount between $700,000 and

$1.1 million (approximately $30 per participant with an account balance).

       148.   Based on schedules regarding the direct and indirect compensation levels

shown on the Plan’s Forms 5500 filed with the Department of Labor and upon

information regarding the rate of internal revenue share allocated to each of the Plan’s

recordkeepers from their proprietary investment options, the Plan paid at least $6.4 to

$10.4 million (or approximately $280 per participant with an account balance) per year




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from 2010 to 2014, over 830% higher than a reasonable fee for these services, resulting

in millions of dollars in excessive recordkeeping fees each year.

       149.   This is a very conservative total because this amount excludes asset-based

revenue sharing payments VALIC received from the Plan’s $900 million investment in

VALIC variable and fixed accounts. This information was not disclosed to Plan

participants. These asset-based payments for recordkeeping and administrative services

are substantial. For instance, on each of the variable accounts, VALIC charged fees 47%

to 807% higher than the fees actually charged by the underlying mutual funds, and

received additional compensation through revenue sharing payments from proprietary

mutual funds and other third-party mutual funds. Based on information presently

available to Plaintiffs, the amounts currently charged by VALIC on its variable annuity

products and the expenses of the underlying mutual funds are set forth below.

                                                                           Percentage
                                                                           Added by
                                                         Underlying
   VALIC Variable         Plan       Underlying                             VALIC
                                                         Mutual Fund
      Annuity             Fee        Mutual Fund                             Above
                                                            Fee
                                                                          Mutual Fund
                                                                              Fee
 VALIC American                  American Beacon
 Beacon Holland                  Holland Large
                         196 bps                            116 bps          68.97%
 Large Cap Growth                Cap Growth Fund
 Fund                            (Inv) (LHGFX)
                                 Ariel
 VALIC Ariel                     Appreciation
                         192 bps                            112 bps          71.43%
 Appreciation Fund               Fund (Inv)
                                 (CAAPX)




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                                                                  Percentage
                                                                  Added by
                                                   Underlying
 VALIC Variable      Plan       Underlying                         VALIC
                                                   Mutual Fund
    Annuity          Fee        Mutual Fund                         Above
                                                      Fee
                                                                 Mutual Fund
                                                                     Fee
                              Ariel Fund (Inv)
VALIC Ariel Fund    182 bps                          102 bps       78.43%
                              (ARGFX)
                              VALIC Company
VALIC Asset
                    150 bps   I Asset Allocation     70 bps        114.29%
Allocation Fund
                              Fund (VCAAX)
                              VALIC Company
VALIC Blue Chip               I Blue Chip
                    163 bps                          83 bps        96.39%
Growth Fund                   Growth Fund
                              (VCBCX)
                              VALIC Company
VALIC Broad Cap               I Broad Cap
                    165 bps                          85 bps        94.12%
Value Income Fund             Value Income
                              Fund (VBCVX)
                              VALIC Company
VALIC Capital                 I Capital
                    143 bps                          63 bps        126.98%
Conservation Fund             Conservation
                              Fund (VCCCX)
                              VALIC Company
VALIC Core Equity
                    160 bps   I Core Equity          80 bps        100.00%
Fund
                              Fund (VCCEX)
                              VALIC Company
VALIC Dividend
                    162 bps   I Dividend Value       82 bps        97.56%
Value Fund
                              Fund (VCIGX)
                              VALIC Company
VALIC Emerging                I Emerging
                    174 bps                          94 bps        85.11%
Economies Fund                Economies Fund
                              (VCGEX)
                              VALIC Company
VALIC Foreign
                    159 bps   I Foreign Value        79 bps        101.27%
Value Fund
                              Fund (VCFVX)


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                                                                   Percentage
                                                                   Added by
                                                    Underlying
 VALIC Variable        Plan       Underlying                        VALIC
                                                    Mutual Fund
    Annuity            Fee        Mutual Fund                        Above
                                                       Fee
                                                                  Mutual Fund
                                                                      Fee
                                VALIC Company
VALIC Global
                                I Global Social
Social Awareness      142 bps                         62 bps        129.03%
                                Awareness Fund
Fund
                                (VCSOX)
                                VALIC Company
VALIC Global
                      144 bps   I Global Strategy     64 bps        125.00%
Strategy Fund
                                Fund (VGLSX)
                                VALIC Company
VALIC Government                I Government
                      144 bps                         64 bps        125.00%
Securities Fund                 Securities Fund
                                (VCGSX)
                                VALIC Company
VALIC Growth
                      160 bps   I Growth Fund         80 bps        100.00%
Fund
                                (VCULX)
                                VALIC Company
VALIC Growth &                  I Growth &
                      165 bps                         85 bps        94.12%
Income Fund                     Income Fund
                                (VCGAX)
                                VALIC Company
VALIC Health
                      185 bps   I Health Sciences     105 bps       76.19%
Sciences Fund
                                Fund (VCHSX)
                                VALIC Company
VALIC International             I International
                      124 bps                         44 bps        181.82%
Equities Index Fund             Equities Index
                                Fund (VCIEX)
                                VALIC Company
VALIC International
                                I International
Government Bond       145 bps                         65 bps        123.08%
                                Government Bond
Fund
                                Fund (VCIFX)



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                                                                  Percentage
                                                                  Added by
                                                   Underlying
 VALIC Variable        Plan      Underlying                        VALIC
                                                   Mutual Fund
    Annuity            Fee       Mutual Fund                        Above
                                                      Fee
                                                                 Mutual Fund
                                                                     Fee
                                VALIC Company
VALIC International             I International
                      181 bps                        101 bps       79.21%
Growth Fund                     Growth Fund
                                (VCINX)
                                VALIC Company
VALIC Large Cap
                      163 bps   I Large Cap Core     83 bps        96.39%
Core Fund
                                Fund (VLCCX)
                                VALIC Company
VALIC Large                     I Large Capital
                    155 bps                          75 bps        106.67%
Capital Growth Fund             Growth Fund
                                (VLCGX)
                                VALIC Company
VALIC Mid Cap
                      116 bps   I Mid Cap Index      36 bps        222.22%
Index Fund
                                Fund (VMIDX)
                                VALIC Company
VALIC Mid Cap
                                I Mid Cap
Strategic Growth      161 bps                        81 bps        98.77%
                                Strategic Growth
Fund
                                Fund (VMSGX)
                                VALIC Company
VALIC Money
                      131 bps   I Money Market I     51 bps        156.86%
Market I Fund
                                Fund (VCIXX)
                                VALIC Company
VALIC NASDAQ-                   I NASDAQ-100
                      133 bps                        53 bps        150.94%
100 Index Fund                  Index Fund
                                (VCNIX)
                                VALIC Company
VALIC Science &                 I Science &
                      178 bps                        98 bps        81.63%
Technology Fund                 Technology Fund
                                (VCSTX)



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                                                                  Percentage
                                                                  Added by
                                                   Underlying
 VALIC Variable       Plan       Underlying                        VALIC
                                                   Mutual Fund
    Annuity           Fee        Mutual Fund                        Above
                                                      Fee
                                                                 Mutual Fund
                                                                     Fee
                               VALIC Company
VALIC Small Cap
                     173 bps   I Small Cap Fund      93 bps        86.02%
Fund
                               (VCSMX)
                               VALIC Company
VALIC Small Cap                I Small Cap
Aggressive Growth    179 bps   Aggressive            99 bps        80.81%
Fund                           Growth Fund
                               (VSAGX)
                               VALIC Company
VALIC Small Cap
                     120 bps   I Small Cap Index     40 bps        200.00%
Index Fund
                               Fund (VCSLX)
                               VALIC Company
VALIC Small Cap                I Small Cap
                     167 bps                         87 bps        91.95%
Special Value Fund             Special Values
                               Fund (VSSVX)
                               VALIC Company
VALIC Small-Mid                I Small-Mid
                     180 bps                         100 bps       80.00%
Growth Fund                    Growth Fund
                               (VSSGX)
                               VALIC Company
VALIC Stock Index
                     114 bps   I Stock Index         34 bps        235.29%
Fund
                               Fund (VSTIX)
                               VALIC Company
VALIC Value Fund     165 bps   I Value Fund          85 bps        94.12%
                               (VAVAX)
                               VALIC Company
VALIC Aggressive
                               II Aggressive
Growth Lifestyle     140 bps                         85 bps        64.71%
                               Growth Lifestyle
Fund
                               Fund (VAGLX)



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                                                                  Percentage
                                                                  Added by
                                                   Underlying
 VALIC Variable        Plan      Underlying                        VALIC
                                                   Mutual Fund
    Annuity            Fee       Mutual Fund                        Above
                                                      Fee
                                                                 Mutual Fund
                                                                     Fee
                                VALIC Company
VALIC Capital                   II Capital
                      140 bps                        85 bps        64.71%
Appreciation Fund               Appreciation
                                Fund (VCCAX)
VALIC                           VALIC Company
Conservative                    II Conservative
                      142 bps                        87 bps        63.22%
Growth Lifestyle                Growth Lifestyle
Fund                            Fund (VCGLX)
                                VALIC Company
VALIC Core Bond
                      132 bps   II Core Bond         77 bps        71.43%
Fund
                                Fund (VCCBX)
                                VALIC Company
VALIC High Yield                II High Yield
                      151 bps                        96 bps        57.29%
Bond Fund                       Bond Fund
                                (VCHYX)
                                VALIC Company
VALIC International             II International
                      155 bps                        100 bps       55.00%
Opportunities Fund              Opportunities
                                Fund (VISEX)
                                VALIC Company
VALIC Large Cap                 II Large Cap
                      136 bps                        81 bps        67.90%
Value Fund                      Value Fund
                                (VACVX)
                                VALIC Company
VALIC Mid Cap                   II Mid Cap
                      140 bps                        85 bps        64.71%
Growth Fund                     Growth Fund
                                (VAMGX)
                                VALIC Company
VALIC Mid Cap
                      160 bps   II Mid Cap Value     105 bps       52.38%
Value Fund
                                Fund (VMCVX)


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                                                                Percentage
                                                                Added by
                                                 Underlying
 VALIC Variable     Plan       Underlying                        VALIC
                                                 Mutual Fund
    Annuity         Fee        Mutual Fund                        Above
                                                    Fee
                                                               Mutual Fund
                                                                   Fee
                             VALIC Company
VALIC Moderate
                             II Moderate
Growth Lifestyle   140 bps                         85 bps        64.71%
                             Growth Lifestyle
Fund
                             Fund (VMGLX)
                             VALIC Company
VALIC Money
                   110 bps   II Money Market       55 bps        100.00%
Market II Fund
                             II Fund (VIIXX)
                             VALIC Company
VALIC Small Cap              II Small Cap
                   171 bps                         116 bps       47.41%
Growth Fund                  Growth Fund
                             (VASMX)
                             VALIC Company
VALIC Small Cap              II Small Cap
                   150 bps                         95 bps        57.89%
Value Fund                   Value Fund
                             (VCSVX)
                             VALIC Company
VALIC Socially               II Socially
                   111 bps                         56 bps        98.21%
Responsible Fund             Responsible Fund
                             (VCSRX)
                             VALIC Company
VALIC Strategic
                   142 bps   II Strategic Bond     87 bps        63.22%
Bond Fund
                             Fund (VCSBX)
                             Vanguard
VALIC Vanguard
                             LifeStrategy
LifeStrategy
                   118 bps   Conservative          13 bps        807.69%
Conservative
                             Growth Fund
Growth Fund
                             (Inv) (VSCGX)




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                                                                            Percentage
                                                                            Added by
                                                          Underlying
   VALIC Variable          Plan       Underlying                             VALIC
                                                          Mutual Fund
      Annuity              Fee        Mutual Fund                             Above
                                                             Fee
                                                                           Mutual Fund
                                                                               Fee
                                   Vanguard
 VALIC Vanguard
                                   LifeStrategy
 LifeStrategy Growth     120 bps                             15 bps           700.00%
                                   Growth Fund
 Fund
                                   (Inv) (VASGX)
                                   Vanguard
 VALIC Vanguard
                                   LifeStrategy
 LifeStrategy
                         119 bps   Moderate Growth           14 bps           750.00%
 Moderate Growth
                                   Fund (Inv)
 Fund
                                   (VSMGX)
 VALIC Vanguard                    Vanguard Long-
 Long-Term                         Term Investment-
                         102 bps                             22 bps           363.64%
 Investment-Grade                  Grade Fund (Inv)
 Fund                              (VWESX)
                                   Vanguard Long-
 VALIC Vanguard
                                   Term Treasury
 Long-Term Treasury      100 bps                             20 bps           400.00%
                                   Fund (Inv)
 Fund
                                   (VUSTX)
                                   Vanguard
 VALIC Vanguard
                         131 bps   Wellington Fund           26 bps           403.85%
 Wellington Fund
                                   (Inv) (VWELX)
                                   Vanguard
 VALIC Vanguard
                         139 bps   Windsor II Fund           34 bps           308.82%
 Windsor II Fund
                                   (Inv) (VWNFX)

       150.   Aside from the failures to monitor the amount of revenue sharing payments

and to solicit competitive bids, the Defendants also failed to adequately negotiate rebates

of excessive fee payments to TIAA-CREF, Fidelity, VALIC, and Vanguard. As a specific

example, because the multi-billion dollar plans paid the same percentage of asset-based


                                            74


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fees as much smaller plans that used TIAA-CREF’s products and services, the

Defendants could have demanded “plan pricing” rebates from TIAA-CREF based on the

Plan’s economies of scale. Just as with investment management fees, the Plan’s size

would have enabled Defendants to command a much lower fee. Defendants could have

also demanded similar rebates of all excessive fee payments from Vanguard, VALIC, and

Fidelity. Had the Defendants adequately negotiated for these rebates, the Plan’s

recordkeeping fees would have been reduced, avoiding additional losses of retirement

savings.

         151.   The impact of excessive fees on employees’ and retirees’ retirement assets

is dramatic, as the U.S. Department of Labor has found U.S. Dep’t of Labor, A Look at

401(k) Plan Fees, at 1–2 (Aug. 2013) (finding that a 1% higher level of fees over a 35-

year period makes a 28% difference in retirement assets at the end of a participant’s

career).32

         152.   The Defendants also failed to conduct a competitive bidding process for the

Plan’s recordkeeping services. A competitive bidding process for the Plan’s

recordkeeping services would have produced a reasonable recordkeeping fee for the Plan.

This competitive bidding process would have enabled Defendants to select a

recordkeeper charging reasonable fees, negotiate a reduction in recordkeeping fees, and

rebate any excess expenses paid by participants for recordkeeping services.




 32
      Available at http://www.dol.gov/ebsa/pdf/401kfeesemployee.pdf.

                                             75


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        153.   The Defendants failed to prudently monitor and control the compensation

paid for recordkeeping and administrative services, particularly the asset-based revenue

sharing received by the Plan’s recordkeepers, and therefore, caused the Plan to pay

unreasonable expenses for administration. Had the Defendants monitored the

compensation paid to the Plan’s recordkeepers and ensured that participants were only

charged reasonable fees for administrative and recordkeeping services, Plan participants

would not have lost in excess of $45 million of their retirement savings in the last six

years alone through unreasonable recordkeeping fees.33

IV.     Defendants caused the Plan to pay wholly unnecessary and excessive fees by
        using higher-cost share classes of mutual funds instead of identical versions of
        the same funds in lower-cost share classes.

        154.   Jumbo retirement plans have massive bargaining power to negotiate low

fees for investment management services. If a plan invests in mutual funds, fiduciaries

must review and consider the available share classes. Because the only difference

between the various share classes is fees, selecting a higher-cost share class results in the

plan paying wholly unnecessary fees. Accordingly, absent some compelling reason to opt

for the higher-cost version, prudent fiduciaries will select the lowest-cost share class

available to the plan. As a prominent legal counsel to defined contribution fiduciaries

explained:



 33
    Plan losses have been brought forward to the present value using the investment
returns of the S&P 500 index to compensate participants who have not been reimbursed
for their losses. This is because the excessive fees participants paid would have remained
in Plan investments growing with the market.

                                             76


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        The fiduciaries also must consider the size and purchasing power of their
        plan and select the share classes (or alternative investments) that a fiduciary
        who is knowledgeable about such matters would select under the
        circumstances. In other words, the “prevailing circumstances”—such as the
        size of the plan—are a part of a prudent decisionmaking process. The
        failure to understand the concepts and to know about the alternatives could
        be a costly fiduciary breach.

Fred Reish, Class–ifying Mutual Funds, PLANSPONSOR (Jan. 2011).34

        155.   Given that defined contribution plan fiduciaries are held to the standard of a

knowledgeable financial expert, a fiduciary should know the basic principle that asset

size matters, and must review a fund’s prospectus to determine if a lower-cost chare class

of the same fund is available, to avoid saddling the plan with unnecessary fees.

        156.   Jumbo investors like the Plan can obtain share classes with far lower costs

than retail mutual fund shares. In addition, insurance company pooled separate accounts

are available that can significantly reduce investment fees charged on mutual fund

investments in defined contribution plans.

        157.   Moreover, lower-cost share classes of mutual fund investment options were

readily available to the Plan. Minimum investment thresholds for institutional share

classes are routinely waived by the investment provider if not reached by a single fund

based on the retirement plan’s total investment in the provider’s platform.

        For large 401(k) plans with over a billion dollars in total assets…mutual
        funds will often waive an investment minimum for institutional share
        classes. It is also common for investment advisors representing large 401(k)
        plans to call mutual funds and request waivers of the investment minimums
        so as to secure the institutional shares.


 34
      Available at http://www.plansponsor.com/MagazineArticle.aspx?id=6442476537.

                                              77


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Tibble v. Edison Int’l, No. 07-5359, 2010 U.S. Dist. LEXIS 69119, at *27–28 (C.D. Cal.

July 8, 2010), aff’d 729 F.3d 1110 (9th Cir. 2013).

        158.   In fact, Vanguard expressly “reserves the right to establish higher or lower

minimum amounts for certain investors”, including when the “plan sponsor’s aggregate

assets within the Vanguard Funds will likely generate substantial economies in the

servicing of their accounts.”35

        159.   For Vanguard, TIAA-CREF, Fidelity, and VALIC mutual fund options, as

further support of the routine waiver of investment minimums for large institutional

investors, fiduciaries of other defined contribution plans have successfully negotiated on

behalf of their plan less expensive institutional share classes for a particular mutual fund

option despite that fund not meeting the minimum investment threshold.

        160.   Therefore, Defendants, knew or should have known that investment

providers would have allowed the Plan to provide lower-cost share classes to participants

if Defendants had asked.

        161.   Despite these far lower-cost options, Defendants selected and continue to

retain Plan investment options with far higher costs than were and are available for the

Plan based on its size. Moreover, for the exact same mutual fund option, Defendants

selected and continue to offer far higher-cost share classes of identical mutual funds than

were easily available to the Plan. The following table sets forth each higher-cost mutual


 35
    See Vanguard Funds Multiple Class Plan, available at
https://www.sec.gov/Archives/edgar/data/1409957/000093247113007109/multipleclasspl
anvanguardfun.pdf.

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fund share class that was included in the Plan during the proposed class period for which

a significantly lower-cost, but otherwise identical, share class of the same mutual fund

was available. The expense ratio identified for the Plan’s investment option and the

lower-cost share class alternative are based on the earliest date during the proposed class

period that the higher-cost fund was included in the Plan:

                                                                    Identical
                                                                     Lower-
                                                                                 Plan's
                                Plan      Identical Lower-Cost        Cost
     Plan Mutual Fund                                                            Excess
                                Fee           Mutual Fund            Mutual
                                                                                  Cost
                                                                      Fund
                                                                       Fee
  American Funds                         American Funds
  Washington Mutual-R5         42 bps    Washington Mutual-R6        37 bps     13.51%
  (RWMFX)                                (RWMGX)
  Deutsche Core Equity-                  Deutsche Core Equity-
                               66 bps                                50 bps     32.00%
  S (SCDGX)                              Inst (SUWIX)
  Deutsche Core Plus                     Deutsche Core Plus
                               72 bps                                66 bps      9.09%
  Income-S (SCSBX)                       Income-Inst (SZIIX)
  Deutsche CROCI                         Deutsche CROCI
  Equity Dividend-S           102 bps    Equity Dividend-Inst        82 bps     24.39%
  (KDHSX)                                (KDHIX)
  Deutsche CROCI                         Deutsche CROCI
  International-S              94 bps    International-Inst          81 bps     16.05%
  (SCINX)                                (SUIIX)
  Deutsche Emerging                      Deutsche Emerging
  Markets Equity-S            155 bps    Markets Equity-Inst         132 bps    17.42%
  (SEMGX)                                (SEKIX)
  Deutsche Enhanced                      Deutsche Enhanced
  Emerging Markets                       Emerging Markets
                               99 bps                                81 bps     22.22%
  Fixed Income-S                         Fixed Income-Inst
  (SCEMX)                                (SZEIX)
  Deutsche Global                        Deutsche Global
                              139 bps                                113 bps    23.01%
  Equity-S (DBIVX)                       Equity-Inst (MGINX)
  Deutsche Global                        Deutsche Global
                              123 bps                                120 bps     2.50%
  Growth-S (SCOBX)                       Growth-Inst (SGQIX)



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                                                            Identical
                                                             Lower-
                                                                        Plan's
                          Plan     Identical Lower-Cost       Cost
  Plan Mutual Fund                                                      Excess
                          Fee          Mutual Fund           Mutual
                                                                         Cost
                                                              Fund
                                                               Fee
Deutsche Global High               Deutsche Global High
                         89 bps                              73 bps     21.92%
Income-S (SGHSX)                   Income-Inst (MGHYX)
Deutsche Global                    Deutsche Global
Income Builder-S         77 bps    Income Builder-Inst       60 bps     28.33%
(KTRSX)                            (KTRIX)
Deutsche Global Small              Deutsche Global Small
                         130 bps                            113 bps     15.04%
Cap-S (SGSCX)                      Cap-Inst (KGDIX)
Deutsche GNMA-S                    Deutsche GNMA-Inst
                         54 bps                              45 bps     20.00%
(SGINX)                            (GIGGX)
Deutsche Gold &                    Deutsche Gold &
Precious Metals-S        115 bps   Precious Metals-Inst     100 bps     15.00%
(SCGDX)                            (SGDIX)
Deutsche Health and                Deutsche Health and
                         131 bps                            106 bps     23.58%
Wellness-S (SCHLX)                 Wellness-Inst (SUHIX)
Deutsche Large Cap                 Deutsche Large Cap
Focus Growth-S           111 bps   Focus Growth-Inst         87 bps     27.59%
(SCQGX)                            (SGGIX)
Deutsche Mid Cap                   Deutsche Mid Cap
                         109 bps                             30 bps     263.33%
Growth-S (SMCSX)                   Growth-Inst (BTEAX)
Deutsche Mid Cap                   Deutsche Mid Cap
                         110 bps                            102 bps     7.84%
Value-S (MIDTX)                    Value-Inst (MIDIX)
Deutsche Science and               Deutsche Science and
Technology-S             106 bps   Technology-Inst           67 bps     58.21%
(KTCSX)                            (KTCIX)
Deutsche Short                     Deutsche Short
                         63 bps                              50 bps     26.00%
Duration-S (DBPIX)                 Duration-R6 (PPILX)
Deutsche Small Cap                 Deutsche Small Cap
                         104 bps                             98 bps     6.12%
Growth-S (SSDSX)                   Growth-Inst (SSDIX)
Deutsche Small Cap                 Deutsche Small Cap
                         105 bps                             80 bps     31.25%
Value-S (KDSSX)                    Value-Inst (KDSIX)
Deutsche Strategic                 Deutsche Strategic
Government Securities-   62 bps    Government Securities-    51 bps     21.57%
S (KUSMX)                          Inst (KUSIX)
Deutsche World                     Deutsche World
                         115 bps                             95 bps     21.05%
Dividend-S (SCGEX)                 Dividend-R6 (SERNX)


                                      80


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                                                             Identical
                                                              Lower-
                                                                         Plan's
                          Plan     Identical Lower-Cost        Cost
  Plan Mutual Fund                                                       Excess
                          Fee          Mutual Fund            Mutual
                                                                          Cost
                                                               Fund
                                                                Fee
Fidelity China Region              Fidelity Advisor China
                         98 bps                               93 bps     5.38%
(FHKCX)                            Region-I (FHKIX)
Fidelity Conservative              Fidelity Conservative
Income Bond              40 bps    Income Bond-Inst           30 bps     33.33%
(FCONX)                            (FCNVX)
Fidelity Dividend                  Fidelity Dividend
                         92 bps                               71 bps     29.58%
Growth (FDGFX)                     Growth-K (FDGKX)
Fidelity Emerging                  Fidelity Emerging
Europe, Middle East,               Europe, Middle East,
                         125 bps                             119 bps     5.04%
Africa (EMEA)                      Africa (EMEA)-I
(FEMEX)                            (FIEMX)
Fidelity Global                    Fidelity Advisor Global
Commodity Stock          109 bps   Commodity Stock-I         107 bps     1.87%
(FFGCX)                            (FFGIX)
Fidelity International             Fidelity International
                         104 bps                              88 bps     18.18%
Growth (FIGFX)                     Growth-Z (FZAJX)
                                   Fidelity International
Fidelity International
                         114 bps   Real Estate-Inst          109 bps     4.59%
Real Estate (FIREX)
                                   (FIRIX)
Fidelity International             Fidelity International
                         142 bps                             131 bps     8.40%
Small Cap (FISMX)                  Small Cap-Inst (FIXIX)
                                   Fidelity International
Fidelity International
                                   Small Cap
Small Cap                89 bps                               88 bps     1.14%
                                   Opportunities-Inst
Opportunities (FSCOX)
                                   (FOPIX)
                                   Fidelity Advisor Japan-
Fidelity Japan (FJPNX)   80 bps                               75 bps     6.67%
                                   I (FJPIX)
                                   Fidelity Advisor Large
Fidelity Large Cap
                         86 bps    Cap Growth-Inst            74 bps     16.22%
Growth (FSLGX)
                                   (FLNOX)
Fidelity Latin America             Fidelity Latin America-
                         103 bps                             101 bps     1.98%
(FLATX)                            Inst (FLFIX)
Fidelity Low-Priced                Fidelity Low-Priced
                         99 bps                               85 bps     16.47%
Stock (FLPSX)                      Stock-K (FLPKX)



                                      81


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                                                             Identical
                                                              Lower-
                                                                         Plan's
                          Plan     Identical Lower-Cost        Cost
  Plan Mutual Fund                                                       Excess
                          Fee          Mutual Fund            Mutual
                                                                          Cost
                                                               Fund
                                                                Fee
Fidelity Mega Cap                  Fidelity Mega Cap
                          68 bps                              54 bps     25.93%
Stock (FGRTX)                      Stock-Z (FZALX)
                                   Fidelity Advisor Mid
Fidelity Mid Cap
                          70 bps   Cap Growth-Inst            59 bps     18.64%
Growth (FSMGX)
                                   (FGCOX)
                                   Fidelity Advisor Real
Fidelity Real Estate
                          92 bps   Estate Income-I            89 bps     3.37%
Income (FRIFX)
                                   (FRIRX)
Fidelity Select Gold               Fidelity Advisor Gold-I
                          94 bps                              91 bps     3.30%
(FSAGX)                            (FGDIX)
Fidelity Select                    Fidelity Advisor
                          94 bps                              93 bps     1.08%
Materials (FSDPX)                  Materials-I (FMFEX)
                                   Fidelity Spartan 500
Fidelity Spartan 500
                          5 bps    Index-Adv Inst             3 bps      66.67%
Index-Inst (FXSIX)
                                   (FXAIX)
                                   Fidelity Spartan
Fidelity Spartan
                                   Extended Market
Extended Market           7 bps                               6 bps      16.67%
                                   Index-Adv Inst
Index-Adv (FSEVX)
                                   (FSMAX)
                                   Fidelity Spartan
Fidelity Spartan
                                   Inflation-Protected
Inflation-Protected       10 bps                              5 bps      100.00%
                                   Index-Adv Inst
Index-Adv (FSIYX)
                                   (FIPDX)
Fidelity Spartan                   Fidelity Spartan
International Index-Adv   12 bps   International Index-Adv    6 bps      100.00%
(FSIVX)                            Inst (FSPSX)
Fidelity Spartan                   Fidelity Spartan
International Index-Inv   10 bps   International Index-Adv    7 bps      42.86%
(FSIIX)                            (FSIVX)
Fidelity Spartan                   Fidelity Spartan
International Index-Inv   11 bps   International Index-Adv    6 bps      83.33%
(FSIIX)                            Inst (FSPSX)
Fidelity Spartan Long              Fidelity Spartan Long
Term Treasury Bond        20 bps   Term Treasury Bond         10 bps     100.00%
Index-Inv (FLBIX)                  Index-Adv (FLBAX)


                                      82


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                                                             Identical
                                                              Lower-
                                                                         Plan's
                           Plan     Identical Lower-Cost       Cost
  Plan Mutual Fund                                                       Excess
                           Fee          Mutual Fund           Mutual
                                                                          Cost
                                                               Fund
                                                                Fee
Fidelity Spartan Short              Fidelity Spartan Short
Term Treasury Index-      20 bps    Term Treasury Index-      10 bps     100.00%
Inv (FSBIX)                         Adv (FSBAX)
Fidelity Spartan Total              Fidelity Spartan Total
Market Index (Ins)         6 bps    Market Index-Adv Inst     5 bps      20.00%
(FSKTX)                             (FSKAX)
Fidelity Spartan US                 Fidelity Spartan US
Bond Index-Inst            7 bps    Bond Index-Adv Inst       5 bps      40.00%
(FXSTX)                             (FXNAX)
                                    Fidelity Advisor Stock
Fidelity Stock Selector
                          72 bps    Selector Small Cap-I      62 bps     16.13%
Small Cap (FDSCX)
                                    (FCDIX)
ICT Treasury Portfolio              ICT Treasury Portfolio
Deutsche US Treasury      23 bps    Deutsche US Treasury      21 bps     9.52%
Money-S (IUSXX)                     Money-Inst (ICTXX)
MFS Value-R4                        MFS Value-R5
                          67 bps                              56 bps     19.64%
(MEIJX)                             (MEIKX)
Oppenheimer                         Oppenheimer
Developing Markets-Y      103 bps   Developing Markets-I      88 bps     17.05%
(ODVYX)                             (ODVIX)
PIMCO Total Return-                 PIMCO Total Return-
                          71 bps                              46 bps     54.35%
Adm (PTRAX)                         Inst (PTTRX)
Prudential Jennison                 Prudential Jennison
Mid Cap Growth-Z          76 bps    Mid Cap Growth (Q)        60 bps     26.67%
(PEGZX)                             (PJGQX)
Strategic Advisers                  Strategic Advisers
International Multi-      116 bps   International Multi-     107 bps     8.41%
Manager (FMJDX)                     Manager-F (FMBKX)
Strategic Advisers                  Strategic Advisers
Small Mid Cap Multi-      116 bps   Small Mid Cap Multi-     106 bps     9.43%
Manager (FNAPX)                     Manager-F (FARMX)
TIAA-CREF Equity                    TIAA-CREF Equity
                          33 bps                              9 bps      266.67%
Index-Ret (TIQRX)                   Index-Inst (TIEIX)
TIAA-CREF Growth &                  TIAA-CREF Growth &
                          73 bps                              52 bps     40.38%
Income-Ret (TRGIX)                  Income-Inst (TIGRX)


                                       83


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                                                         Identical
                                                          Lower-
                                                                     Plan's
                        Plan     Identical Lower-Cost      Cost
  Plan Mutual Fund                                                   Excess
                        Fee          Mutual Fund          Mutual
                                                                      Cost
                                                           Fund
                                                            Fee
TIAA-CREF                        TIAA-CREF
International Equity-   78 bps   International Equity-    57 bps     36.84%
Ret (TRERX)                      Inst (TIIEX)
TIAA-CREF                        TIAA-CREF
International Equity    35 bps   International Equity     10 bps     250.00%
Index-Ret (TRIEX)                Index-Inst (TCIEX)
TIAA-CREF Large-                 TIAA-CREF Large-
Cap Growth Index-Ret    34 bps   Cap Growth Index-Inst    9 bps      277.78%
(TRIRX)                          (TILIX)
TIAA-CREF Large-                 TIAA-CREF Large-
Cap Value-Ret           74 bps   Cap Value-Inst           49 bps     51.02%
(TRLCX)                          (TRLIX)
TIAA-CREF Large-                 TIAA-CREF Large-
Cap Value Index-Ret     34 bps   Cap Value Index-Inst     9 bps      277.78%
(TRCVX)                          (TILVX)
TIAA-CREF Lifecycle              TIAA-CREF Lifecycle
                        65 bps                            40 bps     62.50%
2010-Ret (TCLEX)                 2010-Inst (TCTIX)
TIAA-CREF Lifecycle              TIAA-CREF Lifecycle
                        67 bps                            42 bps     59.52%
2015-Ret (TCLIX)                 2015-Inst (TCNIX)
TIAA-CREF Lifecycle              TIAA-CREF Lifecycle
                        67 bps                            42 bps     59.52%
2020-Ret (TCLTX)                 2020-Inst (TCWIX)
TIAA-CREF Lifecycle              TIAA-CREF Lifecycle
                        69 bps                            44 bps     56.82%
2025-Ret (TCLFX)                 2025-Inst (TCYIX)
TIAA-CREF Lifecycle              TIAA-CREF Lifecycle
                        71 bps                            46 bps     54.35%
2030-Ret (TCLNX)                 2030-Inst (TCRIX)
TIAA-CREF Lifecycle              TIAA-CREF Lifecycle
                        72 bps                            47 bps     53.19%
2035-Ret (TCLRX)                 2035-Inst (TCIIX)
TIAA-CREF Lifecycle              TIAA-CREF Lifecycle
                        72 bps                            47 bps     53.19%
2040-Ret (TCLOX)                 2040-Inst (TCOIX)
TIAA-CREF Lifecycle              TIAA-CREF Lifecycle
                        72 bps                            47 bps     53.19%
2045-Ret (TTFRX)                 2045-Inst (TTFIX)
TIAA-CREF Lifecycle              TIAA-CREF Lifecycle
                        71 bps                            46 bps     54.35%
2050-Ret (TLFRX)                 2050-Inst (TFTIX)




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                                                           Identical
                                                            Lower-
                                                                       Plan's
                        Plan     Identical Lower-Cost        Cost
 Plan Mutual Fund                                                      Excess
                        Fee          Mutual Fund            Mutual
                                                                        Cost
                                                             Fund
                                                              Fee
TIAA-CREF Lifecycle              TIAA-CREF Lifecycle
Retirement Income-Ret   65 bps   Retirement Income-Inst     40 bps     62.50%
(TLIRX)                          (TLRIX)
TIAA-CREF Mid-Cap                TIAA-CREF Mid-Cap
                        77 bps                              52 bps     48.08%
Growth-Ret (TRGMX)               Growth-Inst (TRPWX)
TIAA-CREF Mid-Cap                TIAA-CREF Mid-Cap
                        74 bps                              49 bps     51.02%
Value-Ret (TRVRX)                Value-Inst (TIMVX)
TIAA-CREF Real                   TIAA-CREF Real
Estate Securities-Ret   81 bps   Estate Securities-Inst     56 bps     44.64%
(TRRSX)                          (TIREX)
TIAA-CREF S&P 500                TIAA-CREF S&P 500
                        33 bps                              8 bps      312.50%
Index-Ret (TRSPX)                Index-Inst (TISPX)
TIAA-CREF Small-                 TIAA-CREF Small-
Cap Blend Index-Ret     34 bps   Cap Blend Index-Inst       9 bps      277.78%
(TRBIX)                          (TISBX)
TIAA-CREF Small-                 TIAA-CREF Small-
Cap Equity-Ret          80 bps   Cap Equity-Inst            55 bps     45.45%
(TRSEX)                          (TISEX)
TIAA-CREF Social                 TIAA-CREF Social
Choice Equity-Ret       45 bps   Choice Equity-Inst         22 bps     104.55%
(TRSCX)                          (TISCX)
Valic American                   American Century Mid
Century Mid Cap         81 bps   Cap Value-R6               65 bps     24.62%
Value-Inst                       (AMDVX)
Valic American Funds             American Funds
                        74 bps                              39 bps     89.74%
AMCAP-R4                         AMCAP-R6 (RAFGX)
                                 American Funds
Valic American Funds
                        85 bps   EuroPacific Growth-R6      50 bps     70.00%
EuroPacific Growth-R4
                                 (RERGX)
Vanguard 500 Index-              Vanguard Institutional
                        17 bps                              2 bps      750.00%
Inv (VFINX)                      Index-Inst Plus (VIIIX)
Vanguard Asset                   Vanguard Asset
Allocation-Inv          27 bps   Allocation-Adm             19 bps     42.11%
(VAAPX)                          (VAARX)



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                                                            Identical
                                                             Lower-
                                                                        Plan's
                         Plan     Identical Lower-Cost        Cost
  Plan Mutual Fund                                                      Excess
                         Fee          Mutual Fund            Mutual
                                                                         Cost
                                                              Fund
                                                               Fee
Vanguard Balanced                 Vanguard Balanced
                         26 bps                              8 bps      225.00%
Index-Inv (VBINX)                 Index-Inst (VBAIX)
Vanguard Capital                  Vanguard Capital
Opportunity-Inv          48 bps   Opportunity-Adm            41 bps     17.07%
(VHCOX)                           (VHCAX)
Vanguard Developed                Vanguard Developed
Markets Index-Inv        20 bps   Markets Index-Inst Plus    6 bps      233.33%
(VDMIX)                           (VDMPX)
Vanguard Developed                Vanguard Developed
Markets Index-Inv        20 bps   Markets Index-Inst Plus    7 bps      185.71%
(VDVIX)                           (VTMNX)
Vanguard Dividend                 Vanguard Dividend
Appreciation Index-Inv   20 bps   Appreciation Index-        10 bps     100.00%
(VDAIX)                           Adm (VDADX)
Vanguard Emerging                 Vanguard Emerging
Markets Stock Index-     35 bps   Markets Stock Index-       15 bps     133.33%
Inv (VEIEX)                       Inst (VEMIX)
Vanguard Emerging                 Vanguard Emerging
Markets Stock Index-     33 bps   Markets Stock Index-       10 bps     230.00%
Inv (VEIEX)                       Inst Plus (VEMRX)
Vanguard Energy-Inv               Vanguard Energy-Adm
                         38 bps                              31 bps     22.58%
(VGENX)                           (VGELX)
Vanguard Equity-                  Vanguard Equity-
                         31 bps                              22 bps     40.91%
Income-Inv (VEIPX)                Income-Adm (VEIRX)
Vanguard European                 Vanguard European
Stock Index-Inv          26 bps   Stock Index-Inst           10 bps     160.00%
(VEURX)                           (VESIX)
Vanguard Explorer-Inv             Vanguard Explorer-
                         49 bps                              32 bps     53.13%
(VEXPX)                           Adm (VEXRX)
Vanguard Extended                 Vanguard Extended
Market Index-Inv         26 bps   Market Index-Inst Plus     8 bps      225.00%
(VEXMX)                           (VEMPX)
Vanguard FTSE All-                Vanguard FTSE All-
World ex-US Index-Inv    35 bps   World ex-US Index-         15 bps     133.33%
(VFWIX)                           Inst (VFWSX)


                                     86


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                                                             Identical
                                                              Lower-
                                                                         Plan's
                           Plan     Identical Lower-Cost       Cost
  Plan Mutual Fund                                                       Excess
                           Fee          Mutual Fund           Mutual
                                                                          Cost
                                                               Fund
                                                                Fee
Vanguard FTSE All-                  Vanguard FTSE All-
World ex-US Index-Inv      35 bps   World ex-US Index-        10 bps     250.00%
(VFWIX)                             Inst Plus (VFWPX)
Vanguard FTSE All-                  Vanguard FTSE All-
World ex-US Small-                  World ex-US Small-
                           78 bps                             30 bps     160.00%
Cap Index-Inv                       Cap Index-Inst
(VFSVX)                             (VFSNX)
Vanguard FTSE Social                Vanguard FTSE Social
                           29 bps                             16 bps     81.25%
Index-Inv (VFTSX)                   Index-Inst (VFTNX)
Vanguard GNMA-Inv                   Vanguard GNMA-Adm
                           23 bps                             13 bps     76.92%
(VFIIX)                             (VFIJX)
Vanguard Growth &                   Vanguard Growth &
                           32 bps                             21 bps     52.38%
Income-Inv (VQNPX)                  Income-Adm (VGIAX)
Vanguard Growth                     Vanguard Growth
                           26 bps                             8 bps      225.00%
Index-Inv (VIGRX)                   Index-Inst (VIGIX)
Vanguard Health Care-               Vanguard Health Care-
                           36 bps                             29 bps     24.14%
Inv (VGHCX)                         Adm (VGHAX)
Vanguard High-Yield                 Vanguard High-Yield
Corporate-Inv              28 bps   Corporate-Adm             15 bps     86.67%
(VWEHX)                             (VWEAX)
Vanguard Inflation-                 Vanguard Inflation-
Protected Securities-Inv   22 bps   Protected Securities-     7 bps      214.29%
(VIPSX)                             Inst (VIPIX)
Vanguard Intermediate-              Vanguard Intermediate-
Term Bond Index-Inv        22 bps   Term Bond Index-Inst      7 bps      214.29%
(VBIIX)                             (VBIMX)
Vanguard Intermediate-              Vanguard Intermediate-
Term Bond Index-Inv        20 bps   Term Bond Index-Inst      5 bps      300.00%
(VBIIX)                             Plus (VBIUX)
Vanguard Intermediate-              Vanguard Intermediate-
Term Investment-           24 bps   Term Investment-          11 bps     118.18%
Grade-Inv (VFICX)                   Grade-Adm (VFIDX)
Vanguard Intermediate-              Vanguard Intermediate-
Term Treasury-Inv          25 bps   Term Treasury-Adm         12 bps     108.33%
(VFITX)                             (VFIUX)


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                                                           Identical
                                                            Lower-
                                                                       Plan's
                         Plan     Identical Lower-Cost       Cost
  Plan Mutual Fund                                                     Excess
                         Fee          Mutual Fund           Mutual
                                                                        Cost
                                                             Fund
                                                              Fee
Vanguard International            Vanguard International
                         49 bps                             33 bps     48.48%
Growth-Inv (VWIGX)                Growth-Adm (VWILX)
Vanguard Large-Cap                Vanguard Large-Cap
                         26 bps                             8 bps      225.00%
Index-Inv (VLACX)                 Index-Inst (VLISX)
Vanguard Long-Term                Vanguard Long-Term
Bond Index-Inv           22 bps   Bond Index-Inst           7 bps      214.29%
(VBLTX)                           (VBLLX)
Vanguard Long-Term                Vanguard Long-Term
Bond Index-Inv           22 bps   Bond Index-Inst Plus      5 bps      340.00%
(VBLTX)                           (VBLIX)
Vanguard Long-Term                Vanguard Long-Term
Investment-Grade-Inv     26 bps   Investment-Grade-Adm      13 bps     100.00%
(VWESX)                           (VWETX)
                                  Vanguard Long-Term
Vanguard Long-Term
                         25 bps   Treasury-Adm              12 bps     108.33%
Treasury-Inv (VUSTX)
                                  (VUSUX)
                                  Vanguard Mid Cap
Vanguard Mid Cap
                         9 bps    Index-Inst Plus           6 bps      50.00%
Index-Adm (VIMAX)
                                  (VMCPX)
Vanguard Mid Cap                  Vanguard Mid Cap
                         26 bps                             8 bps      225.00%
Index-Inv (VIMSX)                 Index-Inst (VMCIX)
                                  Vanguard Mid Cap
Vanguard Mid Cap
                         24 bps   Index-Inst Plus           6 bps      300.00%
Index-Inv (VIMSX)
                                  (VMCPX)
Vanguard Mid-Cap                  Vanguard Mid-Cap
Growth Index-Inv         26 bps   Growth Index-Adm          10 bps     160.00%
(VMGIX)                           (VMGMX)
Vanguard Mid-Cap                  Vanguard Mid-Cap
Value Index-Inv          24 bps   Value Index-Adm           10 bps     140.00%
(VMVIX)                           (VMVAX)
                                  Vanguard Morgan
Vanguard Morgan
                         43 bps   Growth-Adm                29 bps     48.28%
Growth-Inv (VMRGX)
                                  (VMRAX)
Vanguard Pacific Stock            Vanguard Pacific Stock
                         26 bps                             10 bps     160.00%
Index-Inv (VPACX)                 Index-Inst (VPKIX)


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                                                         Identical
                                                          Lower-
                                                                     Plan's
                       Plan     Identical Lower-Cost       Cost
  Plan Mutual Fund                                                   Excess
                       Fee          Mutual Fund           Mutual
                                                                      Cost
                                                           Fund
                                                            Fee
                                Vanguard Prime Money
Vanguard Prime Money
                       23 bps   Market-Adm                9 bps      155.56%
Market-Inv (VMMXX)
                                (VMRXX)
Vanguard PRIMECAP-              Vanguard PRIMECAP-
                       45 bps                             36 bps     25.00%
Inv (VPMCX)                     Adm (VPMAX)
Vanguard REIT Index-            Vanguard REIT Index-
                       26 bps                             9 bps      188.89%
Inv (VGSIX)                     Inst (VGSNX)
Vanguard Short-Term             Vanguard Short-Term
Bond Index-Inv         22 bps   Bond Index-Adm            11 bps     100.00%
(VBISX)                         (VBIRX)
Vanguard Short-Term             Vanguard Short-Term
Bond Index-Inv         22 bps   Bond Index-Inst Plus      5 bps      340.00%
(VBISX)                         (VBIPX)
                                Vanguard Short-Term
Vanguard Short-Term
                       22 bps   Federal-Adm               12 bps     83.33%
Federal-Inv (VSGBX)
                                (VSGDX)
Vanguard Short-Term             Vanguard Short-Term
Investment-Grade-Inv   24 bps   Investment-Grade-Inst     9 bps      166.67%
(VFSTX)                         (VFSIX)
                                Vanguard Short-Term
Vanguard Short-Term
                       22 bps   Treasury-Adm              12 bps     83.33%
Treasury-Inv (VFISX)
                                (VFIRX)
                                Vanguard Small Cap
Vanguard Small Cap
                       26 bps   Index-Inst Plus           6 bps      333.33%
Index-Inv (NAESX)
                                (VSCPX)
Vanguard Small Cap              Vanguard Small Cap
Value Index-Inv        26 bps   Value Index-Inst          8 bps      225.00%
(VISVX)                         (VSIIX)
Vanguard Small-Cap              Vanguard Small-Cap
Growth Index-Inv       26 bps   Growth Index-Inst         8 bps      225.00%
(VISGX)                         (VSGIX)
Vanguard Total Bond             Vanguard Total Bond
Market Index-Inv       22 bps   Market Index-Inst Plus    5 bps      340.00%
(VBMFX)                         (VBMPX)



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                                                                     Identical
                                                                      Lower-
                                                                                  Plan's
                                Plan      Identical Lower-Cost         Cost
     Plan Mutual Fund                                                             Excess
                                Fee           Mutual Fund             Mutual
                                                                                   Cost
                                                                       Fund
                                                                        Fee
                                         Vanguard Total
   Vanguard Total
                                         International Stock
   International Stock         22 bps                                 10 bps     120.00%
                                         Index-Inst Plus
   Index-Inv (VGTSX)
                                         (VTPSX)
                                         Vanguard Institutional
   Vanguard Total Stock
                                         Total Stock Market
   Market Index-Inv            17 bps                                  2 bps     750.00%
                                         Index-Inst Plus
   (VTSMX)
                                         (VITPX)
   Vanguard Total World                  Vanguard Total World
   Stock Index-Inv             45 bps    Stock Index-Inst             23 bps     95.65%
   (VTWSX)                               (VTWIX)
   Vanguard U.S. Growth-                 Vanguard U.S. Growth-
                               45 bps                                 29 bps     55.17%
   Inv (VWUSX)                           Adm (VWUAX)
   Vanguard Value Index-                 Vanguard Value Index-
                               26 bps                                  8 bps     225.00%
   Inv (VIVAX)                           Inst (VIVIX)
   Vanguard Wellesley                    Vanguard Wellesley
                               28 bps                                 21 bps     33.33%
   Income-Inv (VWINX)                    Income-Adm (VWIAX)
   Vanguard Wellington-                  Vanguard Wellington-
                               30 bps                                 22 bps     36.36%
   Inv (VWELX)                           Adm (VWENX)
   Vanguard Windsor II-                  Vanguard Windsor II-
                               35 bps                                 27 bps     29.63%
   Inv (VWNFX)                           Adm (VWNAX)
   Vanguard Windsor-Inv                  Vanguard Windsor-
                               33 bps                                 22 bps     50.00%
   (VWNDX)                               Adm (VWNEX)
                                         Western Asset Core
   Western Asset Core
                               45 bps    Plus Bond-IS                 43 bps      4.65%
   Plus Bond-I (WACPX)
                                         (WAPSX)

       162.   These lower-cost share classes have been available for years, some dating

back to the early 2000s or before.

       163.   Because the share classes have identical portfolio managers, underlying

investments, and asset allocations, and differ only in cost, Defendants’ failure to select



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the lower-cost share classes for the Plan’s mutual fund options demonstrates that

Defendants failed to prudently consider and use the size and purchasing power of the

Plan when selecting the Plan’s investment options.

        164.   Defendants’ use of the higher-cost share classes instead of the available

lower-cost versions caused Plan participants to lose millions of dollars of their retirement

savings due to wholly unnecessary fees.

 V.        Defendants selected and retained a large number of duplicative
           investment options, diluting the Plan’s ability to pay lower fees and
           confusing participants.

        165.   Defendants provided a dizzying array of duplicative funds in the same

investment style, thereby depriving the Plan of its bargaining power associated with

offering a single option in each investment style, which significantly reduces investment

fees, and leading to what industry experts have described as “decision paralysis” for

participants. See, e.g., Michael Liersch, Choice in Retirement Plans: How Participant

Behavior Differs in Plans Offering Advice, Managed Accounts, and Target-Date

Investments, T. ROWE PRICE RETIREMENT RESEARCH, at 2 (Apr. 2009) (“Offering too

many choices to consumers can lead to decision paralysis, preventing consumers from

making decisions.”). Defendants placed over 400 investment options in the Plan, in the

following asset classes: target date and asset allocation funds, large cap domestic equities,

mid cap domestic equities, small cap domestic equities, international equities, fixed

income, money market, real estate, and stable value.




                                             91


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        166.    Having such an overwhelming number of investment options places a

monumental burden on the Plan’s participants in selecting options in which to invest. A

fund’s objectives or goals, investment strategies, principal risks, historical performance,

fees and expenses, and fund managers and advisers, among other information are set

forth in a prospectus. Prospectuses are designed to educate a potential investor and

provide material information to enable her to make an informed, prudent investment

decision. For the Fidelity Freedom Funds alone, the prospectus and supporting materials

filed with the Securities and Exchange Commission span almost 800 printed pages.36 If a

Duke Plan participant were to review the prospectuses of all 400 investment options in

the Plan, this would require reading many thousands of pages of materials. This is a

virtually impossible burden. Even for the Plan’s fiduciaries, it is inconceivable that they

have read the prospectuses and supporting materials of the 400 funds they have selected

and retained.

        167.    In comparison to the 400-option Duke Plan, defined contribution plans in

2014 had an average of 15 investment options, excluding target date funds. Callan

Investments Institute, 2015 Defined Contribution Trends, at 28 (2015).37 This provides

choice of investment style to participants while maintaining a larger pool of assets in each

investment style and avoiding confusion. This number of options provides participants

with a choice of investment styles while maintaining a larger pool of assets in each


 36
    See Fidelity Freedom Funds Prospectus, Form N-1A (May 28, 2016), available at
https://www.sec.gov/Archives/edgar/data/880195/000137949116004218/filing717.htm.
 37
    Available at https://www.callan.com/research/files/990.pdf.

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investment style, which benefits participants by avoiding participant confusion and

obtaining lower fees. It also is the output of an evaluation and selection by prudent

fiduciaries of the “best in class” investment choice in a particular investment style.

Indeed, since it is the fiduciaries in a plan who ERISA holds to a standard of a prudent

financial expert, it is important for fiduciaries to perform that selection role for the

exclusive benefit of participants who are not financial experts.

       168.    A larger pool of assets in each investment style significantly reduces fees

paid by participants. By consolidating duplicative investments of the same investment

style into a single investment option, the Plan would then have the ability to command

lower-cost investments, such as a low-cost institutional share class of the selected mutual

fund option.

       169.    Fund selections must be the result of a detailed due diligence process that

considers factors such as risk, investment return, and expenses of available investment

alternatives, and the fiduciary must give “appropriate consideration” to “the role the

investment or investment course of action plays . . . in the plan’s investment portfolio,”

29 C.F.R. §§2550.404a-1(b)(i)-(ii). Fiduciaries cannot discharge their duties “by the

simple expedient of including a very large number of investment alternatives in its

portfolio and then shifting to the participants the responsibility for choosing among

them.” Hecker, 569 F.3d at 711. This removes the benefit of pooling assets consistent

with the size of the Plan. Assembling a haphazard lineup of over 400 duplicative options,




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proprietary to the Plan’s recordkeepers—and shifting to participants the burden to screen

those options—does not reflect a prudent investment selection process.

        170.   Within each asset class and investment style deemed appropriate for a

participant-directed retirement plan, prudent fiduciaries must make a reasoned

determination and select a prudent investment option. In contrast to the investment lineup

assembled by Defendants, prudent fiduciaries do not select and retain numerous

duplicative investment options for a single asset class and investment style. When many

investment options in a single investment style are included in a plan, fiduciaries lose the

bargaining power to obtain lower investment management expenses for that style.

        171.   Moreover, if a participant puts her assets in each of the funds within a given

investment style, as commentators have said they are likely to do,38 when many actively

managed funds are included within the same investment style, this results in those

participants effectively having an index return. This is because the investments are spread

so broadly over that investment style. Yet the participants will be paying much higher

fees for active management than the fees of a passive index fund.

        172.   In addition, providing multiple options in a single investment style adds

unnecessary complexity to the investment lineup and leads to participant confusion. See

The Standard, Fixing Your 403(b) Plan: Adopting a Best Practices Approach, at 2

(“Numerous studies have demonstrated that when people are given too many choices of

 38
    Ian Ayres & Quinn Curtiss, Beyond Diversification: The Pervasive Problem of
Excessive Fees and Dominated Funds in 401(k) Plans, 124 YALE L.J. 1476, 1481
(2015)(“It is well established that some investors naively diversify by spreading their
plan investments across all fund offerings.”).

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anything, they lose confidence or make no decision.”); Michael Liersch, Choice in

Retirement Plans: How Participant Behavior Differs in Plans Offering Advice, Managed

Accounts, and Target-Date Investments, T. ROWE PRICE RETIREMENT RESEARCH, at 2

(Apr. 2009)(“Offering too many choices to consumers can lead to decision paralysis,

preventing consumers from making decisions.”).39

        173.   Moreover, having many actively managed funds in the Plan within the

same investment style results in the Plan effectively having an index fund return even

though the plan is paying fees for active management that are much higher than the fees

of a passive index fund.

        174.   From 2010 to the present, the Plan included and continues to include

duplicative investments in every major asset class and investment style, including

balanced/asset allocation (32–34 options), fixed income and high-yield bond (39–53

options), international (59–64 options), large cap domestic equities (86–95 options), mid

cap domestic equities (30–36 options), small cap domestic equities (23–30 options), real

estate (6 options), money market (14–16 options), and target date investments (4 fund

families). Such a dizzying array of duplicative funds in a single investment style violates

the well-recognized industry principle that too many choices harm participants and can

lead to “decision paralysis”.




 39
    Available at
http://www.behavioralresearch.com/Publications/Choice_in_Retirement_Plans_April_20
09.pdf.

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       175.   For example, Defendants’ inclusion of 22 large cap domestic blend

investments as of December 31, 2014, are summarized below and compared to a single

lower-cost alternative that was available to the Plan: the Vanguard Institutional Index

Fund-Inst Plus (VIIIX), which mirrors the market and has an expense ratio of 2 bps.

                                                         Institutional      Percentage
 Large Cap Blend
                      2014 Plan Assets           Fee     Index Fund         Excess Paid
   Investments
                                                           (VIIIX)           by Plan
CREF Equity                                      37
                          $44,403,290                        2 bps             1750%
Index                                            bps
                                                 46
CREF Stock               $315,203,142                        2 bps             2200%
                                                 bps
Deutsche Core                                    53
                           $5,326,348                        2 bps             2550%
Equity                                           bps
DWS S&P 500                                      34
                           $1,908,446                        2 bps             1600%
Index                                            bps
Fidelity                                         39
                           $2,834,242                        2 bps             1850%
Disciplined Equity                               bps
Fidelity
                                                 52
Growth &                  $22,175,247                        2 bps             2500%
                                                 bps
Income
Fidelity Large Cap
                                                 45
Core Enhanced                $161,447                        2 bps             2150%
                                                 bps
Index
Fidelity Large Cap                               88
                           $3,604,131                        2 bps             4300%
Stock                                            bps
Fidelity Mega Cap                                68
                           $1,556,293                        2 bps             3300%
Stock                                            bps
Fidelity Spartan
                          $37,499,775            4 bps       2 bps             100%
500 Index
Fidelity Spartan
                          $15,879,973            5 bps       2 bps             150%
Total Market Index
TIAA-CREF
                           $7,844,471            5 bps       2 bps             150%
Equity Index
TIAA-CREF S&P
                           $8,210,706            6 bps       2 bps             200%
500 Index


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                                                       Institutional     Percentage
 Large Cap Blend
                      2014 Plan Assets         Fee     Index Fund        Excess Paid
   Investments
                                                         (VIIIX)          by Plan
VALIC Annuity -
                                               165
VALIC Company I             $972,847                       2 bps            8150%
                                               bps
Growth & Income
VALIC Annuity -
                                               163
VALIC Company I           $1,038,951                       2 bps            8050%
                                               bps
Large Cap Core
VALIC Annuity -
                                               114
VALIC Company I          $38,746,472                       2 bps            5600%
                                               bps
Stock Index
VALIC
Vanguard                 $37,573,536           5 bps       2 bps            150%
500 Index
Vanguard 500
                         $88,952,273           5 bps       2 bps            150%
Index
Vanguard
                                               37
Growth &                 $11,018,557                       2 bps            1750%
                                               bps
Income
Vanguard Large-                                23
                          $2,029,041                       2 bps            1050%
Cap Index                                      bps
Vanguard                                       50
                          $3,255,720                       2 bps            2400%
PRIMECAP Core                                  bps
Vanguard Total
                                               17
Stock Market             $39,726,862                       2 bps            750%
                                               bps
Index
       Total            $689,921,770

      176.   With over $359 million held in the CREF Stock Account and the CREF

Equity Index Account, these large cap blend options were 23 and 18 times more

expensive than the lower-cost Vanguard option with an expense ratio of 2 bps,

respectively. Moreover, the CREF Stock Account has also been recommended for

removal from defined contribution plans by an independent consultant. See infra ¶205.




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              Excessive Expense Ratio of CREF Stock Account and
                         CREF Equity Index Account

                              46 bps                   CREF Expense 2200%–
                                            37 bps     1750% Higher than Index
                                                       Fund
      50

      40

      30

      20                                                   2 bps

      10

        0
  Basis Points
     (bps)
    CREF Stock Account                           CREF Equity Index Account
    Vanguard Institutional Index Fund

       177.   Many other large cap index funds are also available at far lower costs than

the Plan’s large cap blend funds. Had the amounts invested in the Plan’s large cap blend

options been consolidated into a single large cap blend investment such as the Vanguard

Institutional Index Fund (VIIIX), Plan participants would have avoided losing in excess

of $2 million in fees in 2014 alone, and many more millions since 2010 to the present and

continuing into the future.

       178.   In addition, Defendants even selected and continue to retain multiple

passively managed index options in the same investment style. In contrast to an actively-

managed fund, in which the investment manager selects stocks or bonds in an attempt to

generate investment returns in excess of the fund’s benchmark, passively managed index

funds simply attempt to replicate a market index, such as the S&P 500, by holding a



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representative sample of securities in the index. Because no stock selection or research is

needed, index funds fees are much lower than the fees of actively-managed funds in the

same investment style, as set forth in ¶¶50–52, 187–194.

         179.   For example, in the large cap blend investment style, Defendants provided

up to fifteen separate index funds that have similar investment strategies designed to

generate investment results that correspond to the return of the U.S. equity market.

         180.   Since index funds merely hold the same securities in the same proportions

as the index,40 having multiple index funds of the same category or investment style in

the Plan provides no benefit to participants. Cf. Lewis Braham, Indexing Just Got

Cheaper, Barron’s (November 7, 2016)(quoting Morningstar CEO, Joe Mansueto, for the

principle that “[b]asic market indexes are virtually interchangeable”). Instead, it hurts

participants by diluting the Plan’s ability to obtain lower rates for a single index fund of

that style because the amount of assets in any one such fund is smaller than the aggregate

would be. Moreover, multiple managers holding stocks which mimic the S&P 500 or a

similar index would pick the same stocks in the same proportions as the index. Thus,

there is no value in offering separate index funds in the same investment style.

         181.   Had Defendants combined hundreds of millions of dollars in Plan assets

from duplicative index funds into a single index fund, as set forth in ¶175, the Plan would

have generated higher investment returns, net of fees, and participants would not have

lost millions of dollars of retirement assets.


 40
      Another example of an index is the Dow Jones Industrial Average.

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VI.        Defendants imprudently and disloyally retained historically
           underperforming Plan investments.

        182.   The Defendants’ failure to conduct appropriate due diligence in selecting

and monitoring the Plan’s investments resulted in options being retained in the Plan

despite years of historical underperformance compared to superior lower-cost

alternatives, causing massive losses to the Plan compared to what those assets would

have earned if invested in prudent alternatives.

        183.   The excessive fees in the Plan’s investments were not justified by superior

investment returns. Defendants’ failure to conduct appropriate due diligence in selecting

and monitoring the Plan’s investments resulted in options being retained in the Plan

despite years of historical underperformance compared to superior lower-cost

alternatives, which caused massive losses to the Plan compared to what those assets

would have earned if invested in prudent alternatives. As of September 30, 2016, forty

percent of the Plan’s investment options—140 of the 354 investment options in the

Plan—underperformed their respective benchmarks over the previous 5-year period.41

These underperforming funds include the following:




41
  These results are based on the performance and benchmark for each fund available for
download at: https://www.valic.com/valic/internet/us/en/Tier_1_Fee_Report_v1.xls,
https://www.valic.com/valic/internet/us/en/Tier_2_Fee_Report_v1.xls, and
https://www.valic.com/valic/internet/us/en/Tier_3_Fee_Report_v1.xls. For certain funds,
the “Russell 300 Index” was incorrectly listed as the benchmark. To correct this error, the
calculations herein used the “Russell 3000 Index” as disclosed in the annual participant
fee disclosures.

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                       Fund Name                Ticker Symbol
AM FDS Washington Mutual R5                     RWMFX
AMER FUNDS AMCAP R4                             RAFEX
AMERICAN CEN INFL-ADJ BOND INS                  AIANX
CREF Equity Index R3                            QCEQIX
CREF Inflation-Linked Bond R3                   TIILX
CREF Money Market R3                            QCMMIX
CREF Stock R3                                   QCSTIX
Deutsche CROCI Equity Dividend Instl            KDHIX
Deutsche Emerging Markets Equity Instl          SEKIX
Deutsche Enhanced Global Bond S                 SSTGX
Deutsche Global Income Builder Instl            KTRIX
Deutsche GNMA Institutional                     GIGGX
Deutsche Gold & Precious Metals Instl           SGDIX
Deutsche Large Cap Focus Growth Instl           SGGIX
Deutsche Latin America Equity S                 SLAFX
Deutsche Mid Cap Growth Institutional           BTEAX
Deutsche S&P 500 Index S                        SCPIX
DFA Emerging Markets I                          DFEMX
DREYFUS BOND MARKET INDEX                       DBIRX
Fidelity                                        FFDKX
Fidelity 500 Index Institutional                FXSIX
Fidelity Advisor Stock Sel All Cp               FSSKX
Fidelity Advisor Value Strategies               FVSKX
Fidelity Asset Manager 20%                      FASIX
Fidelity Asset Manager 30%                      FTANX
Fidelity Asset Manager 40%                      FFANX
Fidelity Asset Manager 50%                      FASMX
Fidelity Blue Chip Value                        FBCVX
Fidelity Canada                                 FICDX
Fidelity Capital Appreciation                   FCAKX
Fidelity Conservative Income Bond               FCONX
Fidelity Contrafund K                           FCNKX
Fidelity Disciplined Equity                     FDEKX
Fidelity Dividend Growth                        FDGKX

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                        Fund Name               Ticker Symbol
Fidelity EMEA                                   FEMEX

Fidelity Emerging Markets                       FKEMX

Fidelity Equity Dividend Income                 FETKX
Fidelity Equity-Income                          FEIKX
Fidelity Export and Multinational               FEXKX
Fidelity Extended Market Index Premium          FSEVX
Fidelity Focused Stock                          FTQGX
Fidelity Freedom K 2005                         FFKVX
Fidelity Freedom K 2010                         FFKCX
Fidelity Freedom K 2015                         FKVFX
Fidelity Freedom K Income                       FFKAX
Fidelity Global Balanced                        FGBLX
Fidelity Global Commodity Stock                 FFGCX
Fidelity Global Strategies                      FDYSX
Fidelity GNMA                                   FGMNX
Fidelity Government Income                      FGOVX
Fidelity Growth & Income                        FGIKX
Fidelity Growth Discovery                       FGDKX
Fidelity Growth Strategies                      FAGKX
Fidelity Independence                           FDFKX
Fidelity Inflation-Protected Bond               FINPX
Fidelity Intermediate Bond                      FTHRX
Fidelity Intermediate Government Income         FSTGX
Fidelity Intermediate Trs Bd Idx Prem           FIBAX
Fidelity Large Cap Core Enhanced Index          FLCEX
Fidelity Large Cap Growth Enhanced Idx          FLGEX
Fidelity Large Cap Value Enhanced Index         FLVEX
Fidelity Latin America                          FLATX
Fidelity Leveraged Company Stock                FLCKX
Fidelity Limited Term Government                FFXSX
Fidelity Low-Priced Stock                       FLPKX
Fidelity Magellan                               FMGKX


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                        Fund Name               Ticker Symbol
Fidelity Mega Cap Stock                         FGRTX
Fidelity Mid-Cap Stock                          FKMCX
Fidelity Mortgage Securities                    FMSFX
Fidelity New Millennium                         FMILX
Fidelity Select Energy                          FSENX
Fidelity Select Energy Service Port             FSESX
Fidelity Select Gold                            FSAGX
Fidelity Select Natural Gas                     FSNGX
Fidelity Select Natural Resources Port          FNARX
Fidelity Short-Term Bond                        FSHBX
Fidelity Short-Term Treasury Bd Idx Prm         FSBAX
Fidelity Small Cap Stock                        FSLCX
Fidelity Stk Selec Lg Cp Val                    FSLVX
Fidelity Stock Selector Mid Cap                 FSSMX
Fidelity Stock Selector Small Cap               FDSCX
Fidelity Strategic Real Return                  FSRRX
Fidelity Total Market Index Instl               FSKTX
Fidelity US Bond Index Institutional            FXSTX
Fidelity Value Discovery                        FVDKX
Lord Abbett Develop Grth Fd I                   LADYX
MFS Value R6                                    MEIKX
Oppenheimer Developing Markets Y                ODVYX
Prudential Jennison Growth Z                    PJFZX
Prudential Jennison Mid Cap Growth Z            PEGZX
RIDGEWORTH FDS LARGE CAP VAL                    STVTX
T. ROWE PRICE RTMT 2010                         TRRAX
T. ROWE PRICE RTMT BALANCED                     TRRIX
T.ROWE PRICE RET 2005                           TRRFX
TIAA-CREF Eq Index-Inst                         TIEIX
TIAA-CREF Gr & Inc-Inst                         TIGRX
TIAA-CREF Lfcyle Rtmt Inc-Inst                  TLRIX
TIAA-CREF Lg-Cap Val Idx-Inst                   TILVX
TIAA-CREF Lg-Cap Val-Inst                       TRLIX
TIAA-CREF Lifecycle 2010-Inst                   TCTIX

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                       Fund Name                   Ticker Symbol
TIAA-CREF Mid-Cap Gr-Inst                          TRPWX
TIAA-CREF Mid-Cap Val-Inst                         TIMVX
TIAA-CREF S&P 500 Idx-Inst                         TISPX
TIAA-CREF Sm-Cap Bl Idx-Inst                       TISBX
TIAA-CREF Social Ch Eq-Inst                        TISCX
VANGUARD 500 IDX ADM (offered by VALIC)            VFIAX
Vanguard 500 Index Fund Adm (offered by Vanguard   VFIAX
Vanguard Capital Value Fund                        VCVLX
Vanguard Diversified Equity Inv                    VDEQX
Vanguard Dividend Apprec Idx Inv                   VDAIX
Vanguard Dividend Growth Fund                      VDIGX
Vanguard Emerging Mkts Stk Idx Inv                 VEIEX
Vanguard Energy Fund Investor                      VGENX
Vanguard Equity Income Fund Inv                    VEIPX
Vanguard Explorer Fund Investor                    VEXPX
Vanguard Extended Mkt Index Inv                    VEXMX
Vanguard GNMA Fund Investor Shares                 VFIIX
Vanguard High Dividend Yld Idx Inv                 VHDYX
Vanguard Inflation-Protect Sec Inv                 VIPSX
Vanguard Inter-Term Treasury Inv                   VFITX
Vanguard Large-Cap Index Fund Inv                  VLACX
Vanguard LifeStrategy Consrv Grwth                 VSCGX
Vanguard LifeStrategy Income Fund                  VASIX
Vanguard Mid-Cap Growth Fund                       VMGRX
Vanguard Mid-Cap Growth Index Inv                  VMGIX
Vanguard Morgan Growth Fund Inv                    VMRGX
Vanguard Precious Metals & Mining                  VGPMX
Vanguard S-T Investment-Grade Inv                  VFSTX
Vanguard Selected Value Fund                       VASVX
Vanguard Short-Term Bond Index Inv                 VBISX
Vanguard Short-Term Federal Inv                    VSGBX
Vanguard Short-Term Treasury Inv                   VFISX
Vanguard Small-Cap Growth Idx Inv                  VISGX
Vanguard Target Retirement 2010                    VTENX

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                               Fund Name                        Ticker Symbol
   Vanguard Target Retirement Income                            VTINX
   Vanguard Total Bond Mkt Index Inv                            VBMFX
   Vanguard Total Stock Mkt Idx Inv                             VTSMX
   Vanguard Value Index Fund Inv                                VIVAX
   Vanguard Windsor Fund Investor                               VWNDX
   Vanguard Windsor II Fund Inv                                 VWNFX

       184.   Had Defendants conducted a prudent investment review process of all the

investment options in the Plan many of these options that consistently failed to meet

performance objectives would have been eliminated by the Defendants from the Plan or

replaced. The Defendants’ failure to do so—along with their admitted failure to monitor

over 300 investment options—caused the Plan substantial losses compared to prudent

alternative investments that were available to the Plan. Two funds in particular

demonstrate the severe harm to the Plan resulting from Defendants’ breaches of fiduciary

duties: the CREF Stock Account and TIAA Real Estate Account.

       A.     CREF Stock Account

       185.   TIAA-CREF imposed restrictive provisions on the specific annuities that

must be provided in the Plan. In its fund fact sheets and participant disclosures to the

Plan’s participants, TIAA-CREF classifies the CREF Stock Account as a domestic equity

investment in the large cap blend Morningstar category. For its benefit, TIAA-CREF

required that the CREF Stock Account be offered to Plan participants, in addition to the

TIAA Traditional Annuity and the CREF Money Market Account. Instead of controlling

each plan option allowed in the Plan, and acting for the sole benefit of the Plan’s



                                            105


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participants, as ERISA requires, the Defendants allowed TIAA-CREF to dictate that the

CREF Stock Account would be placed and retained in the Plan. They did so without a

prudent process to determine whether there were other prudent alternatives in the

exclusive best interest of Plan participants and beneficiaries. TIAA-CREF required the

CREF Stock Account to be included in the Plan to drive very substantial amounts of

revenue sharing payments to TIAA-CREF for recordkeeping services. The CREF Stock

Account paid 24 bps for revenue sharing, which exceeded other TIAA-CREF investments

by over 50% (15 bps).

       186.   The CREF Stock Account has excessive and unnecessary fees, has

consistently underperformed for years, and continues to underperform its benchmark

TIAA and Defendants told participants was the proper one, and underperformed lower-

cost actively and passively managed investments that were available to the Plan, yet has

not been removed from the Plan nor frozen to new investments. The CREF Stock

Account is one of the largest, by asset size, investment options in the Plan with over $300

million in assets, and has been included as an investment option from 2010 to date.

       187.   As understood in the investment community, passively managed

investment options should either be used or, at a minimum, thoroughly analyzed and

considered in efficient markets such as large capitalization U.S. stocks. This is because it

is difficult and either unheard of, or extremely unlikely, to find actively managed mutual

funds that outperform a passive index, net of fees, particularly on a persistent basis. This

extreme unlikelihood is even greater in the large cap market because such companies are


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the subject of many analysts’ coverage, while smaller stocks are not as widely covered by

analysts and thus are subject to potential inefficiencies in pricing.

          188.   Nobel Prize winners in economics have concluded that virtually no

investment manager consistently beats the market over time after fees are taken into

account. “Properly measured, the average actively managed dollar must underperform the

average passively managed dollar, net of costs.” William F. Sharpe, The Arithmetic of

Active Management, 47 FIN. ANALYSTS J. 7, 8 (Jan./Feb. 1991);42 Eugene F. Fama &

Kenneth R. French, Luck Versus Skill in the Cross-Section of Mutual Fund Returns, 65 J.

FIN. 1915, 1915 (2010)(“After costs . . . in terms of net returns to investors, active

investment must be a negative sum game.”).

          189.   To the extent fund managers show any sustainable ability to beat the

market, the outperformance is nearly always dwarfed by mutual fund expenses. Fama &

French, Luck Versus Skill in the Cross-Section of Mutual Fund Returns, at 1931–34; see

also Russ Wermers, Mutual Fund Performance: An Empirical Decomposition into Stock-

Picking Talent, Style, Transaction Costs, and Expenses, 55 J. FIN. 1655, 1690 (2000)

(“on a net-return level, the funds underperform broad market indexes by one percent per

year”).

          190.   If an individual high-cost mutual fund exhibits market-beating performance

over a short period of time, studies demonstrate that outperformance during a particular

period is not predictive of whether a mutual fund will perform well in the future. Laurent


 42
      Available at http://www.cfapubs.org/doi/pdf/10.2469/faj.v47.n1.7.

                                              107


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Barras et al., False Discoveries in Mutual Fund Performance: Measuring Luck in

Estimated Alphas, 65 J. FIN. 179, 181 (2010); Mark M. Carhart, On Persistence in

Mutual Fund Performance, 52 J. FIN. 57, 57, 59 (1997)(measuring thirty-one years of

mutual fund returns and concluding that “persistent differences in mutual fund expenses

and transaction costs explain almost all of the predictability in mutual fund returns”).

However, the worst-performing mutual funds show a strong, persistent tendency to

continue their poor performance. Carhart, On Persistence in Mutual Fund Performance,

at 57.

         191.   Accordingly, investment costs are of paramount importance to prudent

investment selection, and a prudent investor will not select higher-cost actively managed

funds unless there has been a documented process leading to the realistic conclusion that

the fund is likely to be that extremely rare exception, if one even exists, that will

outperform its benchmark over time, net of investment expenses.

         192.   Moreover, the efficiencies of the large cap market hinder an active

manager’s ability to achieve excess returns for investors.

         [T]his study of mutual funds does not provide any reason to abandon a belief that
         securities markets are remarkably efficient. Most investors would be considerably
         better off by purchasing a low expense index fund, than by trying to select an
         active fund manager who appears to possess a “hot hand.” Since active
         management generally fails to provide excess returns and tends to generate greater
         tax burdens for investors, the advantage of passive management holds, a fortiori.




                                             108


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Burton G. Malkiel, Returns from Investing in Equity Mutual Funds 1971 to 1991, 50 J.

FIN. 549, 571 (1995).43

         193.   Academic literature overwhelmingly concludes that active managers

consistently underperform the S&P 500 index.

         Active managers themselves provide perhaps the most persuasive case for passive
         investing. Dozens of studies have examined the performance of mutual funds and
         other professional-managed assets, and virtually all of them have concluded that,
         on average, active managers underperform passive benchmarks…The median
         active fund underperformed the passive index in 12 out of 18 years [for the large-
         cap fund universe]…The bottom line is that, over most periods, the majority of
         mutual fund investors would have been better off investing in an S&P 500 Index
         fund.

         ****

         Most of the dismal comparisons for active managers are for large-cap domestic
         managers versus the S&P 500 Index.

Robert C. Jones, The Active Versus Passive Debate: Perspectives of an Active Quant,
ACTIVE EQUITY PORTFOLIO MANAGEMENT, at 37, 40, 53 (Frank J. Fabozzi ed., 1998).

         194.   Prudent fiduciaries of large defined contribution plans must conduct an

analysis to determine whether actively managed funds, particularly large cap, will

outperform their benchmark net of fees. Prudent fiduciaries then make a reasoned

decision as to whether it is in participants’ best interest to offer an actively managed large

cap option for the particular investment style and asset class, in light of the higher costs

of active management.


 43
      Available at http://indeksirahastot.fi/resource/malkiel.pdf.

                                              109


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       195.   The Defendants failed to undertake such an analysis, or any analysis, when

it allowed the actively managed CREF Stock Account to be included and retained in the

Plan. This is particularly true given TIAA-CREF’s requirement that the CREF Stock

Account be provided in the Plan in order to drive revenue to TIAA-CREF. By allowing

the Plan to be bound by this requirement, the Defendants failed to conduct an

independent evaluation of the prudence of this option, which contradicts every principle

of prudent investing because an investment that was no longer prudent could not be

removed from the Plan.

       196.   Additionally, as detailed above, the 46 bps that the CREF Stock Account

charged was comprised of four layers of fees that were each unreasonable compared to

the actual services provided by TIAA-CREF to the Plan’s participants. Defendants failed

to analyze whether these fees were appropriate and reasonable in light of the services

provided and given that the Plan collectively invested over $300 million in the CREF

Stock Account.

       197.   Had the Defendants engaged in a prudent investment review and

monitoring process, they would have determined that the CREF Stock Account would not

be expected to outperform the large cap index after fees. That is in fact what occurred.

       198.   The CREF Stock Account did not merely experience poor performance in a

single year or two. Its historical performance has been persistently poor for many years

compared to both available lower-cost index funds and the Russell 3000 Index

benchmark, provided to the Plan’s participants as the appropriate benchmark in


                                            110


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participant communications.

         199.   The Defendants and TIAA-CREF identified the Russell 3000 Index as the

appropriate benchmark to evaluate the fund’s investment results, as shown in the excerpt

below that was provided to the Plan’s participants.44




         200.   The CREF Stock Account did not merely underperform in a single year or

two. Historical performance of the CREF Stock Account has been persistently poor for

many years compared to this identified benchmark index (Russell 3000 Index), and also

as compared to available low-cost index funds. Additionally, the Plan’s investment policy

statement (or IPS) specified the S&P 500 Index as the benchmark for U.S. Equity Large

Cap Blend investment options. The following chart compares the investment returns of

the CREF Stock Account to its benchmark (the Russell 3000) and two other passively

managed index funds in the same investment style for the one-, five-, and ten-year

periods ending December 31, 2014. The chart also compares the investment returns of the


44
     Available at https://www.valic.com/Images/TIAA_info_with_2060_fund.pdf


                                           111


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CREF Stock Account to the S&P 500 over the same period. For each comparison, the

CREF Stock Account dramatically underperformed the benchmarks and index

alternatives. The passively managed index funds used for comparison purposes are the

Vanguard Total Stock Market Index Fund (Instl Plus) (VITPX) and the Vanguard

Institutional Index (Instl Plus) (VIIIX). Like the CREF Stock Account, these options are

large cap blend investments.


                                  CREF Stock Account
                    One-, Five-, and Ten-Year Investment Returns
                              Compared to Benchmarks
                                      (as of Dec. 31, 2014)


                                            30% – 33%
                                           greater than
 17.00%             96% – 114%                CREF
                   greater than
 15.00%               CREF


 13.00%

 11.00%                                                               16% – 23%
                                                                     greater than
                                                                        CREF
  9.00%

  7.00%

  5.00%
                 1 Year                  5 Year                     10 Year
        CREF Stock Account         VITPX   VIIIX          Russell 3000   S&P 500


      201.   The CREF Stock Account, with an expense ratio of 46 bps as of December

31, 2014, was and is dramatically more expensive than far better performing index


                                           112


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alternatives: the Vanguard Total Stock Market Index Fund-Inst Plus (2 bps) and the

Vanguard Institutional Index-Inst Plus (2 bps).

       202.   Apart from underperforming passively managed index funds, the fund also

significantly underperformed comparable actively managed funds over the one-, five-,

and ten-year periods ending December 31, 2014. These large cap alternatives with similar

underlying asset allocations to the CREF Stock Account include the Vanguard

PRIMECAP-Adm (VPMAX) and the Vanguard Capital Opp.-Adm (VHCAX).

                             CREF Stock Account
               One-, Five-, and Ten- Year Investment Returns
                Compared to Actively Managed Benchmarks
                                  (as of Dec. 31, 2014)
                 194%–196%
                greater than
                CREF return
                                          34%–37%
 19%                                    greater than
                                        CREF return
 17%

 15%
                                                               54%–56%
 13%                                                         greater than
                                                             CREF return
 11%

  9%

  7%

  5%
               1 Year             5 Year                   10 Year
                  CREF Stock Account    VPMAX             VHCAX




                                            113


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        203.   This sustained underperformance went back even further. The CREF Stock

Account also had a long history of substantial underperformance compared to these

actively managed alternatives over the one-, five-, and ten-year periods ending December

31, 2009.45

                         CREF Stock Account
               One-Year Investment Returns Compared to
                    Actively Managed Benchmarks
                              (as of Dec. 31, 2009)




        50%                       8%–53%
                               greater than
        45%                    CREF return

        40%

        35%

        30%
                                  1 Year
                     CREF Stock Account           VPMAX     VHCAX




 45
    For the Vanguard PRIMECAP-Adm and Vanguard Capital Opportunity Fund-Adm,
the investment returns of the investor share class for ten-year performance were used
because the admiral share class for each of these funds was not offered until November
12, 2001. The return since inception for the Vanguard PRIMECAP-Adm was 3.23%, and
for the Vanguard Capital Opportunity Fund-Adm, 5.89%.

                                            114


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                        CREF Stock Account
             Five-Year Investment Returns Compared to
                   Actively Managed Benchmarks
                           (as of Dec. 31, 2009)
                                           174%–206%
                                          greater than
                                          CREF return
 6.00%
 5.00%
 4.00%
 3.00%
 2.00%
 1.00%
 0.00%
                             5 Year
               CREF Stock Account   VPMAX           VHCAX



                        CREF Stock Account
              Ten-Year Investment Returns Compared to
                   Actively Managed Benchmarks
                            (as of Dec. 31, 2009)

                                         3130%–5790%
                                         greater than
                                         CREF return


  6.00%
  5.00%
  4.00%
  3.00%
  2.00%
  1.00%
  0.00%
                            10 Year
               CREF Stock Account   VPMAX           VHCAX




                                  115


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        204.   Despite the consistent underperformance, the CREF Stock Account, with

an expense ratio of 46 bps as of December 31, 2014, was more expensive than better-

performing actively managed alternatives: the Vanguard PRIMECAP-Adm (35 bps) and

the Vanguard Capital Opp.-Adm (40 bps).

        205.   Besides this abysmal long-term underperformance of the CREF Stock

Account compared to both index funds and actively managed funds, the fund was

recognized as imprudent in the industry. In March 2012, an independent investment

consultant, AonHewitt, recognized the imprudence of the CREF Stock Account and

recommended to its clients they remove this fund from their retirement plan. AonHewitt,

TIAA-CREF Asset Management, INBRIEF, at 3 (July 2012).46 This recommendation was

made due to numerous factors, including the historical underperformance, high turnover

of asset management executives and portfolio managers, and the fund’s over 60 separate

underlying investment strategies, greatly reducing the fund’s ability to generate excess

returns over any substantial length of time. Id. at 4–5.

        206.   The Supreme Court has recently and unanimously ruled that ERISA

fiduciaries have “a continuing duty to monitor investments and remove imprudent

ones[.]” Tibble, 135 S. Ct. at 1829. In contrast to the conduct of prudent fiduciaries,

Defendants failed to conduct a prudent process to monitor the CREF Stock Account and

continue to retain the fund despite continuing to underperform lower-cost investment

alternatives that were readily available to the Plan.

 46
   Available at http://system.nevada.edu/Nshe/?LinkServID=82B25D1E-9128-6E45-
1094320FC2037740.

                                             116


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           207.   Prudent fiduciaries of defined contribution plans continuously monitor the

investment performance of plan options against applicable benchmarks and peer groups

to identify underperforming investments. Based on this process, prudent fiduciaries

replace those imprudent investments with better-performing and reasonably priced

options. Under the standards used by prudent independent fiduciaries, the CREF Stock

Account would have been removed from the Plan.

           208.   Had the Defendants removed the CREF Stock Account and the amounts

been invested in any of the actively managed lower-cost alternatives, or the passively

managed lower-cost alternatives, see ¶¶200 and 202, Plan participants would not have

lost in excess of $100 million of their retirement savings from the fund being retained in

the Plan.47

      B.      TIAA Real Estate Account

           209.   The Defendants selected and continue to offer the TIAA Real Estate

Account as one of the real estate investment options in the Plan. The fund has far greater

fees than are reasonable, has historically underperformed, and continues to consistently

underperform comparable real estate investment alternatives, including the Vanguard

REIT Index-Inst (VGSNX).




 47
    Plan losses have been brought forward to the present value using the investment
returns of the lower-cost alternatives to compensate participants who have not been
reimbursed for their losses.

                                               117


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        210.   With an expense ratio of 87 bps as of December 31, 2014, the TIAA Real

Estate Account is also over 10 times more expensive than the Vanguard REIT Index-Inst

with an expense ratio of 8 bps.

                          TIAA Real Estate Account
             Expense Ratio Compared to REIT Index Fund (VGSNX)
                              87 bps

        90                                     TIAA Expense 988% Higher
                                               than REIT Index Fund
        80
        70
        60
        50
        40
        30                                                       8 bps
        20
        10
         0
                  TIAA Real Estate                    VGSNX
 Basis Points
                      Account
    (bps)



        211.   This underperformance occurred for years before 2009 and has continued

after 2009. The TIAA Real Estate Account significantly underperformed the Vanguard

REIT Index over the one-, five-, and ten-year periods ending December 31, 2009.48

Despite this, Defendants selected and retained it in the Plan.



 48
    The return of the investor share class was used for ten-year performance because the
institutional share class was not offered until December 2, 2003. The return since
inception for the Vanguard REIT Index-Inst was 5.49%.

                                            118


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                    TIAA Real Estate Account
             One-Year Investment Returns Compared to
                    REIT Index Fund (VGSNX)
                         (as of Dec. 31, 2009)
                                                    208%
                                                  greater
      40%                                        than TIAA
                                                   return
      30%
      20%
      10%
       0%
     -10%
     -20%
     -30%
     -40%
                                  1 Year
                  TIAA Real Estate Account         VGSNX


                   TIAA Real Estate Account
           Five-Year Investment Returns Compared to
                   REIT Index Fund (VGSNX)
                        (as of Dec. 31, 2009) 143%
                                             greater
                                            than TIAA
     1.00%
                                              return
     0.50%

     0.00%

    -0.50%

    -1.00%

    -1.50%

    -2.00%
                                    5 Year
                  TIAA Real Estate Account         VGSNX




                                   119


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                       TIAA Real Estate Account
                Ten-Year Investment Returns Compared to
                       REIT Index Fund (VGSNX)
                                (as of Dec. 31, 2009)
                                                     239%
                                                   greater
                                                  than TIAA
                                                    return
               12%
               10%
                8%
                6%
                4%
                2%
                                    10 Year
                        TIAA Real Estate Account        VGSNX


      212.   This underperformance continued after 2009. The TIAA Real Estate

Account significantly underperformed the Vanguard REIT Index-Inst over the one-, five-,

and ten-year periods ending December 31, 2014.




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                          TIAA Real Estate Account
                One-, Five-, and Ten-Year Investment Returns
                  Compared to REIT Index Fund (VGSNX)
                                  (as of Dec. 31, 2014)

                    148% greater
                     than TIAA
                       return


      29%

                                             46% greater
      24%                                     than TIAA
                                                return
      19%
                                                                  79% greater
                                                                   than TIAA
      14%                                                            return

       9%

       4%
                    1 Year                5 Year               10 Year
                        TIAA Real Estate Account          VGSNX


      213.   As the Supreme Court unanimously ruled in Tibble, prudent fiduciaries of

defined contribution plans continuously monitor plan investment options and replace

imprudent investments. Tibble, 135 S. Ct. at 1829. In contrast, Defendants failed to

conduct such a process and continue to retain the TIAA Real Estate Account as a Plan

investment option, despite its continued dramatic underperformance and far higher cost

compared to available investment alternatives.

      214.   Had the amounts invested in the TIAA Real Estate Account instead been

invested in the lower-cost and better-performing Vanguard REIT Index-Inst, Plan


                                            121


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participants would not have lost in excess of $22 million of their retirement savings from

the fund being retained in the Plan.49

VII.         The Defendants’ retention of the CREF Stock Account also violated the
             Plan’s Investment Policy Statement.

          215.   Defendants developed an IPS governing the selection, monitoring, and

removal of Plan investment options. This governing Plan document established specific

criteria when an investment option shall be terminated from the Plan, which included the

following non-exclusive reasons:

        Significant underperformance relative to the fund's benchmark and peer group.
        Acceptance of significantly more risk than the fund's benchmark index.
        Change or loss of key personnel, such as a fund manager and those servicing the
         account.
        Significant change, increase, or loss of assets under management.
        Evidence that actual portfolio characteristics do not follow published investing
         style.
        Performance patterns not logically explainable in terms of the published style, or
         performance out-of-step with a manager’s style peer group, particularly (but not
         exclusively) if resulting in under performance or excessive volatility.

          216.   Moreover, the IPS specifically mandated specific investment performance

for retention in the Plan.

          All actively managed funds are expected to outperform the market
          benchmark and provide above median results relative to its peer group over
          the majority of observable cumulative and rolling three-year periods.




  49
    Plan losses have been brought forward to the present value using the investment
returns of the Vanguard REIT Index-Inst to compensate participants who have not been
reimbursed for their losses.

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       217.   Despite the criteria set forth in the IPS, the CREF Stock Account

consistently violated these mandatory terms, yet the Defendants have never removed the

option from the Plan.

       218.   For instance, the CREF Stock Account has significantly underperformed its

benchmark and peer group. Beginning in September 30, 2011, the CREF Stock Account

ranked below the median of its Morningstar peer group based on one-year return, and

between September 30, 2011 and December 31, 2015, the fund performed below the

median of its peer group for 14 out of 18 quarters. Starting September 30, 2012, the fund

performed below the median of its peer group based on three-year total returns. Between

September 30, 2012 and December 31, 2015, the fund performed below the median of its

peer group based on three-year returns for 12 of 14 quarters, including 11 consecutive

quarters ending December 31, 2015. By June 30, 2015, the fund performed below its peer

group based on five-year returns, and for 6 consecutive quarters ending December 31,

2015. As graphically illustrated above, the fund has significantly underperformed its IPS

benchmark and prudent alternatives that were readily available to the Plan. See supra

¶¶200–203.

       219.   The CREF Stock Account has clearly not met the IPS’s expected

performance criteria of outperforming the market benchmark and providing above

median results compared to its peer group “over the majority of observable cumulative

and rolling three-year periods.”




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         220.   In addition, significant changes in key personnel have impacted the fund.

As noted by an independent investment consultant, the firm “has had material turnover

with significant shuffling every few years among the executive and portfolio manager

ranks.” 50 In January 2012, TIAA-CREF announced the departure of Scott Evans, the

president of the asset management group. In November 2011, TIAA-CREF announced

the retirement of the Chief Investment Officer and change of the head of public markets

and fixed income.

         221.   The CREF Stock Account has also incurred significantly more risk,

contrary to the terms of the IPS. Developed by Nobel Laureate William Sharpe, the

Sharpe ratio is a risk-adjusted return measure that is “designed to measure the expected

return per unit of risk[.]”51 The higher the fund’s Sharpe ratio, the better its returns have

been relative to the risk it has assumed. Between March 31, 2012 and December 31,

2015, the CREF Stock Account had a Sharpe ratio below (lower) than the median of its

peer group for 15 out of 16 quarters, including 12 consecutive quarters. Therefore, the

fund has experienced consistently lower risk-adjusted performance compared to its peer

group.

         222.   Finally, as demonstrated by the dramatic underperformance compared to

large cap blend benchmarks and indices, the CREF Stock Account has not followed its

published large cap blend investment style and its performance has been “out-of-step”


 50
    See AonHewitt, TIAA-CREF Asset Management, at 4.
 51
    See William F. Sharpe, The Sharpe Ratio, J. PORTFOLIO MGMT (Fall 1994), available
at https://web.stanford.edu/~wfsharpe/art/sr/sr.htm.

                                             124


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with its peer group. Again, the CREF Stock Account has violated these provisions of the

IPS.

       223.   Despite numerous violations of specific criteria set forth in the Plan’s IPS,

the Defendants failed to take appropriate action and remove the CREF Stock Account to

prevent any further losses to Plan participants’ retirement savings.

                           CLASS ACTION ALLEGATIONS

       224.   29 U.S.C. §1132(a)(2) authorizes any participant or beneficiary of the Plan

to bring an action individually on behalf of the Plan to enforce a breaching fiduciary’s

liability to the Plan under 29 U.S.C. §1109(a).

       225.   In acting in this representative capacity and to enhance the due process

protections of unnamed participants and beneficiaries of the Plan, as an alternative to

direct individual actions on behalf of the Plan under 29 U.S.C. §1132(a)(2), Plaintiffs

seek to certify this action as a class action on behalf of all participants and beneficiaries

of the Plan. Plaintiffs seek to certify, and to be appointed as representatives of, the

following class:

       All participants and beneficiaries of the Duke Faculty and Staff Retirement
       Plan from August 10, 2010, through the date of judgment, excluding the
       Defendants.

       226.   This action meets the requirements of Rule 23 and is certifiable as a class

          action for the following reasons:

              a.      The Class includes over 20,000 members and is so large that joinder

       of all its members is impracticable.


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         b.     There are questions of law and fact common to this Class because

  Defendants owed fiduciary duties to the Plan and to all participants and

  beneficiaries and took the actions and omissions alleged herein as to the Plan and

  not as to any individual participant. Thus, common questions of law and fact

  include the following, without limitation: who are the fiduciaries liable for the

  remedies provided by 29 U.S.C. §1109(a); whether the fiduciaries of the Plan

  breached their fiduciary duties to the Plan; what are the losses to the Plan resulting

  from each breach of fiduciary duty; and what Plan-wide equitable and other relief

  the court should impose in light of Defendants’ breach of duty.

         c.     Plaintiffs’ claims are typical of the claims of the Class because each

  Plaintiff was a participant during the time period at issue in this action and all

  participants in the Plan were harmed by Defendants’ misconduct described above.

         d.     Plaintiffs are adequate representatives of the Class because they

  were participants in the Plan during the Class period, have no interest that is in

  conflict with the Class, are committed to the vigorous representation of the Class,

  and have engaged experienced and competent attorneys to represent the Class.

         e.     Prosecution of separate actions for these breaches of fiduciary duties

  by individual participants and beneficiaries would create the risk of (A)

  inconsistent or varying adjudications that would establish incompatible standards

  of conduct for Defendants in respect to the discharge of their fiduciary duties to

  the Plan and personal liability to the Plan under 29 U.S.C. §1109(a), and (B)


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       adjudications by individual participants and beneficiaries regarding these breaches

       of fiduciary duties and remedies for the Plan would, as a practical matter, be

       dispositive of the interests of the participants and beneficiaries not parties to the

       adjudication or would substantially impair or impede those participants’ and

       beneficiaries’ ability to protect their interests. Therefore, this action should be

       certified as a class action under Rule 23(b)(1)(A) or (B).

       227.   A class action is the superior method for the fair and efficient adjudication

of this controversy because joinder of all participants and beneficiaries is impracticable,

the losses suffered by individual participants and beneficiaries may be small and

impracticable for individual members to enforce their rights through individual actions,

and the common questions of law and fact predominate over individual questions. Given

the nature of the allegations, no class member has an interest in individually controlling

the prosecution of this matter, and Plaintiffs are aware of no difficulties likely to be

encountered in the management of this matter as a class action. Alternatively, then, this

action may be certified as a class under Rule 23(b)(3) if it is not certified under Rule

23(b)(1)(A) or (B).

       228.   Plaintiffs’ counsel, Schlichter, Bogard & Denton LLP, will fairly and

adequately represent the interests of the Class and is best able to represent the interests of

the Class under Rule 23(g).

              a.      Schlichter, Bogard & Denton has been appointed as class counsel in

       17 other ERISA class actions regarding excessive fees in large defined


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  contribution plans. As Chief Judge Michael J. Reagan of the Southern District of

  Illinois recognized in approving a settlement which was reached on the eve of trial

  after eight years of litigation, resulting in a $62 million monetary recovery and

  very substantial affirmative relief to benefit the Plans, the firm had shown

  “exceptional commitment and perseverance in representing employees and retirees

  seeking to improve their retirement plans,” and “demonstrated its well-earned

  reputation as a pioneer and the leader in the field” of 401(k) plan excessive fee

  litigation. Abbott v. Lockheed Martin Corp., No. 06-701, 2015 U.S.Dist.LEXIS

  93206, at *4–5 (S.D.Ill. July 17, 2015). In that same case, Judge Reagan

  recognized that the law firm of “Schlichter, Bogard & Denton has had a

  humungous impact over the entire 401(k) industry, which has benefited employees

  and retirees throughout the entire country by bringing sweeping changes to

  fiduciary practices.” Abbott, 2015 U.S. Dist. LEXIS 93206, at *9 (internal

  quotations omitted).

         b.     Other courts have made similar findings: “It is clear to the Court that

  the firm of Schlichter, Bogard & Denton is preeminent in the field” “and is the

  only firm which has invested such massive resources in this area.” George v. Kraft

  Foods Global, Inc., No. 08-3799, 2012 U.S.Dist.LEXIS 166816 at 8 (N.D. Ill.

  June 26, 2012).

         c.     “As the preeminent firm in 401(k) fee litigation, Schlichter, Bogard

  & Denton has achieved unparalleled results on behalf of its clients.” Nolte v.


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  Cigna Corp., No. 07-2046, 2013 U.S.Dist.LEXIS 184622 at 8 (C.D. Ill. Oct. 15,

  2013).

           d.   “Litigating this case against formidable defendants and their

  sophisticated attorneys required Class Counsel to demonstrate extraordinary skill

  and determination.” Beesley v. Int’l Paper Co., No. 06-703, 2014 U.S.Dist.LEXIS

  12037 at *8 (S.D. Ill. Jan. 31, 2014). The court also emphasized that “the law firm

  of Schlichter, Bogard & Denton is the leader in 401(k) fee litigation.” Id. at *8

  (internal quotations omitted).

           e.   U.S. District Court Judge Baker acknowledged the significant

  impact of the firm’s work by stating that as of 2013 the nationwide “fee reduction

  attributed to Schlichter, Bogard & Denton’s fee litigation and the Department of

  Labor’s fee disclosure regulations approach $2.8 billion in annual savings for

  American workers and retirees.” Nolte, 2013 U.S. Dist. LEXIS 184622, at *6

  (emphasis added).

           f.   U.S. District Judge Herndon of the Southern District of Illinois,

  recognized the firm’s extraordinary contributions to the retirement industry:

  “Schlichter, Bogard & Denton and lead attorney Jerome Schlichter’s diligence and

  perseverance, while risking vast amounts of time and money, reflect the finest

  attributes of a private attorney general...” Beesley, 2014 U.S. Dist. LEXIS 12037,

  at *8.




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         g.     The U.S. District Court Judge G. Patrick Murphy recognized the

  work of Schlichter, Bogard & Denton as exceptional:

                “Schlichter, Bogard & Denton’s work throughout this
                litigation illustrates an exceptional example of a private
                attorney general risking large sums of money and investing
                many thousands of hours for the benefit of employees and
                retirees. No case had previously been brought by either the
                Department of Labor or private attorneys against large
                employers for excessive fees in a 401(k) plan. Class Counsel
                performed substantial work … investigating the facts,
                examining documents, and consulting and paying experts to
                determine whether it was viable. This case has been pending
                since September 11, 2006. Litigating the case required Class
                Counsel to be of the highest caliber and committed to the
                interests of the participants and beneficiaries of the General
                Dynamics 401(k) Plans.”

  Will v. General Dynamics Corp., No. 06-698, 2010 U.S.Dist.LEXIS 123349 at 8–

  9 (S.D.Ill. Nov. 22, 2010).

         h.     Schlichter, Bogard & Denton handled the only full trial of an ERISA

  excessive fee case, resulting in a $36.9 million judgment for the plaintiffs that was

  affirmed in part by the Eighth Circuit. Tussey v. ABB, Inc., 746 F.3d 327 (8th Cir.

  2014). In awarding attorney’s fees after trial, the district court concluded that

  “Plaintiffs’ attorneys are clearly experts in ERISA litigation.” Tussey v. ABB, Inc.,

  No. 06-4305, 2012 U.S.Dist.LEXIS 157428 at 10 (W.D. Mo. Nov. 2, 2012).

  Following remand, the district court again awarded Plaintiffs’ attorney’s fees,

  emphasizing the significant contribution Plaintiffs’ attorneys have made to ERISA

  litigation, including educating the Department of Labor and federal courts about

  the importance of monitoring fees in retirement plans:

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                “Of special importance is the significant, national contribution made
                by the Plaintiffs whose litigation clarified ERISA standards in the
                context of investment fees. The litigation educated plan
                administrators, the Department of Labor, the courts and retirement
                plan participants about the importance of monitoring recordkeeping
                fees and separating a fiduciary’s corporate interest from its fiduciary
                obligations.”

    Tussey v. ABB, Inc., No. 06-4305, 2015 U.S.Dist.LEXIS 164818 at 7–8 (W.D.

    Mo. Dec. 9, 2015).

         i.     In Spano v. Boeing Co., in approving a settlement reached after nine

  years of litigation which included $57 million in monetary relief and substantial

  affirmative relief to benefit participants, the court found that “[t]he law firm

  Schlichter, Bogard & Denton has significantly improved 401(k) plans across the

  country by bringing cases such as this one, which have educated plan

  administrators, the Department of Labor, the courts and retirement plan

  participants about the importance of monitoring recordkeeping fees.” No. 06-cv-

  743, Doc. 587, at 5–6 (S.D.Ill. Mar. 31, 2016) (Rosenstengel, J.) (internal

  quotations omitted).

         j.     Recently, in approving a settlement including $32 million plus

  significant affirmative relief, Chief Judge William Osteen in Kruger v. Novant

  Health, Inc., No. 14-208, Doc. 61, at 7–8 (M.D.N.C. Sept. 29, 2016) found that

  “Class Counsel’s efforts have not only resulted in a significant monetary award to

  the class but have also brought improvement to the manner in which the Plans are




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  operated and managed which will result in participants and retirees receiving

  significant savings[.]”

         k.     On November 3, 2016, Judge Michael Ponsor of the United States

  District Court for the District of Massachusetts found that by securing a $30.9

  million settlement, Schlichter, Bogard & Denton had achieved an “outstanding

  result for the class,” and “demonstrated extraordinary resourcefulness, skill,

  efficiency and determination.” Gordan v. Mass Mutual Life Ins., Co., No. 14-

  30184, Doc. 144 at 5 (D. Mass. November 3, 2016).

         l.     Schlichter, Bogard & Denton is also class counsel in and handled

  Tibble v. Edison International—the first and only Supreme Court case to address

  the issue of excessive fees in a defined contribution plan—in which the Court held

  in a unanimous 9–0 decision that ERISA fiduciaries have “a continuing duty to

  monitor investments and remove imprudent ones[.]” 135 S. Ct. at 1829. Schlichter,

  Bogard & Denton successfully petitioned for a writ of certiorari, and obtained

  amicus support from the United States Solicitor General and AARP, among

  others. Given the Court’s broad recognition of an ongoing fiduciary duty, the

  Tibble decision will affect all ERISA defined contribution plans.

         m.     The firm’s work in ERISA excessive fee class actions has been

  featured in the New York Times, Wall Street Journal, NPR, Reuters, and

  Bloomberg, among other media outlets. See, e.g., Anne Tergesen, 401(k) Fees,




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        Already Low, Are Heading Lower, WALL ST. J. (May 15, 2016);52 Gretchen

        Morgenson, A Lone Ranger of the 401(k)’s, N.Y. TIMES (Mar. 29, 2014);53 Liz

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        Floyd Norris, What a 401(k) Plan Really Owes Employees, N.Y. TIMES (Oct. 16,

        2014);55 Sara Randazzo, Plaintiffs’ Lawyer Takes on Retirement Plans, WALL ST.

        J. (Aug. 25, 2015);56 Jess Bravin and Liz Moyer, High Court Ruling Adds

        Protections for Investors in 401(k) Plans, WALL ST. J. (May 18, 2015); 57 Jim

        Zarroli, Lockheed Martin Case Puts 401(k) Plans on Trial, NPR (Dec. 15, 2014);58

        Mark Miller, Are 401(k) Fees Too High? The High-Court May Have an Opinion,

        REUTERS (May 1, 2014);59 Greg Stohr, 401(k) Fees at Issue as Court Takes Edison

        Worker Appeal, BLOOMBERG (Oct. 2, 2014).60



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issue-as-court-takes-edison-worker-appeal.

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                                        COUNT III

              Breach of Fiduciary Duties—29 U.S.C. §1104(a)(1)(A) & (B)

                           Unreasonable Administrative Fees

       229.   Plaintiffs restate and incorporate the allegations in the preceding

paragraphs.

       230.   Defendants were required to discharge their duties with respect to the Plan

solely in the interest of, and for the exclusive purpose of providing benefits to Plan

participants and beneficiaries, defraying reasonable expenses of administering the Plan,

and acting with the care, skill, prudence, and diligence required by ERISA.

       231.   If a defined contribution plan overpays for recordkeeping services due to

the fiduciaries’ “failure to solicit bids” from other recordkeepers, the fiduciaries have

breached their duty of prudence. See George, 641 F.3d at 798–99. Similarly, failing to

“monitor and control recordkeeping fees” and “paying excessive revenue sharing” as a

result of failures to “calculate the amount the Plan was paying … through revenue

sharing,” to “determine whether [the recordkeeper’s] pricing was competitive,” and to

“leverage the Plan's size to reduce fees,” while allowing the “revenue sharing to benefit”

a third-party recordkeeper “at the Plan’s expense,” is a breach of fiduciary duties. Tussey,

746 F.3d at 336.

       232.   Defendants’ process for monitoring and controlling the Plan’s

recordkeeping fees was a fiduciary breach in that Defendants failed to: monitor the

amount of the revenue sharing received by the Plan’s recordkeepers, determine if those



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amounts were competitive or reasonable for the services provided to the Plan, or use the

Plan’s size to reduce fees or obtain sufficient rebates to the Plan for the excessive fees

paid by participants. Moreover, Defendants failed to solicit bids from competing

providers on a flat per-participant fee basis. As the Plan’s assets grew, the asset-based

revenue sharing payments to the Plan’s recordkeepers grew, even though the services

provided by the recordkeepers remained the same. This caused the recordkeeping

compensation paid to the recordkeepers to exceed a reasonable fee for the services

provided. This conduct was a breach of fiduciary duties.

       233.   The Defendants also failed to account for the fact that TIAA-CREF,

Fidelity, VALIC, and Vanguard used their position as recordkeepers to obtain access to

participants, gaining valuable information including participants’ contact information,

their choices of investments, the size of their accounts, their employment status, and their

age among other things. The Defendants allowed these service providers to then use this

information to sell lucrative products to plan participants as they neared retirement age

without receiving any compensation for the use of this valuable, personal information.

This information was even more lucrative for the service providers because the

Defendants are using these service providers as recordkeepers and are offering their

products in the Plan to participants.

       234.   By allowing TIAA-CREF, Fidelity, VALIC, and Vanguard to put their

proprietary investments in the Plan without scrutinizing those providers’ financial interest

in using funds that provided them a steady stream of revenue sharing payments, the


                                             135


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Defendants failed to act in the exclusive interest of participants.

       235.   In contrast to the comprehensive plan reviews conducted by similarly

situated 403(b) plan fiduciaries which resulted in consolidation to a single recordkeeper

and significant fee reductions, the Defendants failed to engage in a timely and reasoned

decision-making process to determine whether the Plan would similarly benefit from

consolidating the Plan’s administrative and recordkeeping services under a single

provider. Instead, The Defendants continue to contract with four separate recordkeepers.

This failure to consolidate the recordkeeping services eliminated the Plan’s ability to

obtain the same services at a lower cost with a single recordkeeper. The Defendants’

failure to “balance the relevant factors and make a reasoned decision as to the preferred

course of action—under circumstances in which a prudent fiduciary would have done

so”—and, indeed, did so—was a breach of fiduciary duty. George, 641 F.3d at 788.

       236.   Total losses to the Plan will be determined after complete discovery in this

case and are continuing.

       237.   The Defendants are personally liable under 29 U.S.C. §1109(a) to make

good to the Plan any losses to the Plan resulting from the breaches of fiduciary duties

alleged in this Count and is subject to other equitable or remedial relief as appropriate.

       238.   Each Defendant knowingly participated in the breach of the other

Defendants, knowing that such acts were a breach, enabled the other Defendants to

commit a breach by failing to lawfully discharge its own fiduciary duties, knew of the

breach by the other Defendants and failed to make any reasonable effort under the


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circumstances to remedy the breach. Thus, each Defendant is liable for the losses caused

by the breach of its co-fiduciary under 29 U.S.C. §1105(a).

                                       COUNT IV

                    Prohibited transactions—29 U.S.C. §1106(a)(1)

                           Administrative Services and Fees

       239.   Plaintiffs restate and incorporate the allegations contained in the preceding

paragraphs.

       240.   As service providers to the Plan, TIAA-CREF, Fidelity, VALIC, and

Vanguard are parties in interest. 29 U.S.C. §1002(14)(B).

       241.   By causing the Plan to use TIAA-CREF, Fidelity, VALIC, and Vanguard as

the Plan’s recordkeepers from year to year, Defendants caused the Plan to engage in

transactions that Defendants knew or should have known constituted an exchange of

property between the Plan and TIAA-CREF, Fidelity, VALIC, and Vanguard prohibited

by 29 U.S.C. §1106(a)(1)(A), a direct or indirect furnishing of services between the Plan

and TIAA-CREF, Fidelity, VALIC, and Vanguard prohibited by 29 U.S.C.

§1106(a)(1)(C), and a transfer of Plan assets to, or use by or for the benefit of TIAA-

CREF, Fidelity, VALIC, and Vanguard prohibited by 29 U.S.C. §1106(a)(1)(D). These

transactions occurred each time the Plan paid fees to TIAA-CREF, Fidelity, VALIC, and

Vanguard and in connection with the Plan’s investments in funds that paid revenue

sharing to TIAA-CREF, Fidelity, VALIC, and Vanguard.

       242.   Moreover, by allowing TIAA-CREF, Fidelity, VALIC, and Vanguard to



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exploit their positions as recordkeepers to glean valuable information about the Plan’s

participants and to use that information to market and sell lucrative financial products to

the Plan’s participants outside of their investments already in the Plan, the Defendants

caused the Plan to engage in transactions that they knew or should have known

constituted an exchange of property between the Plan and TIAA-CREF, Fidelity, VALIC,

and Vanguard prohibited by 29 U.S.C. §1106(a)(1)(A), a direct or indirect furnishing of

services between the Plan and TIAA-CREF, Fidelity, VALIC, and Vanguard, and a

transfer of Plan assets to TIAA-CREF, Fidelity, VALIC, and Vanguard prohibited by 29

U.S.C. §1106(a)(1)(D). These transactions occurred each time these entities harvested

information from the Plan’s records or used the Plan’s participant information to sell

outside retirement products and wealth management services to the Plan’s participants.

       243.   Under 29 U.S.C. §1109(a), the Defendants are liable to restore all losses to

the Plan resulting from these prohibited transactions, and to provide restitution of all

proceeds from these prohibited transactions, and are subject to other appropriate equitable

or remedial relief.

       244.   Each Defendant knowingly participated in these transactions, enabled the

other Defendants to cause the Plan to engage in these transactions, and knew of these

transactions and failed to make any reasonable effort under the circumstances to remedy

or discontinue the transaction. Thus, under 29 U.S.C. §1105(a), each Defendant is liable

for restoring all proceeds and losses attributable to these transactions.




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                                        COUNT V

              Breach of Fiduciary Duties—29 U.S.C. §1104(a)(1)(A) & (B)

     Unreasonable Investment Management Fees, Unnecessary Marketing and
          Distribution (12b-1) Fees and Mortality and Expense Risk Fees, and
                                  Performance Losses

       245.   Plaintiffs restate and incorporate the allegations contained in the preceding

paragraphs.

       246.   The Defendants are responsible for selecting prudent investment options,

ensuring that those options charge only reasonable fees, and taking any other necessary

steps to ensure that the Plan’s assets are invested prudently. The Defendants had a

continuing duty to evaluate and monitor the Plan’s investments on an ongoing basis and

to “remove imprudent ones” regardless of how long a fund has been in the plan. Tibble,

135 S. Ct. at 1829.

       247.   These duties required the Defendants to independently assess whether each

option was a prudent choice for the Plan, and not simply to follow the recordkeepers’

fund choices or to allow the recordkeepers to put their entire investment lineups in the

Plan’s menus. DiFelice, 497 F.3d at 423; see Braden v. Wal-Mart Stores, Inc., 588 F.3d

585, 590, 595–96 (8th Cir. 2009).

       248.   In making investment decisions, the Defendants were required to consider

all relevant factors under the circumstances, including without limitation alternative

investments that were available to the Plan, the recordkeepers’ financial interest in having

their proprietary investment products included in the Plan, and whether the higher cost of



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actively managed funds was justified by a realistic expectation of higher returns. Braden,

588 F.3d at 595–96; Tatum v. RJR Pension Inv. Comm., 761 F.3d 346, 360 (4th Cir.

2014); 29 C.F.R. § 2550.404a-1(b); Restatement (Third) of Trusts ch. 17, intro. note; id. §

90 cmt. h(2).

       249.     The Defendants selected and retained for years as Plan investment options

mutual funds and insurance company variable annuities with high expenses and poor

performance relative to other investment options that were readily available to the Plan at

all relevant times.

       250.     Many of these options included unnecessary layers of fees that provided no

benefit to participants but significant benefits to TIAA-CREF, including marketing and

distribution (12b-1) fees and “mortality and expense risk” fees.

       251.     Rather than consolidating the Plan’s over 400 investment options into a

core lineup in which prudent investments were selected for a given asset class and

investment style, as is the case with most defined contribution plans, the Defendants

retained multiple investment options in each asset class and investment style, thereby

depriving the Plan of its ability to qualify for lower cost share classes of certain

investments, while violating the well-known principle for fiduciaries that such a high

number of investment options causes participant confusion and inaction. In addition, as a

fiduciary required to operate as a prudent financial expert, Katsaros, 744 F.2d at 279. The

Defendants knew or should have known that providing numerous actively managed

duplicative funds in the same investment style would produce a “shadow index” return


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before accounting for much higher fees than index fund fees, thereby resulting in

significant underperformance. The Plan’s investment offerings included the use of mutual

funds and variable annuities with retail expense ratios far in excess of other lower-cost

options available to the Plan. These lower-cost options included lower-cost share class

mutual funds with the identical investment manager and investments, lower-cost

insurance company variable annuities and insurance company pooled separate accounts.

A large majority of the Plan’s options were the recordkeepers’ own proprietary

investments. Thus, the use of these funds was tainted by the recordkeepers’ financial

interest in including these funds in the Plan, which Defendants failed to consider. In so

doing, Defendants failed to make investment decisions based solely on the merits of the

investment funds and what was in the interest of participants. Defendants therefore failed

to discharge its duties with respect to the Plan solely in the interest of the participants and

beneficiaries and for the exclusive purpose of providing benefits to participants and their

beneficiaries and defraying reasonable expenses of administering the Plan. This was a

breach of fiduciary duties.

       252.   The Defendants failed to engage in a prudent process for monitoring the

Plan’s investments and removing imprudent ones within a reasonable period. This

resulted in the Plan continuing to offer excessively expensive funds with inferior

historical performance compared to superior low-cost alternatives that were available to

the Plan. As of September 30, 2016, forty percent of the Plan’s investment options—140

of the 354 investment options in the Plan—underperformed their respective benchmarks


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over the previous 5-year period.

       253.   CREF Stock Account: Defendants included and retained the CREF Stock

Account despite its excessive cost and historical underperformance compared to both

passively managed investments and actively managed investments of the benchmark, the

Russell 3000 Index, which Defendants and TIAA told participants was the appropriate

benchmark.

       254.   TIAA Real Estate Account: Defendants included and retained the TIAA

Real Estate Account despite its excessive fees and historical underperformance compared

to lower-cost real estate investments.

       255.   Had Defendants engaged in a prudent investment review process, they

would have concluded that these options were causing the Plan to lose tens of millions of

dollars of participants’ retirement savings in excessive and unreasonable fees and

underperformance relative to prudent investment options available to the Plan, and thus

should be removed from the Plan or, at a minimum, frozen to new investments.

       256.   Total losses to the Plan will be determined after complete discovery in this

case and are continuing.

       257.   The Defendants are personally liable under 29 U.S.C. §1109(a) to make

good to the Plan any losses to the Plan resulting from the breaches of fiduciary duties

alleged in this Count and is subject to other equitable or remedial relief as appropriate.

       258.   Each Defendant knowingly participated in the breach of the other

Defendants, knowing that such acts were a breach, enabled the other Defendants to


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commit a breach by failing to lawfully discharge its own fiduciary duties, knew of the

breach by the other Defendants and failed to make any reasonable effort under the

circumstances to remedy the breach. Thus, each Defendant is liable for the losses caused

by the breach of its co-fiduciary under 29 U.S.C. §1105(a).

                                       COUNT VII

                Breach of Fiduciary Duties—29 U.S.C. §1104(a)(1)(D)

       Violation of Plan Investment Policy Statement—CREF Stock Account

       259.   Plaintiffs restate and incorporate herein the allegations of the preceding

paragraphs.

       260.   The Defendants violated the provisions of the Plan’s IPS in violation of 29

U.S.C. §1104(a)(1)(D) by including and retaining the CREF Stock Account in the Plan

even though it significantly underperformed its benchmark and peer group, consistently

underperformed its benchmark and peer group over cumulative and rolling three-year

periods, incurred significantly more risk than its benchmark index, consistently had a

change or loss of key personnel impacting the performance of the fund, and failed to

follow the published large cap blend investing style, among other violations.

       261.   Defendants are personally liable under 29 U.S.C. §1109(a) to make good to

the Plan any losses to the Plan resulting from the breaches of fiduciary duties alleged in

this Count and are subject to other equitable or remedial relief as appropriate.

       262.   Each Defendant knowingly participated in the breach of the other

Defendants, knowing that such acts were a breach, enabled the other Defendants to



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commit a breach by failing to lawfully discharge its own fiduciary duties, knew of the

breach by the other Defendants and failed to make any reasonable effort under the

circumstances to remedy the breach. Thus, each Defendant is liable for the losses caused

by the breach of its co-fiduciary under 29 U.S.C. §1105(a).

                                 JURY TRIAL DEMANDED

       263.       Under Fed.R.Civ.P. 38 and the Constitution of the United States, Plaintiffs

demand a trial by jury.

                                    PRAYER FOR RELIEF

       For these reasons, Plaintiffs, on behalf of the Plan and all similarly situated Plan

participants and beneficiaries, respectfully request that the Court:

               Find and declare that Defendants have breached its fiduciary duties as

                   described above;

                  Find and adjudge that Defendants are personally liable to make good to

                   the Plan all losses to the Plan resulting from each breach of fiduciary

                   duty, and to otherwise restore the Plan to the position they would have

                   occupied but for the breaches of fiduciary duty;

                  Determine the method by which losses to the Plan under 29 U.S.C.

                   §1109(a) should be calculated;

                  Order the Defendants to pay the amount equaling all sums received by the

                   conflicted recordkeepers as a result of recordkeeping and investment

                   management fees;



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          Order Defendants to provide all accountings necessary to determine the

           amounts Defendants must make good to the Plan under §1109(a);

          Remove the fiduciaries who have breached their fiduciary duties and

           enjoin them from future ERISA violations;

          Surcharge against Defendants and in favor of the Plan all amounts

           involved in any transactions which such accounting reveals were

           improper, excessive, or otherwise in violation of ERISA;

          Reform the Plan to include only prudent investments;

          Reform the Plan to obtain bids for recordkeeping and to pay only

           reasonable recordkeeping expenses;

          Require the fiduciaries to select investments and service providers based

           solely on the merits of those selections, and avoid bundling funds or

           products serving the interests of the recordkeepers and other service

           providers;

          Certify the Class, appoint each of the Plaintiffs as a class representative,

           and appoint Schlichter, Bogard & Denton LLP as Class Counsel;

          Award to the Plaintiffs and the Class their attorney’s fees and costs under

           29 U.S.C. §1132(g)(1) and the common fund doctrine;

          Order the payment of interest to the extent it is allowed by law; and

        Grant other equitable or remedial relief as the Court deems appropriate.




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December 27, 2017                Respectfully submitted,

                                 /s/ Jerome J. Schlichter
                                 Jerome J. Schlichter, MO State Bar No. 32225*
                                 Michael A. Wolff, MO State Bar No. 38207*
                                 Troy A. Doles, MO State Bar No. 47958*
                                 Heather Lea, MO State Bar No. 49872*
                                 Sean E. Soyars, MO State Bar No. 57317*
                                 Kurt C. Struckhoff, MO State Bar No. 61873*
                                 ETHAN D. HATCH, MO State Bar No. 68126*
                                 SCHLICHTER, BOGARD & DENTON, LLP
                                 100 South Fourth Street, Ste. 1200
                                 St. Louis, MO 63102
                                 Phone: (314) 621-6115
                                 Fax: (314) 621-5934
                                 jschlichter@uselaws.com
                                 mwolff@uselaws.com
                                 tdoles@uselaws.com
                                 hlea@uselaws.com
                                 ssoyars@uselaws.com
                                 kstruckhoff@uselaws.com
                                 *Admitted Pro Hac Vice

                                 Lead Counsel for Plaintiffs

                                 /s/ David B. Puryear, Jr.
                                 David B. Puryear, Jr.
                                 North Carolina State Bar No. 11063
                                 PURYEAR AND LINGLE, PLLC
                                 5501-E Adams Farm Lane
                                 Greensboro, NC 27407
                                 (336) 218-0227
                                 puryear@puryearandlingle.com

                                 Local Counsel for Plaintiffs




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                             CERTIFICATE OF SERVICE

        I hereby certify that on December 27, 2017, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which sent notification of such
filing to all counsel of record.

                                          /s/ Jerome J. Schlichter




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